       Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 1 of 189

TOM NEUMAN                                                        July 25, 2018


                                                                         Page 1
 ·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT

 ·2· · · · · · · · EASTERN DISTRICT OF LOUISIANA

 ·3

 ·4·   ·KATIE JOSEPH, on behalf of the· · · · Case No. 2:17-
 · ·   ·Estate of KENDOLE JOSEPH,· · · · · · ·cv-5051-SM-KWR
 ·5·   ·deceased, and SHERESA JACKSON,
 · ·   ·on behalf of her minor children,
 ·6·   ·KEIONA B. JOSEPH and KAMORYA A.
 · ·   ·JACKSON,
 ·7
 · ·   · · · · · ·Plaintiffs,
 ·8·   · ·v.

 ·9· ·OFFICER DAMOND BARTLETT, et al.,

 10· · · · · · ·Defendants.

 11· ·__________________________________

 12

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 15· · · · · · · ·DEPOSITION OF TOM S. NEUMAN, MD

 16· · · · · · · · · ·WEDNESDAY, JULY 25, 2018

 17· · · · · · · · · · ·DEL MAR, CALIFORNIA

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 24· ·REPORTED BY:· NICOLE GALVIN, CSR NO. 13826

 25· ·JOB NO.:· · · 36515



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       Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 2 of 189

TOM NEUMAN                                                        July 25, 2018


                                                                         Page 2
 ·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT

 ·2· · · · · · · · EASTERN DISTRICT OF LOUISIANA

 ·3

 ·4·   ·KATIE JOSEPH, on behalf of the· · · · Case No. 2:17-
 · ·   ·Estate of KENDOLE JOSEPH,· · · · · · ·cv-5051-SM-KWR
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 · ·   ·JACKSON,
 ·7
 · ·   · · · · · ·Plaintiffs,
 ·8·   · ·v.

 ·9· ·OFFICER DAMOND BARTLETT, et al.,

 10· · · · · · ·Defendants.

 11· ·__________________________________

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 18· · · · · · ·Deposition of TOM S. NEUMAN, MD, taken

 19· · · · ·on behalf of Plaintiffs at 12526 High Bluff

 20· · · · ·Drive, Suite 300, Del Mar, California 92130,

 21· · · · ·beginning at 9:14 a.m., and ending at 1:06 p.m.,

 22· · · · ·on Wednesday, July 25, 2018, before Nicole

 23· · · · ·Galvin, Certified Shorthand Reporter, No. 13826.

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 25



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       Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 3 of 189

TOM NEUMAN                                                        July 25, 2018


                                                                         Page 3
 ·1· ·APPEARANCES OF COUNSEL:

 ·2· ·FOR PLAINTIFFS:

 ·3·   ·ERICKSON & OPPENHEIMER, LTD
 · ·   ·BY:· MICHAEL OPPENHEIMER
 ·4·   ·223 West Jackson Boulevard, Suite 200
 · ·   ·Chicago, Illinois 60606
 ·5·   ·(312) 327-3370
 · ·   ·michael@eolawus.com
 ·6

 ·7

 ·8· ·FOR DEFENDANTS:

 ·9·   ·LEONARD L. LEVENSON & ASSOCIATES
 · ·   ·BY:· LEONARD L. LEVENSON
 10·   ·427 Gravier Street
 · ·   ·New Orleans, Louisiana 70130
 11·   ·(504) 586-0066
 · ·   ·lenlawyer@aol.com
 12

 13

 14· ·ALSO PRESENT:

 15· ·CHRISTIAN W. HELMKE

 16· ·JARED KOSOGOAD (TELEPHONICALLY)

 17· ·RONAK MAISURIA (TELEPHONICALLY)

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      Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 4 of 189

TOM NEUMAN                                                       July 25, 2018


                                                                        Page 4
 ·1· · · · · · · · · · · · · I N D E X
 ·2· ·WITNESS:· Tom S. Neuman, MD
 ·3· ·EXAMINATION· · · · · · · · · · · · · · · · · · ·PAGE
 ·4· · · · · · ·By Mr. Oppenheimer· · · · · · · · · · ·5
 ·5
 ·6
 ·7
 ·8· · · · · · · · · · · ·E X H I B I T S
 ·9· · · · · · · · · · · · · · (NONE)
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      Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 5 of 189

TOM NEUMAN                                                       July 25, 2018


                                                                        Page 5
 ·1· · · · DEL MAR, CALIFORNIA; WEDNESDAY, JULY 25, 2018;
 ·2· · · · · · · · · · 9:14 A.M. - 1:06 A.M.
 ·3
 ·4· · · · · · · · · · · TOM S. NEUMAN, MD,
 ·5· · · · · · · having first been duly sworn, was
 ·6· · · · · · · examined and testified as follows:
 ·7
 ·8· · · · · · · · · · · · ·EXAMINATION
 ·9· ·BY MR. OPPENHEIMER:
 10· · · · Q· · Good morning, Doctor.· Can you please state
 11· ·your name and spell your last name.
 12· · · · A· · Tom, T-O-M, Neuman, N-E-U-M-A-N.
 13· · · · Q· · Dr. Neuman, I know that you've given quite a
 14· ·few depositions in the past.· We won't have to go over
 15· ·all the rules.· If you want me to repeat something,
 16· ·though, or you want to take a break, just let me know.
 17· ·We'll be happy to do that after you answer the last
 18· ·question, okay?
 19· · · · A· · Yes.
 20· · · · Q· · I just want to start with a bit of your
 21· ·background.· Is there anything in terms of your CV that
 22· ·you have left out in terms of past educational history?
 23· · · · A· · If I have, it's a mistake, but I don't think
 24· ·so.
 25· · · · Q· · In terms of publications, appearances, book


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 6 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                       Page 6
 ·1· ·chapters, anything else that you've done academically,
 ·2· ·as far as you know, is that all in what you've tendered
 ·3· ·to us?· Well, you tendered it to your lawyer, but he
 ·4· ·tendered it to us.
 ·5· · · · A· · If you have my most up to date CV, that's the
 ·6· ·only thing that I don't know about.· What's the date on
 ·7· ·my CV?
 ·8· · · · Q· · I have your statement.· This is dated July 5,
 ·9· ·2018.
 10· · · · A· · But the CV?
 11· · · · Q· · Yup, I'm getting there.· I have it.· I just
 12· ·gotta find it.
 13· · · · A· · My most current CV is January of last year.
 14· ·It does need to be updated.· There have been more
 15· ·lectures and things that I've given since then, but I
 16· ·don't think they're appreciably different from the kinds
 17· ·of lectures I've given before in the past.
 18· · · · Q· · I'm not going to get into each of your
 19· ·lectures.· If there's an update we need to get, we can
 20· ·get that.
 21· · · · MR. LEVENSON:· January of '17.
 22· ·BY MR. OPPENHEIMER:
 23· · · · Q· · January of '17?
 24· · · · A· · Yeah.· That's the most recent one, but it does
 25· ·need to be updated.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 7 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                       Page 7
 ·1· · · · Q· · That would be great.· What would you say,
 ·2· ·Doctor -- how are you currently employed?
 ·3· · · · A· · I am basically retired at this point.· My
 ·4· ·employment is, I do a little consultation for several
 ·5· ·governmental organizations.· I do a little bit of this
 ·6· ·kind of legal consultation.· I do a little bit of
 ·7· ·teaching at the university, but I don't earn any money
 ·8· ·from anything except this kind of consultation.
 ·9· · · · Q· · This kind of consultation, meaning, expert
 10· ·witness appearances?
 11· · · · A· · Yes.
 12· · · · Q· · When you say you're doing some consultation
 13· ·with government organizations, what government
 14· ·organizations?
 15· · · · A· · Well, for starters, National Oceanic and
 16· ·Atmospheric Administration.· I don't think that's
 17· ·germane -- well, it is in some ways germane to what
 18· ·we're talking about here because it has to do with
 19· ·diving and fitness to dive, and that very often has to
 20· ·do with gas exchange, and ventilation, and breathing,
 21· ·and problems with breathing and things like that.
 22· · · · · · ·I'm just finishing up some work for NASA on a
 23· ·DSMB related to, again, the same kinds of problems with
 24· ·gas exchange, ventilation, oxygen, percentage of oxygen
 25· ·in gases; what it does; what it means, and I finished my


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TOM NEUMAN                                                      July 25, 2018


                                                                       Page 8
 ·1· ·work for the DOD.
 ·2· · · · Q· · What were you doing for the DOD?
 ·3· · · · A· · Again, I was on a DSMB for a large prospective
 ·4· ·multicenter trial for the management of Marine sailors
 ·5· ·and soldiers coming back from the Middle East with mild
 ·6· ·traumatic brain injury and their management with
 ·7· ·hyperbaric oxygen.
 ·8· · · · Q· · When you say DSMB, what do you mean by that?
 ·9· · · · A· · Data & Safety Monitoring Board.
 10· · · · Q· · How were you consulted with or how were you
 11· ·contacted to get these jobs?
 12· · · · A· · You have to ask the people who gave me a call
 13· ·and asked me to do it.
 14· · · · Q· · You said that you're no longer charging for
 15· ·these consultations, except for your expert work --
 16· · · · A· · I never was.· That's volunteer work.· That's
 17· ·an honor to do that stuff, not employment.
 18· · · · Q· · I appreciate that.· I noticed in your CV
 19· ·that -- I counted them up at one point -- there's a lot
 20· ·of articles, a lot of presentations, and a lot of other
 21· ·appearances that have to do with diving.
 22· · · · A· · Yes.
 23· · · · Q· · Is that the type of thing you're talking about
 24· ·doing with the governmental organizations?
 25· · · · A· · Well, NOAA, and I explained to you what that


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 9 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                       Page 9
 ·1· ·was.· For NASA, it relates to similar concepts of
 ·2· ·decompression and diving and things of that sort.· But
 ·3· ·all of that at a more fundamental level is the
 ·4· ·physiology of gas exchange.
 ·5· · · · · · ·That's why I say the diving stuff in some ways
 ·6· ·does relate to what we're talking about here because so
 ·7· ·much of it is related to breathing, ventilation, gas
 ·8· ·exchange, getting oxygen to tissues and so on.
 ·9· · · · Q· · Would you agree with me that the great
 10· ·majority of your CV has to do with diving and issues
 11· ·related to diving?· Would you agree with me on that --
 12· ·over the years?
 13· · · · A· · Certainly before 20 years ago, I'd have to
 14· ·count the number of presentations and the number of
 15· ·publications in the last 20 years or less, 25 years, to
 16· ·say the great majority.· Certainly before the mid-1990s,
 17· ·that was true.
 18· · · · Q· · How did you get into -- well, I'm leading up
 19· ·to your experiment with positional asphyxia.
 20· · · · A· · Which one?· We've published --
 21· · · · Q· · Well, your original article, your original
 22· ·experiment, right?
 23· · · · A· · Yes.
 24· · · · Q· · Which was in 19 --
 25· · · · A· · '95.


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TOM NEUMAN                                                      July 25, 2018


                                                                      Page 10
 ·1· · · · Q· · I believe so.
 ·2· · · · A· · '96, '94.
 ·3· · · · Q· · How did you get into that field and to that
 ·4· ·subject?
 ·5· · · · A· · I was approached by an attorney by the name of
 ·6· ·Ricky Sanchez, and I don't remember now whether he was a
 ·7· ·county attorney or a city attorney.· He had gotten my
 ·8· ·name from the county medical examiner's office because I
 ·9· ·had spent a fair amount of time at the county medical
 10· ·examiner's office both studying traumatic deaths, which
 11· ·I've published on, and the role of trauma systems, as
 12· ·well as my being there in evaluating and assisting the
 13· ·interpretation of autopsies on diving accident victims.
 14· · · · · · ·When he was looking for an expert in a case
 15· ·called Price versus San Diego, they suggested that he
 16· ·come to me.· He came to me and asked me to help him
 17· ·defend a case in this Price versus San Diego.· I said,
 18· ·how did you get my name?
 19· · · · · · ·He said that, and I said, I don't know
 20· ·anything about, you know, police shootings and things
 21· ·like that.· That's what I thought it was, and I thought
 22· ·it was related to the trauma.· He said, no, this is a
 23· ·positional asphyxia case.· I had not heard the term
 24· ·positional asphyxia.
 25· · · · Q· · I don't mean to interrupt you, but what year


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 11 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 11
 ·1· ·was that when he approached you?· I have the case here
 ·2· ·with me.· I've got to find the year.
 ·3· · · · A· · Early 1990s, '92, '93.· If you have the paper,
 ·4· ·it will say when the grant was, so it probably would
 ·5· ·have been the year before that.
 ·6· · · · Q· · You said you had been hanging out.· You used
 ·7· ·the term hanging out, but you said you'd been going to
 ·8· ·the medical examiner's at the county, and is that the
 ·9· ·county where?
 10· · · · A· · San Diego.
 11· · · · Q· · For how long have you lived in San Diego?
 12· · · · A· · Since 1974.
 13· · · · Q· · As you were going to the medical examiner's
 14· ·office, were you going pursuant to your own research or
 15· ·pursuant to something else?
 16· · · · A· · Well, I was -- from 1974 to 1980, I was the
 17· ·diving medical officer for Submarine Development Group 1
 18· ·in San Diego.· I had a tremendous interest in diving
 19· ·fatalities at that point.· So I became a member of the
 20· ·San Diego County Coroner's Committee for the
 21· ·Investigation of Diving Fatalities.· That's why I was
 22· ·going there.
 23· · · · Q· · When you were going there --
 24· · · · A· · As far as the diving stuff is concerned.· The
 25· ·trauma stuff was a different reason for going there.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 12 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 12
 ·1· ·That was research.
 ·2· · · · Q· · That was research you were doing pursuant to
 ·3· ·your own interests, or was it pursuant to a grant or
 ·4· ·employment somewhere else?
 ·5· · · · A· · You know, I don't remember if we had a grant
 ·6· ·for it or not.· There was quite a political controversy
 ·7· ·at that time as to whether or not trauma systems were
 ·8· ·effective in reducing trauma-related deaths.· At that
 ·9· ·time, a trauma system had been established in Orange
 10· ·County, and it was one of the few trauma systems in the
 11· ·country.
 12· · · · · · ·Our initial study was done with what's called
 13· ·a Delphi approach to address the issue of whether or not
 14· ·traumatic deaths were preventable.· I spent a lot of
 15· ·time at the county medical examiner's office going over
 16· ·autopsies.· Now, whether that was --
 17· · · · Q· · I don't mean to interrupt you.· Traumatic
 18· ·deaths relating to diving accidents or in general?
 19· · · · A· · No.· This is all traumatic deaths.· All
 20· ·traumatic deaths; car accidents, shootings, falls,
 21· ·whatever, any traumatic death.· I don't remember -- it
 22· ·certainly was part of my employment as a member of the
 23· ·faculty of the University of California.
 24· · · · · · ·You simply had to do research.· Whether there
 25· ·was a grant associated with it, that, I don't remember.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 13 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 13
 ·1· ·I'd have to look at the paper itself to see if there was
 ·2· ·a grant associated with it.
 ·3· · · · Q· · You had never heard the term before this
 ·4· ·attorney approached you, positional asphyxia, correct?
 ·5· · · · A· · That's correct.· I was a trained pulmonologist
 ·6· ·and had never heard that term.· He said, oh, no, there
 ·7· ·is a paper on that.· I said, may I see the paper?· It
 ·8· ·was a well-known paper by a fellow by the name of Donald
 ·9· ·Reay where he made the observation that deaths in people
 10· ·who are being restrained were occurring.
 11· · · · · · ·He raised the question as to whether or not
 12· ·those deaths might be related to the position.· He did
 13· ·an experiment, and he concluded that there were
 14· ·significant physiologic effects of the restraint
 15· ·position.
 16· · · · · · ·Then following that paper several years later,
 17· ·he published a case series of three cases wherein,
 18· ·again, there were restraint-related deaths.· He said, I
 19· ·showed these physiologic problems associated with the
 20· ·position.· These people were in that position.
 21· · · · · · ·They died of that position.· Now, subsequent
 22· ·to that, there were a host of other case series that
 23· ·were published basically saying me too.· Pathologists
 24· ·said, oh, wait a minute.· I've had cases like that.
 25· ·They're due to positional asphyxia, and they would give


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 14 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 14
 ·1· ·a series of cases like that.
 ·2· · · · · · ·Then the Police Chief Kolender in San Diego
 ·3· ·said, well, we've got to do something about this.· He
 ·4· ·went and did a questionnaire across the United States
 ·5· ·looking at deaths like this.· He concluded that this was
 ·6· ·a significant problem, that there were deaths occurring
 ·7· ·in restraints in numbers that had to be addressed.
 ·8· · · · · · ·He turned to the San Diego County Chief
 ·9· ·Medical Examiner.· I'm blocking what his name is;
 10· ·Blackstone, Blackmore, something like that.· Blackstone,
 11· ·of course, trained under Dr. Reay and advised him, well,
 12· ·as soon as people are restrained, you need to turn them
 13· ·on the side.
 14· · · · · · ·Breathing will be easier on their side, and
 15· ·they won't suffocate.· That's pretty much the original
 16· ·basis of the police procedures of turning people on
 17· ·their side.· That's the background to it.· When I looked
 18· ·at that first original paper, I said, this basically
 19· ·said this paper is a poster child to bad science.
 20· · · · Q· · Let me stop you right there.
 21· · · · A· · Yeah.
 22· · · · Q· · You had never heard the term positional
 23· ·asphyxia really.· Although, you were a trained
 24· ·pulmonologist and had extensive training on lungs,
 25· ·breathing, once you were approached by this lawyer, you


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 15 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 15
 ·1· ·went and found what you had already told me?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · With these studies, these --
 ·4· · · · A· · Yes.· I didn't read the pathology literature,
 ·5· ·just as pathologists don't read the emergency medicine
 ·6· ·or the cardiology literature.· We'll get to that a
 ·7· ·little bit later.
 ·8· · · · Q· · Yes, we will.· You are not a pathologist,
 ·9· ·correct?
 10· · · · A· · Correct.
 11· · · · Q· · You have no training in pathology?
 12· · · · A· · Correct.· Well, other than the pathology I
 13· ·learned --
 14· · · · Q· · At your residency or --
 15· · · · A· · No, from doing the traumatic death study, from
 16· ·being at the autopsies of diving accident victims, but
 17· ·no formal training other than medical school.
 18· · · · Q· · You, yourself, have never conducted an
 19· ·autopsy; is that correct?
 20· · · · A· · Correct.
 21· · · · Q· · You have attended autopsies, obviously?
 22· · · · A· · Oh, yes.
 23· · · · Q· · Many, I would assume?
 24· · · · A· · Many.
 25· · · · Q· · Once you read this literature, you said you


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 16 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 16
 ·1· ·decided that it is, in essence, bad science?
 ·2· · · · A· · Well, the case studies are just that.· They
 ·3· ·say, I've had a bunch of cases like this.· They then
 ·4· ·reference the original scientific work of Dr. Reay, so
 ·5· ·you can't say that they're bad science.· They are case
 ·6· ·studies that are based on bad science.
 ·7· · · · · · ·The bad science has nothing to do with
 ·8· ·pathology.· Remember, the study that Donald Reay did had
 ·9· ·nothing to do with pathology.· It had to do with
 10· ·breathing, ventilation, exercise, gas exchange and most
 11· ·importantly, and what I am a true expert in, scientific
 12· ·methodology.
 13· · · · · · ·That's where the flaws in his study are.
 14· ·There are methodologic statistical scientific flaws that
 15· ·are severe enough that even Dr. Reay when the Price
 16· ·study went to court simply said, I was wrong.
 17· · · · Q· · Yes, but did you -- when you were reading
 18· ·Dr. Reay's study --
 19· · · · A· · One study.
 20· · · · Q· · One study, I understand that.
 21· · · · A· · Ten people.
 22· · · · Q· · I understand -- and before you did any of your
 23· ·own research, you believed based on what you had read
 24· ·that it was simply bad science, the methodology was
 25· ·wrong?


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 17 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 17
 ·1· · · · A· · Well, I knew the methodology was wrong.
 ·2· · · · Q· · Why was the methodology wrong?
 ·3· · · · A· · Well, if you read the paper -- you don't
 ·4· ·happen to have a copy of it, do you?
 ·5· · · · Q· · Of his?
 ·6· · · · A· · Yeah.
 ·7· · · · Q· · I'm sure I've got something here by him.· You
 ·8· ·can keep talking.· I'll keep looking.
 ·9· · · · A· · The premise of his study, the hypothesis of
 10· ·his study was people are dying in this position.· He
 11· ·raised the question, which is absolutely legitimate,
 12· ·could the position be related to these deaths?· He said,
 13· ·I'm going to study it.
 14· · · · · · ·Now, the reason that I know some of these
 15· ·little side pieces is because after Dr. Reay learned of
 16· ·our studies and understood what was wrong with his
 17· ·studies, he came down to our laboratory, looked at what
 18· ·we did.· I have the highest respect for Don.
 19· · · · · · ·He learned a tremendous amount.· He still
 20· ·didn't learn everything there is to know about
 21· ·ventilation and gas exchange, but he learned a great
 22· ·deal.· In any event, his hypothesis was maybe the
 23· ·position was causing trouble.· So he set out to
 24· ·investigate that question.· What he did was, he borrowed
 25· ·a NordicTrack from -- no.· He had the NordicTrack.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 18 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 18
 ·1· · · · · · ·He got 10 friends of his, and that's perfectly
 ·2· ·legitimate.· There's nothing wrong with using friends as
 ·3· ·experimental subjects in the 1980s.· He exercised them
 ·4· ·on the NordicTrack to a heart rate of 120.· Now, while
 ·5· ·they were exercising on the NordicTrack to a heart rate
 ·6· ·of 120 --
 ·7· · · · Q· · Can I ask you a quick question?· Is the
 ·8· ·information you got -- the information you're telling me
 ·9· ·about his one study, is that all from you reading his
 10· ·study?· You met him since then.
 11· · · · A· · So far, this is all in his study.· The friends
 12· ·part is not but the NordicTrack is, okay?
 13· · · · Q· · Okay.
 14· · · · A· · He exercised them to a heart rate of 120.
 15· ·While they were exercising to a heart rate of 120, he
 16· ·had a pulse oximeter on their ear.· This is from what he
 17· ·has told us now.· He borrowed the pulse oximeter from an
 18· ·anesthesiologist friend, and the friend told him, this
 19· ·is the greatest thing since sliced bread.
 20· · · · · · ·We've got patients in the operating room.· We
 21· ·put this on them.· No more arterial blood gas --
 22· · · · Q· · But you learned this part later.· You just
 23· ·added stuff?
 24· · · · A· · But that's, you know, really sort of icing on
 25· ·the cake.· It doesn't make any difference how he got the


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                              (312) 236-8352                                    YVer1f
     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 19 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 19
 ·1· ·pulse oximeter, but he thought the pulse oximeter --
 ·2· ·because it worked in the operating room.· He just
 ·3· ·applied it to exercising subjects.
 ·4· · · · · · ·He made the observation that the oxygen
 ·5· ·saturation in these individuals who were exercising went
 ·6· ·down from normal, which is above 95 percent to between
 ·7· ·85 and 90 percent.· He says that point blank in his
 ·8· ·paper, that we observed that this is what happened.
 ·9· · · · · · ·Now, aside, he has said that made sense to me.
 10· ·Exercising, use oxygen, oxygen saturation goes down.
 11· ·Again, it's irrelevant that he said that.· His
 12· ·observation was that it went down just with exercise.
 13· · · · · · ·We're not talking about the hog-tie position
 14· ·yet -- to 85 to 90 percent.· Now, that is just flat-out
 15· ·incorrect.· This isn't Tom Neuman's research.· Pick up
 16· ·any textbook on exercise physiology, and you will see
 17· ·that oxygen saturation does not decrease with this kind
 18· ·of moderate or even severe exercise.
 19· · · · · · ·Oxygen saturation remains normal and actually,
 20· ·the pO2 with more severe exercise goes up in the lung.
 21· ·Now, from a teleologic point of view, that makes perfect
 22· ·sense.· The caveman running away from a saber-tooth
 23· ·tiger wouldn't do very well if when he was running away,
 24· ·his oxygen saturation went down.
 25· · · · · · ·If you're interested, I can explain to you


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 20 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 20
 ·1· ·physiologically why this happens; why oxygen -- why gas
 ·2· ·exchange improves with exercise, does not decrease with
 ·3· ·exercise.
 ·4· · · · Q· · Can you give a two-minute version?
 ·5· · · · A· · Yes.· Ventilation profusion mismatch
 ·6· ·equalizes.· Those are the words.· I'm sorry?
 ·7· · · · Q· · I just said I knew that would be a problem
 ·8· ·because now, you have to explain that.
 ·9· · · · A· · Okay.· Imagine a lung with blood flowing
 10· ·through it, okay, blood passing through the alveoli and
 11· ·air going into the alveoli.· If only a little bit of air
 12· ·goings into the alveoli, it cannot fill the blood with
 13· ·oxygen, okay?
 14· · · · Q· · Okay.
 15· · · · A· · If more air goes into it than it needs, it
 16· ·does fill the blood with oxygen, but the carbon dioxide
 17· ·level in the blood then goes down, okay?
 18· · · · Q· · Okay.
 19· · · · A· · Now, under normal circumstances sitting here,
 20· ·there is a very small degree of what we call ventilation
 21· ·profusion or what's called VAQ mismatch.· Sitting here,
 22· ·because of gravity, more blood goes to the bottom of
 23· ·your lungs.· It's heavier and less blood goes to the top
 24· ·of your lungs.
 25· · · · · · ·Air on the other hand because the lungs are


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 21 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 21
 ·1· ·compressed down below and not compressed above, more air
 ·2· ·goes to the top of the lungs than to the bottom of the
 ·3· ·lungs.· This is called VAQ inequality.· It's not very
 ·4· ·much, which is why your oxygen saturation is 95 percent
 ·5· ·or 97 percent under normal circumstances.
 ·6· · · · · · ·When you exercise, though, all that changes.
 ·7· ·Blood flow increases.· Distribution of blood within the
 ·8· ·lung evens out.· Ventilation within the lung evens out,
 ·9· ·and VAQ mismatch becomes much lower.· There's a
 10· ·numerical way of assessing what VAQ mismatch is.
 11· · · · · · ·It's called the A-a O2 Gradient.· You don't
 12· ·see that in oxygen saturation because of the shape of
 13· ·the oxygen hemoglobin association curve.· But you do see
 14· ·it in the A-a O2 Gradient which under normal
 15· ·circumstances is around 15, maybe 20, and it will go
 16· ·down to 10 or even maybe 5 with exercise.
 17· · · · · · ·All of this VAQ mismatch goes away with
 18· ·exercise, or nearly all of it goes away with exercise
 19· ·and gas exchange improves.· His observation that oxygen
 20· ·saturation goes down to 85 percent and 90 percent is
 21· ·wrong.
 22· · · · · · ·Not only is it wrong, that is the sign of
 23· ·severe pathology.· If I were to put you on a treadmill,
 24· ·even if you weren't -- you had no idea and I see your
 25· ·oxygen saturation go down to 85 percent with exercise, I


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                              (312) 236-8352                                    YVer1f
     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 22 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 22
 ·1· ·would say, Mr. Oppenheimer, I don't know what it is.                   I
 ·2· ·have to work this out, but there is something severely
 ·3· ·wrong.· Not a little bit wrong, severely wrong with the
 ·4· ·way your heart and lungs are operating together.
 ·5· · · · · · ·Why did this happen?· Because in circa 1988,
 ·6· ·pulse oximeters were not designed to be used on
 ·7· ·exercising subjects.· This is not pathology.· This is
 ·8· ·methodology and understanding how things work.
 ·9· · · · Q· · So that's the first flaw?
 10· · · · A· · Well, it gets -- we have to finish with that
 11· ·flaw, okay?
 12· · · · Q· · That's fine.
 13· · · · A· · Why did it happen and could you have known
 14· ·that this was going to happen?· The answer to the latter
 15· ·question is, yes, because it had already been published
 16· ·in the exercise physiology literature.· I have no
 17· ·complaint that Dr. Reay doesn't read the exercise
 18· ·physiology literature.
 19· · · · · · ·Until all this business started, I didn't read
 20· ·any of the pathology literature.· It had already been
 21· ·published that pulse oximeters couldn't be used in
 22· ·exercising people because they were going to give you
 23· ·falsely low readings, erroneously low readings.
 24· · · · Q· · Okay.
 25· · · · A· · That's what he did.· He observes oxygen


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 23 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 23
 ·1· ·saturation fall in exercising subjects, okay?
 ·2· · · · Q· · Just from the exercise?
 ·3· · · · A· · Just from the exercise.· We haven't gotten to
 ·4· ·the hog-tie position yet.· He made no assessment of
 ·5· ·ventilation; how much these people were breathing while
 ·6· ·they were exercising.· He made no assessment of carbon
 ·7· ·dioxide in their blood, which is a surrogate for how
 ·8· ·much they're breathing and --
 ·9· · · · Q· · Can I ask you a quick question?
 10· · · · A· · Yes.
 11· · · · Q· · I have to interrupt you because otherwise,
 12· ·I'll forget.
 13· · · · A· · That's quite all right.
 14· · · · Q· · I can't read my handwriting anyway, so it
 15· ·won't do me any good.
 16· · · · A· · But we will have to take a break so I can get
 17· ·another cup of coffee in a little bit.
 18· · · · Q· · That's fine.· You said as far as measuring the
 19· ·CO2, the best -- am I correct in saying the best way to
 20· ·measure the CO2 is by actually measuring the blood?
 21· · · · A· · Yes.
 22· · · · Q· · You said he made no attempt to do that?
 23· · · · A· · Yes.
 24· · · · Q· · Okay.
 25· · · · A· · You have to put in an arterial catheter to do


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                              (312) 236-8352                                    YVer1f
     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 24 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 24
 ·1· ·that, and Tidal CO2 monitors did not exist then.
 ·2· · · · Q· · Fair enough.
 ·3· · · · A· · He then took his subjects, 10 men -- I think
 ·4· ·they were all men.· I don't think there were any women
 ·5· ·involved.· I'd have to check that.· He took the 10 men,
 ·6· ·and he either put them in a sitting position or a
 ·7· ·hog-tied position.· Each individual was exercised twice.
 ·8· · · · · · ·I don't know if he randomly split the order of
 ·9· ·doing it, which is what he should have done.               A
 10· ·methodologic issue but a minor one compared to the other
 11· ·methodologic problems -- and then measured how long it
 12· ·took for the oxygen saturation to return to normal and
 13· ·the pulse rate to return to normal.
 14· · · · Q· · So technically back to the 95-ish, if he had
 15· ·it right the first time -- which you're saying he
 16· ·didn't?
 17· · · · A· · It wouldn't have gone down in the first place.
 18· ·It didn't -- I won't say it wouldn't have gone down.· It
 19· ·doesn't go down.· It was a methodologic error.· There's
 20· ·no question about it.· This is not open for discussion.
 21· ·Normal people exercise, and oxygen saturation doesn't go
 22· ·down to 85 percent.
 23· · · · · · ·If oxygen saturation goes down below 90
 24· ·percent in a hospital, you're getting oxygen, okay?
 25· · · · Q· · Right.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 25 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 25
 ·1· · · · A· · Even Medicare will pay for it below that.· If
 ·2· ·it goes down to 85 percent, you're sick, okay?· It
 ·3· ·simply does not happen, period, okay?
 ·4· · · · Q· · Okay.
 ·5· · · · A· · He then put them in these two positions.· He
 ·6· ·observed -- I'm not going to talk about pulse rate
 ·7· ·because that's sort of an irrelevancy in this breathing
 ·8· ·business.· I'm even willing to grant him that the people
 ·9· ·in the hog-tie position, it may have taken a few seconds
 10· ·longer for the pulse rate to return to baseline because
 11· ·it's an uncomfortable position, okay?
 12· · · · · · ·That sort of goes into the big deal category.
 13· ·The question is what's happening with oxygen saturation?
 14· ·Of course, when these people stop exercising, the
 15· ·machine now starts to read normally, and oxygen
 16· ·saturation returns to normal, hog-tied or not hog-tied.
 17· · · · · · ·It didn't show that the oxygen saturation went
 18· ·down with hog-tie.· It just returned to normal.
 19· ·According to Don, according to his evaluation, it took
 20· ·statistically significantly longer for it to return to
 21· ·normal in the hog-tie position.
 22· · · · · · ·Now we come to the next major methodologic
 23· ·problem.· Even if you grant this fantasy that it went
 24· ·down, what does, A, statistically significant mean?
 25· ·This is not pathology.· This is methodology and


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 26 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 26
 ·1· ·statistics.· It means it didn't happen by chance.
 ·2· ·That's what it means.
 ·3· · · · · · ·It doesn't mean it's important.· It means it
 ·4· ·didn't happen by chance.· Now, you look at the column --
 ·5· ·that's why I'm asking if you got his paper.
 ·6· · · · Q· · And I don't but I read it.
 ·7· · · · A· · If you would like, we can print it up here.
 ·8· ·I'm sure I can find it on the Internet, print it up, and
 ·9· ·we can go over it if you would like.
 10· · · · Q· · Let's keep going.· You seem to have a pretty
 11· ·good recollection of it.
 12· · · · A· · I've spent 20 years or 25 years studying this
 13· ·subject.· If you look at the columns, there are a couple
 14· ·of things that are interesting about it.· First of all,
 15· ·the difference in time is 20 seconds.· That's all.
 16· · · · Q· · Difference in time of what?
 17· · · · A· · For the return between the two groups to
 18· ·normal oxygen saturation.
 19· · · · Q· · Okay.
 20· · · · A· · Note that the people in the hog-tie returned
 21· ·to normal oxygen saturation.· Just, according to him --
 22· ·well, it did.· According to his measurements, which, of
 23· ·course, are wrong, it took 20 seconds longer.· However,
 24· ·there are two interesting people in that column of 10,
 25· ·okay, 12 and a half percent, two out of 10, 20 percent.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 27 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 27
 ·1· · · · · · ·One of the things is in one of the people, it
 ·2· ·took a shorter period of time.· In one of the people, it
 ·3· ·took an extraordinarily long period of time for it to
 ·4· ·return to normal.· Now, I forgot that specific number.
 ·5· · · · Q· · Okay.
 ·6· · · · A· · So that person is an outlier, and the other
 ·7· ·person is in the other direction.· Now, Don said that
 ·8· ·this was statistically significant, this difference.
 ·9· ·There are no statistics that you can use that reveal
 10· ·this to be statistically significant, unless you use a
 11· ·very simplistic one-tail t-test to do the job.
 12· · · · · · ·Unfortunately, since one of his people went in
 13· ·the other direction, you have to use a two-tail t-test.
 14· ·If you use a two-tail t-test, it's not statistically
 15· ·significant.· If you account for the outlier, it's even
 16· ·less statistically significant.
 17· · · · · · ·Now, with all that said, Don only said there
 18· ·are measurable -- now we'd have to look at the paper --
 19· ·the important measurable physiologic effects of the
 20· ·hog-tie position -- this has to be taken into
 21· ·consideration whenever you're certifying a cause of
 22· ·death in a circumstance like this.
 23· · · · · · ·That paper was the tablets coming down from
 24· ·the mountain carried by a guy with a long gray beard
 25· ·that is the basis of positional asphyxia.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 28 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 28
 ·1· ·Mr. Oppenheimer, there exists in the scientific
 ·2· ·literature -- this was an experimental paper that Don
 ·3· ·did.
 ·4· · · · Q· · Right.
 ·5· · · · A· · There exists in the scientific literature not
 ·6· ·a single experimental paper that suggests any low blood
 ·7· ·oxygen occurs with these restraint positions.· Whether
 ·8· ·we are dealing with a hog-tie position; a prone hobble
 ·9· ·restraint position; whether we add pepper spray; whether
 10· ·the people are obese; whether we put weight up to
 11· ·225 pounds on their back; whether we compress their
 12· ·abdomen.
 13· · · · · · ·If you find such a paper, we can then talk
 14· ·about methodology, what might be correct, what might not
 15· ·be correct and so on.· Then we can get into a scientific
 16· ·discussion, okay?
 17· · · · Q· · Okay.
 18· · · · A· · But as of now -- and this is a dangerous thing
 19· ·for a scientist to say to an attorney, find me a single
 20· ·paper.· That's all I want you to do, just one that shows
 21· ·oxygen levels go down.· Which is, of course, the sine
 22· ·qua non of asphyxiation.
 23· · · · Q· · Let me ask you this, because I have to ask you
 24· ·because I'm an attorney, not a doctor.
 25· · · · A· · That has nothing to do with it.· If I can't


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                              (312) 236-8352                                    YVer1f
     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 29 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 29
 ·1· ·explain this you, I'm not doing my job.
 ·2· · · · Q· · You can explain what I'm going to ask you
 ·3· ·next.· When you were approached by the lawyer in Price,
 ·4· ·what was your fee in that case?
 ·5· · · · A· · No fee.· The deal was that he -- for the
 ·6· ·experiment, there was no fee.· The deal was, he had to
 ·7· ·cut a contract with the University of California San
 ·8· ·Diego.· The paper would be published regardless of the
 ·9· ·results, and he had to agree to that beforehand.
 10· · · · · · ·Afterwards, when I was paid for being an
 11· ·expert witness, I was paid an hourly rate, and I forgot
 12· ·what I was being paid back then.
 13· · · · Q· · We'll get to that.· If I'm correct, he tells
 14· ·you about positional asphyxia?
 15· · · · A· · Yes.
 16· · · · Q· · You begin your research into the past and
 17· ·what's been going on with Dr. Reay?
 18· · · · A· · Yes.
 19· · · · Q· · You believe what you believed after that, and
 20· ·then did you let --
 21· · · · A· · No, no, no.· I believed that Dr. Reay -- I
 22· ·didn't believe.· I knew Dr. Reay's paper was
 23· ·methodologically flawed.
 24· · · · Q· · Fair enough.
 25· · · · A· · So I said to him, if you want the right answer


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 30 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 30
 ·1· ·to this question, you cut a contract with the University
 ·2· ·of California and we will study it.· We will study it
 ·3· ·properly, and you will have to live with the results
 ·4· ·whether you like them or not, and they will be published
 ·5· ·whether you like them or not, and he agreed.
 ·6· · · · Q· · Fair enough.· Did you believe -- did you have
 ·7· ·any -- based on your knowledge as a doctor, based on
 ·8· ·your research into the pulmonary field, based on
 ·9· ·everything that you knew in your training, aside from
 10· ·the fact that you believed that Dr. Reay's --
 11· · · · A· · I didn't believe.· I knew.
 12· · · · Q· · Let me finish.
 13· · · · A· · Okay.
 14· · · · Q· · I'm not questioning -- assuming Dr. Reay's
 15· ·study was methodologically flawed, right?
 16· · · · A· · Yes.· Not assuming, it was.
 17· · · · Q· · I understand.· I understand that.· I'm not --
 18· · · · A· · But you keep on saying you're assuming.
 19· · · · Q· · I'm not arguing with you.· I'm not arguing
 20· ·with you at all because I'm not qualified to say whether
 21· ·it was flawed or not.
 22· · · · A· · So you start by saying --
 23· · · · Q· · Let's assume for this question that it was
 24· ·methodologically flawed.· I'm not trying to rattle you.
 25· ·I will later but not right now.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 31 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 31
 ·1· · · · A· · You don't have a chance.
 ·2· · · · Q· · And I'm not trying to.
 ·3· · · · A· · Okay.
 ·4· · · · Q· · Did you believe -- did you have an opinion at
 ·5· ·that time as to positional asphyxia and whether or not
 ·6· ·it had an effect on mortality or injuring people that
 ·7· ·were hog-tied like that?
 ·8· · · · A· · Only as far as the respiratory component.
 ·9· · · · Q· · What did you believe at that time the
 10· ·respiratory component was?
 11· · · · A· · I knew what pulmonary function tests showed
 12· ·for people in certain positions.· I knew that for
 13· ·certain positions, there was a minimal -- there is an
 14· ·effect, by the way, of position on pulmonary function.
 15· ·There's no question about it.
 16· · · · · · ·There's some very strict criteria from the
 17· ·American Thoracic Society as to how people have to be
 18· ·positioned; how they have to be dressed; the way they
 19· ·need to be seated before you do pulmonary function
 20· ·testing.
 21· · · · · · ·I had recently finished my pulmonary
 22· ·fellowship, and I was very well-aware of the
 23· ·complexities of measuring pulmonary function.· So I knew
 24· ·there would be effect.· I did not honestly believe at
 25· ·that time the effect could be enough to asphyxiate


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                              (312) 236-8352                                    YVer1f
     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 32 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 32
 ·1· ·somebody.· But, hey, that's why you do experiments to
 ·2· ·find out whether it can or cannot produce a problem.
 ·3· · · · Q· · Fair enough.· Then you went to this lawyer and
 ·4· ·said you will pay for the --
 ·5· · · · A· · I didn't say it.· I told him that's how he had
 ·6· ·to do it if he wanted it done.
 ·7· · · · Q· · You received no fee for doing that.· There was
 ·8· ·going to be -- it was take it or leave it.· If that's
 ·9· ·what the research shows, the research is going to show
 10· ·that?
 11· · · · A· · That is correct.
 12· · · · Q· · He agreed to that?
 13· · · · A· · Yeah.· He had a big fight about it.· There
 14· ·were a bunch of people who said, wait a minute.· We
 15· ·don't want to do that.· What if it comes out wrong?· His
 16· ·response was, if it comes out wrong, we need to know
 17· ·about it.· We need to pay this family off.
 18· · · · · · ·We need to change our procedures.· We need to
 19· ·know about it if this is a problem.· Very honest guy.
 20· · · · Q· · Well, he represented the City.· I don't know
 21· ·about that.
 22· · · · A· · He's also a fisherman, so he's a good guy.
 23· · · · Q· · You then begin your study?
 24· · · · A· · With the help of three other people.
 25· · · · Q· · We'll get to that in a second.· You began your


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 33 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 33
 ·1· ·study in preparation to issue an opinion as an expert --
 ·2· · · · A· · No.
 ·3· · · · Q· · Well, let me ask you this, obviously, if it
 ·4· ·didn't go the way he was hoping it would go, they would
 ·5· ·do whatever they want with the case, and you would not
 ·6· ·be called as a witness for the defense?
 ·7· · · · A· · That was my expectation.
 ·8· · · · Q· · Understood, right.· You did have some sort of
 ·9· ·fee agreement with him.· Aside from the study, were you
 10· ·ever paid anything by this lawyer or that city?
 11· · · · A· · I don't have records from 30 years ago,
 12· ·whether I was paid for anything for the initial review
 13· ·of the Reay paper or not, but I don't think so.· I don't
 14· ·think I did much, if anything, before saying --
 15· · · · · · · · ·(Interruption at the door.)
 16· · · · THE WITNESS:· I don't think I did much of anything
 17· ·prior to it.· I mean, I could tell him without question
 18· ·that Dr. Reay's study was methodologically flawed; that
 19· ·this paper didn't show what people had taken it to mean,
 20· ·but I don't know -- I'm sorry.
 21· · · · · · ·I can't remember if I spent or how much time I
 22· ·might have spent with him prior to doing the study.· He
 23· ·was pretty interested from a scientific point of view as
 24· ·to what we were doing.
 25· ·///


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 34 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 34
 ·1· ·BY MR. OPPENHEIMER:
 ·2· · · · Q· · Did you testify in court or at a deposition
 ·3· ·before?
 ·4· · · · A· · After that, yes.
 ·5· · · · Q· · And whatever fee you charged, you charged.
 ·6· ·You don't remember what it was?
 ·7· · · · A· · Right, whatever it was.
 ·8· · · · Q· · Obviously, your results came back in that they
 ·9· ·were interested in having you be an expert witness and
 10· ·to opine in the case?
 11· · · · A· · As it turned out, Dr. Reay ultimately admitted
 12· ·he was incorrect.
 13· · · · Q· · I read his correction.
 14· · · · MR. OPPENHEIMER:· Do you want to take a break to
 15· ·get your cup of coffee?
 16· · · · THE WITNESS:· Sure.
 17· · · · · · · · · · ·(Recess was taken.)
 18· · · · THE WITNESS:· Your question reminded me of
 19· ·something, because I haven't thought about it in a long
 20· ·time.· Yeah, I would have to say even before we did the
 21· ·study, I was pretty sure that Dr. Reay's study results
 22· ·couldn't be duplicated.
 23· ·BY MR. OPPENHEIMER:
 24· · · · Q· · Was that because of the methodology, or was it
 25· ·because of your flawed methodology, or was that also


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 35 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 35
 ·1· ·because of your training, experience, and knowledge on
 ·2· ·pulmonary medicine?
 ·3· · · · A· · It has to be both.
 ·4· · · · Q· · Okay.
 ·5· · · · A· · The methodology flaw is so glaring that you
 ·6· ·know it simply doesn't happen, okay?· Therefore, once
 ·7· ·you take that out of the equation, so to speak, that
 ·8· ·there is no reduction in oxygen saturation with
 ·9· ·exercise, there's nothing left of the experiment.
 10· · · · · · ·You obviously have to know at that point that
 11· ·his results cannot be duplicated because the fundamental
 12· ·basis of the experiment is incorrect.· I knew that
 13· ·beforehand, and we presented them with a proposal to do
 14· ·an experiment which addressed the issues properly.
 15· · · · Q· · Before we get to your proposal and your
 16· ·experiment, up until the point where you were contacted
 17· ·by the lawyer in Price, was what you described, as far
 18· ·as you know, pretty much the extent of research and to
 19· ·positional asphyxia?
 20· · · · A· · No.· Oh, up until that point?
 21· · · · Q· · Up until that point.· In other words, you had
 22· ·Reay, and then you had followers who did additional
 23· ·studies but --
 24· · · · A· · You see, there were other papers on positional
 25· ·asphyxia prior to that, but that was a completely


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 36 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 36
 ·1· ·different scenario.· Whether or not I was familiar with
 ·2· ·them or not, it's hard for me to say.· The classic
 ·3· ·papers on positional asphyxia had to do with elderly
 ·4· ·people who were being restrained in beds because they
 ·5· ·were -- you know, they had dementia, and they were
 ·6· ·pulling at IVs and things like that.
 ·7· · · · · · ·They were getting out of bed and walking
 ·8· ·around.· They were in those years restrained with, what
 ·9· ·we call -- we still do call soft restraints, and maybe
 10· ·what we call a Posey was put around their chest to hold
 11· ·them sort of in the bed.
 12· · · · · · ·Those people were not being watched.· So in
 13· ·spite of these soft restraints, they would sort of climb
 14· ·out, climb over the bed and in essence, strangle
 15· ·themselves.· That was -- you know, true positional
 16· ·asphyxia exists.· That's what happened.
 17· · · · · · ·Whether I was familiar with that as far as
 18· ·papers are concerned beforehand or not, I can't answer
 19· ·your question.· Then there was also something that
 20· ·pathologists called positional asphyxia or compressive
 21· ·asphyxia where, you know, the big soda machine falls on
 22· ·somebody, or a car falls on somebody.
 23· · · · · · ·Again, whether I knew about that beforehand or
 24· ·whether or not I learned about those things afterwards,
 25· ·I can't tell you.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 37 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 37
 ·1· · · · Q· · After talking to the lawyer in Price and you
 ·2· ·began your proposal to do your study --
 ·3· · · · A· · The first study.
 ·4· · · · Q· · The first study.
 ·5· · · · A· · Because these results have been duplicated
 ·6· ·over and over and over again.
 ·7· · · · Q· · I understand.· We'll get to that.· My question
 ·8· ·is, was it your understanding that you -- and correct me
 ·9· ·if I'm wrong -- were only going to deal with positional
 10· ·asphyxia in terms of police restraint issues?· In other
 11· ·words, obviously, this case we're here for today is a
 12· ·death in custody, an alleged positional asphyxia as part
 13· ·of a cause of death while in custody by the police.
 14· · · · · · ·Were you looking at only -- were you
 15· ·specifically looking at police restraint issues, or were
 16· ·you just looking at positional asphyxia in general?
 17· ·Does that make sense?
 18· · · · A· · No.· From my perspective --
 19· · · · Q· · Or is there no difference from your
 20· ·perspective because whether a police officer is doing it
 21· ·or a soda machine is doing it, right -- well, a strap in
 22· ·a hospital, let's say.
 23· · · · A· · Yeah.· You know, from my perspective, it made
 24· ·no difference whether paramedics were doing it; whether
 25· ·ambulance attendants were doing it or whether the police


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 38 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 38
 ·1· ·were doing it.· There's a tremendous difference between
 ·2· ·weight on the back and no weight on the back.
 ·3· · · · · · ·Because one would have to be sort of
 ·4· ·ridiculous to say there is no amount of weight that I
 ·5· ·can put on somebody's back where they won't suffocate.
 ·6· · · · Q· · Sure.
 ·7· · · · A· · So if I put a nickel on your back, you're not
 ·8· ·going to suffocate.· But there is a weight that exists
 ·9· ·that will suffocate you.· The question is where does the
 10· ·problem arise?
 11· · · · Q· · Fair enough.
 12· · · · A· · So there is a difference, but what we studied
 13· ·initially in the very first paper --
 14· · · · Q· · Let's go to that.· Take me through -- you
 15· ·presented a proposal.· Who did you present that to?· How
 16· ·did you get that started?
 17· · · · A· · First, we had to go through Human Use.· That's
 18· ·always step number one.
 19· · · · Q· · Which is what?
 20· · · · A· · It's a committee of the hospital that says
 21· ·what you're going to be doing to patients or volunteers
 22· ·is not dangerous.
 23· · · · Q· · Did you inform the hospital that you were
 24· ·doing this pursuant to a lawyer asking you to do a study
 25· ·for a case as a potential expert?


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 39 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 39
 ·1· · · · A· · They had a contract from the County of San
 ·2· ·Diego.· I don't know that I saw that contract.· I may
 ·3· ·have.· I don't remember, but I think they knew that
 ·4· ·that's what was being done.· I'd be surprised if -- let
 ·5· ·me tell you one thing.· With the Human Use Committee,
 ·6· ·you have to tell them everything, okay?
 ·7· · · · Q· · Understood.
 ·8· · · · A· · Because if they get annoyed with you, you'll
 ·9· ·never get an experiment through again in your life.
 10· ·There's no hiding anything -- yeah, in fact, I know they
 11· ·knew.· Because one of the people in the Human Use
 12· ·Committee as a criticism of us in general was, jeez, I
 13· ·wish you could have gotten your money in a different
 14· ·way.
 15· · · · · · ·It's a good study, but I wish you would have
 16· ·gotten your money in a different way.
 17· · · · Q· · Understood.· What happened?· It was approved?
 18· · · · A· · Yes.
 19· · · · Q· · What happened after that?
 20· · · · A· · We did it.
 21· · · · Q· · Let's talk about that.
 22· · · · A· · Okay.· You want the experimental design?
 23· · · · Q· · Yeah.
 24· · · · A· · We took, I believe it was, 15 people rather
 25· ·than 10 that Don had used.· We quantitatively exercised


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 40 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 40
 ·1· ·them, I think it was to 350 watts, on a calibrated
 ·2· ·bicycle ergometer.
 ·3· · · · Q· · What does that mean, 350 watts?
 ·4· · · · A· · A lot of work -- to a mean heart rate of
 ·5· ·almost 170.
 ·6· · · · Q· · As opposed to, I think you said, 120 --
 ·7· · · · A· · 120.
 ·8· · · · Q· · -- with the first study?
 ·9· · · · A· · Yes.· We flogged them.· I mean, that's what it
 10· ·is.· That's severe exercise.
 11· · · · Q· · Understood.· When you say mean heart rate of
 12· ·170, what does that mean, a mean heart rate?
 13· · · · A· · Average.· I believe, now we're going to have
 14· ·to look at the paper for the specifics of that.
 15· · · · Q· · That's why my mom is a doctor and I'm a
 16· ·lawyer.· When you did this, you had these -- did you say
 17· ·15?· I don't want to misquote you.
 18· · · · A· · I believe it's 15.
 19· · · · Q· · You had these 15 subjects on the ergometer at
 20· ·the same time?
 21· · · · A· · No, individually.
 22· · · · Q· · This is done one at a time?
 23· · · · A· · Yes.
 24· · · · Q· · You had them do their thing until they got to
 25· ·170?


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 41 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 41
 ·1· · · · A· · Well, before we did that, we did baseline
 ·2· ·pulmonary function testing.
 ·3· · · · Q· · What was the reason for that?
 ·4· · · · A· · To see where they started.· If you're going to
 ·5· ·see what the effect of the hog-tie position is, you have
 ·6· ·to know where you start from.
 ·7· · · · Q· · Understood.· Where did they all -- did they
 ·8· ·all start within a certain range?· I know they weren't
 ·9· ·all the same.
 10· · · · A· · No, of course they weren't all the same.
 11· ·Well, it all depends how you define "the same," okay?
 12· · · · Q· · I'll let you define it.
 13· · · · A· · Now we start getting into the complexities of
 14· ·pulmonary function testing.· I told you that previously,
 15· ·that it isn't all that simple.· Let's just for the sake
 16· ·of simplicity understand -- assume that a lot of these
 17· ·pulmonary function tests have to do with the size of
 18· ·your lungs.
 19· · · · · · ·A tiny little baby can't blow -- even if he
 20· ·could follow directions can't blow out as much air as
 21· ·you can.· You're a big man.· Your lungs are bigger.· If
 22· ·I measure volumes in Mr. Oppenheimer, they're going to
 23· ·be bigger than the volumes of our court reporter because
 24· ·she is shorter and she's a lady, okay?
 25· · · · · · ·Ladies have smaller lungs than men even the


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 42 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 42
 ·1· ·same size.· All of them were normal according to
 ·2· ·predicted numbers.
 ·3· · · · Q· · How are they selected?
 ·4· · · · A· · They volunteered.
 ·5· · · · Q· · Did you publish something that said volunteer
 ·6· ·for a study?
 ·7· · · · A· · Well, I don't know that we published it.· We
 ·8· ·probably put up notices somewhere.· I don't remember.
 ·9· · · · Q· · I guess the question is, when you were looking
 10· ·for volunteers, how did you discriminate between -- I
 11· ·would assume that -- and you can correct me if I'm wrong
 12· ·because I don't want to assume anything.· Were all of
 13· ·these volunteers or everyone that was picked healthy?
 14· · · · A· · Yes.
 15· · · · Q· · Is that what you were looking for?
 16· · · · A· · Yes.· We couldn't have people who had heart
 17· ·disease because they can't -- people with bad hearts
 18· ·tend to have problems when you exercise them to a heart
 19· ·rate of 170.· We couldn't have, for example, psychotic
 20· ·people because they can't give informed consent.
 21· · · · · · ·We couldn't have people who were on drugs
 22· ·because, A, drugs and exercise can cause people to die
 23· ·suddenly and, B, they also couldn't give informed
 24· ·consent.· Of course, none of that bothered us in the
 25· ·least because none of those things affect your ability


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 43 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 43
 ·1· ·to breathe.
 ·2· · · · · · ·We started with young, healthy people, no
 ·3· ·question about it.· Then we measured their pulmonary
 ·4· ·function tests.· They were all basically normal.
 ·5· · · · Q· · Can I ask you a question?· I hate to interrupt
 ·6· ·you again.
 ·7· · · · A· · Yes.
 ·8· · · · Q· · When you were consulted to do this by the
 ·9· ·lawyer in Price, what were -- and I believe I read it.
 10· ·Do you remember the facts of the Price case in terms of
 11· ·the person that died in terms of who he was or his
 12· ·health or his condition?
 13· · · · A· · I know he was on methamphetamine.
 14· · · · Q· · Was he obese, not obese; if you know?
 15· · · · A· · I think his BMI was in the neighborhood of 30,
 16· ·give or take a little bit.
 17· · · · Q· · How would you categorize that in terms of
 18· ·obesity?
 19· · · · A· · Well, the technical definition of that is
 20· ·obese if you're over 30.
 21· · · · Q· · Anything else that you remember about that
 22· ·particular person?
 23· · · · A· · No.
 24· · · · Q· · The subjects that you obtained for your study,
 25· ·your first study, none of them were obese?· It's safe to


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 44 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 44
 ·1· ·say they were mostly -- would they be under 30 as a BMI?
 ·2· · · · A· · I believe that's true.· I'm not a hundred
 ·3· ·percent sure.· I'd have to look.
 ·4· · · · Q· · Obviously, they were not meth heads.· We
 ·5· ·already discussed the reason why?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · The study that you were doing kind of in
 ·8· ·preparation for this case, but also to do a study on
 ·9· ·this subject because you became interested in it --
 10· · · · A· · I disagree with that characterization but --
 11· · · · Q· · The study that you were doing did not
 12· ·replicate the condition of the person -- the decedent in
 13· ·the Price case in terms of his health, drug addiction,
 14· ·obesity, things like that, correct?
 15· · · · A· · As far as health is concerned, I'm not sure of
 16· ·the answer to that question.· I don't remember.· To the
 17· ·best of my knowledge, Mr. Price had no lung disease and
 18· ·no cardiovascular disease.· That was known.· Those are
 19· ·the important things that we're talking about.
 20· · · · · · ·Once again, methamphetamine doesn't alter the
 21· ·way -- the fundamental ability to breathe, nor do other
 22· ·drugs, nor does psychosis.· None of those things alter
 23· ·fundamentally your ability to breathe.· You don't get --
 24· ·well, leave it at that.· So, no, it did not replicate
 25· ·exactly field conditions.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 45 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 45
 ·1· · · · · · ·Look, if we were to replicate field
 ·2· ·conditions, we'd have to go out into the field, do it on
 ·3· ·the floor, do it on Saturday night, and do it with
 ·4· ·people who are all named Price.· Now, the question
 ·5· ·becomes, because our subjects were not named Price, does
 ·6· ·that mean our results are not extrapolatable to someone
 ·7· ·who is named Price?
 ·8· · · · Q· · We'll get to that.· I hear you.
 ·9· · · · A· · The question of whether or not our study is
 10· ·extrapolatable to external situations, no, it wasn't
 11· ·exactly it.· It was as close as we thought we could make
 12· ·it, number one.· Is it possible some unknown series of
 13· ·things altered it?· Of course, it's possible.
 14· · · · · · ·Is it likely, no.· Is there a physiologic
 15· ·reason for it, no.· So we felt that these were results
 16· ·that were directly extrapolatable to field conditions.
 17· ·Over time, we have tried to more and more replicate
 18· ·field conditions and each time, the results are
 19· ·essentially the same.
 20· · · · Q· · Let's go back to the first thing.
 21· · · · A· · Okay.
 22· · · · Q· · We get these 15 individuals.· They go on the
 23· ·ergometer.· They get jacked up to 170 beats per minute
 24· ·approximately, then what?
 25· · · · A· · Well, no, we did their pulmonary function test


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 46 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 46
 ·1· ·first.· So we have baseline pulmonary function tests
 ·2· ·now.· Now I would have to look at all of the different
 ·3· ·positions we looked at both prior to exercise and after
 ·4· ·exercise.
 ·5· · · · · · ·They did this, you know, sort of, multiple
 ·6· ·times.· We did put arterial catheters into them.· We
 ·7· ·were directly measuring their blood for oxygen and
 ·8· ·carbon dioxide.· As the blood came out, we split it into
 ·9· ·three different --
 10· · · · Q· · Is this done right after they exercised?
 11· · · · A· · It was done right after they exercised.
 12· · · · Q· · So they do their thing --
 13· · · · A· · Yeah.· It was done before they -- I think it
 14· ·was done before they exercised as well.
 15· · · · Q· · -- with a catheter to correctly measure --
 16· · · · A· · Oh, yeah, they did the exercise with the
 17· ·catheter in place.
 18· · · · Q· · Because the best way to measure the oxygen
 19· ·level or the CO2 level is by directly measuring the
 20· ·blood, taking blood?
 21· · · · A· · Right.· Then we split the blood sample into
 22· ·three samples.· In other words, just divide it into
 23· ·three samples, ran it on three separate blood gas
 24· ·machines.· No question about methodologic problems with
 25· ·the machines.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 47 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 47
 ·1· · · · · · ·Then put them in the hog-tie position as well
 ·2· ·as non-hog-tie position, and they stayed there for 15
 ·3· ·minutes measuring their blood gases and their breathing.
 ·4· · · · Q· · Let me just stop you right there, just for the
 ·5· ·record.· When you say you put them in the hog-tie
 ·6· ·position, what was that -- I'll let you tell me.· What
 ·7· ·was the hog-tie position and how were they hog-tied?
 ·8· · · · A· · It simulated the hog-tie position because they
 ·9· ·had an arterial catheter in place, okay?
 10· · · · Q· · For the record, you're pointing to your wrist
 11· ·where the catheter --
 12· · · · A· · Yeah.· They had an arterial catheter threaded
 13· ·up their alveoli artery.· Their arms were together, but
 14· ·it was on a board so that we could gain access to the
 15· ·catheter.· Their arms were together behind their back.
 16· ·Their knees were flexed.
 17· · · · · · ·Their knees were tied together.· I forgot with
 18· ·what.· The knees were flexed up to their wrists, so
 19· ·their knuckles of their wrists were on the heels of
 20· ·their hands.· That's how tight they were, and that's the
 21· ·position they were in.· They stayed in that position for
 22· ·15 minutes.
 23· · · · Q· · Then, were they facedown?
 24· · · · A· · Yes.· I mean, you can't be in any other
 25· ·position when you're hog-tied.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 48 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 48
 ·1· · · · Q· · So they were facedown but when they were
 ·2· ·facedown, was their face -- was their nose and their
 ·3· ·mouth in -- you said they were on a board?
 ·4· · · · A· · No, their wrists were on a board.
 ·5· · · · Q· · Oh, I'm sorry.· What were they on; if you
 ·6· ·remember?
 ·7· · · · A· · A gym mat, a gurney, I don't remember.
 ·8· · · · Q· · When they were facedown, would their nose and
 ·9· ·mouth been into the gurney or the gym mat, or are they
 10· ·able to move their head side to side?
 11· · · · A· · They can move their head.
 12· · · · Q· · So they can have movement for breathing?
 13· · · · A· · Of course, yeah.· They could -- I don't
 14· ·remember whether most of them kept their head up like
 15· ·this with their chin on the mat or whether they turned
 16· ·them to the side.
 17· · · · Q· · But they were allowed to do whatever they
 18· ·wanted to do to feel --
 19· · · · A· · Yeah.· They can do whatever they want with
 20· ·their head.
 21· · · · Q· · You did not give them any direction or ask
 22· ·them anything about that part?
 23· · · · A· · I don't think so.· I don't remember.· That was
 24· ·not the question we were trying to address.
 25· · · · Q· · Understood.· The question you -- the exact


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 49 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 49
 ·1· ·question you were trying to address was what?
 ·2· · · · A· · Did the position impair ventilatory function
 ·3· ·to the degree that gas exchange or -- that gas exchange
 ·4· ·was affected to the extent that hypoxemia or hypercapnia
 ·5· ·occurred.
 ·6· · · · Q· · Can you define both of those?
 ·7· · · · A· · Hypoxemia is low blood oxygen.· Hypercapnia is
 ·8· ·high blood carbon dioxide.
 ·9· · · · Q· · Okay, what happened next?
 10· · · · A· · That's it.
 11· · · · Q· · Each subject was in that position for 15
 12· ·minutes?
 13· · · · A· · Yes.· They also were in just a plain -- I'll
 14· ·have to look.· They may have -- the comparison may have
 15· ·been seated.· I think the comparison was seated.
 16· · · · Q· · When you say seated, they would be sitting
 17· ·like me in a chair?
 18· · · · A· · Yes.
 19· · · · Q· · After running or on the ergometer?
 20· · · · A· · Yes.· They were either hog-tied or --
 21· · · · Q· · Or simply seated?
 22· · · · A· · -- simply seated, I think.
 23· · · · Q· · You were trying to get a differential between
 24· ·the two?
 25· · · · A· · Well, to find out, you know --


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 50 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 50
 ·1· · · · Q· · What the difference --
 ·2· · · · A· · -- what the -- look, if you're saying there's
 ·3· ·a problem, you have to know what the difference is.
 ·4· · · · Q· · Understood.
 ·5· · · · A· · You can't say there's a problem without
 ·6· ·knowing what the difference is.
 ·7· · · · Q· · Then when you had each person in the hog-tied
 ·8· ·position for 15 minutes, was that done more than once
 ·9· ·with each person or did each subject --
 10· · · · A· · I think it was just once.· Each subject, just
 11· ·once.
 12· · · · Q· · That was the extent of performing the study,
 13· ·correct?
 14· · · · A· · I would have to look over the details of the
 15· ·study to see what else we did, but that's the gist of
 16· ·the study.
 17· · · · Q· · Okay, and what did you find?
 18· · · · A· · There is a change in pulmonary function.
 19· · · · Q· · You said there were three other people helping
 20· ·you or with you, other researchers?
 21· · · · A· · Yes.
 22· · · · Q· · Do you remember who they were?
 23· · · · A· · Of course.
 24· · · · Q· · Who were they?
 25· · · · A· · Ted Chan and Gary Vilke.· Both of them were


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 51 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 51
 ·1· ·chief residents in the Department of Emergency Medicine
 ·2· ·at that time.
 ·3· · · · Q· · At the University?
 ·4· · · · A· · At the University of California San Diego.
 ·5· ·When he got the contract, we said to the residents,
 ·6· ·anybody interested in helping in this study?· Both Gary
 ·7· ·and Ted said they were interested in doing the study, so
 ·8· ·they participated.
 ·9· · · · · · ·The third person was a fellow by the name of
 10· ·Jack Clauson.· Jack ran the pulmonary function testing
 11· ·laboratory.· Again, I've told you there are complexities
 12· ·in measuring pulmonary function.· You cannot imagine
 13· ·really how complex those problems are, and Jack is one
 14· ·of world's experts on measuring pulmonary functions and
 15· ·understanding what the pulmonary function testing means.
 16· · · · Q· · Is it safe to say you were the lead researcher
 17· ·or whatever you wanted to --
 18· · · · A· · I don't remember if I was the first author or
 19· ·not.· I think Ted was the first author.· I was already a
 20· ·full professor at that point.· I didn't need anymore
 21· ·first author publications.· For me to get promoted at
 22· ·that point, I needed other stuff, not basically a simple
 23· ·study like this.
 24· · · · Q· · Once the study was completed, what did you do?
 25· ·I'm sorry.· What did you find?· We didn't get to that


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 52 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 52
 ·1· ·yet.· I'm sorry.
 ·2· · · · A· · Well, there are changes in pulmonary function
 ·3· ·compared in the hog-tied position compared to the
 ·4· ·sitting position, no question about it.· I mean, you
 ·5· ·look like kind of a fit person.· Do you ever go surfing
 ·6· ·or scuba diving?
 ·7· · · · Q· · I live in Chicago, no, but I do run and work
 ·8· ·out.
 ·9· · · · A· · I'm asking specifically about ever putting on
 10· ·a wet suit.
 11· · · · Q· · I did for a triathlon once years ago.
 12· · · · A· · Did you suffocate?
 13· · · · Q· · No, but I had some trouble breathing.· It was
 14· ·tight.
 15· · · · A· · Yeah, it was tight.· You had a little trouble
 16· ·breathing.
 17· · · · Q· · And the water was cold.
 18· · · · A· · And the water was cold but you didn't die.
 19· · · · Q· · And suffocated, right.
 20· · · · A· · The wet suit affects these pulmonary function
 21· ·tests more than the hog-tied position.
 22· · · · Q· · Why is that?
 23· · · · A· · Because it's more constricting or restricting
 24· ·than the position.
 25· · · · Q· · How did you come to the conclusion -- what day


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 53 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 53
 ·1· ·did you find that showed that, that the wet suit which
 ·2· ·is more tightly wrapped around one's body is more
 ·3· ·constrictive than being hog-tied after getting a heart
 ·4· ·rate of 170 being placed facedown on a mat?
 ·5· · · · A· · I guess that's going to come from personal
 ·6· ·knowledge, okay?· I spent a lot of time in a wet suit.
 ·7· · · · Q· · Understood.
 ·8· · · · A· · I've spent a lot of time hog-tied, and I can
 ·9· ·tell you, being in a wet suit is worse than being
 10· ·hog-tied.· These pulmonary function tests are
 11· ·extraordinarily sensitive.· The American Thoracic
 12· ·Society has very strict criteria for the position you
 13· ·have to be in, the way you have to be and so forth in
 14· ·order to do the tests properly.
 15· · · · · · ·It's a major issue whenever you look at any
 16· ·study that has pulmonary function testing in it.· It has
 17· ·to be done properly.· The fact that you have differences
 18· ·in pulmonary function from sitting, to being on your
 19· ·back, to being on your belly, to being hog-tied comes as
 20· ·absolutely no surprise.· That is expected.
 21· · · · · · ·It's going to happen and, in fact, it did, no
 22· ·surprise.· Being on your back was about a seven percent
 23· ·decrement in some of these pulmonary function tests.
 24· ·Being on your stomach was about the same, and being
 25· ·hog-tied was twice that much.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 54 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 54
 ·1· · · · · · ·Now, the question is, is that a clinically
 ·2· ·significant amount of -- and I'm using the word
 ·3· ·technically now, restriction, okay?· We measure
 ·4· ·pulmonary function in general as either restrictive,
 ·5· ·which is sort of like being squeezed, or obstructive,
 ·6· ·which is sort of like somebody with asthma who has
 ·7· ·wheezing and trouble breathing out, okay?
 ·8· · · · Q· · Okay.
 ·9· · · · A· · Or chronic obstructive lung disease, or
 10· ·chronic obstructive pulmonary disease, which you see
 11· ·advertisements for medicines for those things on TV
 12· ·quite frequently, COPD, okay?
 13· · · · Q· · Sure.
 14· · · · A· · Those are the two major classifications.· When
 15· ·you put something around somebody's chest, a big elastic
 16· ·band, that would be a restrictive defect.· No matter how
 17· ·small it is, it's a restrictive defect because it makes
 18· ·things smaller.· These results, although, they are real.
 19· · · · · · ·They are statistically significant.· They did
 20· ·not happen by chance and actually don't even fall
 21· ·outside the range of normal.
 22· · · · Q· · And the results we're talking about is what
 23· ·you just said, the seven percent versus the --
 24· · · · A· · Yes, the pulmonary function test.
 25· · · · Q· · -- pulmonary function?


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 55 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 55
 ·1· · · · A· · Now, as far as oxygen is concerned, absolutely
 ·2· ·normal straight across the board.· Carbon dioxide,
 ·3· ·straight across the board, same seating, hog-tied,
 ·4· ·everything.
 ·5· · · · Q· · In every subject you tested?
 ·6· · · · A· · Every subject.
 ·7· · · · Q· · Would you agree or not agree with me that if a
 ·8· ·person -- you talked about asthma or something already
 ·9· ·wrong with them in terms of one of the conditions you
 10· ·just talked about.· Would you believe based on your
 11· ·research, based on your training, based on your
 12· ·knowledge that a person with asthma could have
 13· ·significantly different issues or different results if
 14· ·you did the same test on them?
 15· · · · A· · Well, we did other studies subsequently where
 16· ·we did not exclude people with asthma and did, in fact,
 17· ·have asthma in the study.· Once again, this is like the
 18· ·nickel and the 10 tons on the back, how severe?· You
 19· ·know, are they on chronic medication?
 20· · · · · · ·What's their exercise tolerance?· Have they
 21· ·ever been hospitalized for their asthma?· If they die,
 22· ·is there any evidence of ongoing asthmatic diaphysis in
 23· ·their lungs at the time that this is going on?· So the
 24· ·answer to your question is unfortunately going to be, it
 25· ·depends.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 56 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 56
 ·1· · · · · · ·If their asthma is mild and well-controlled, I
 ·2· ·would expect absolutely no difference because their
 ·3· ·ventilation is normal.· If on the other hand their
 ·4· ·asthma is so severe that they're having trouble
 ·5· ·breathing and they're in the emergency department, yes,
 ·6· ·I would expect issues.
 ·7· · · · Q· · I know you cannot mythically run and find an
 ·8· ·asthmatic who's having great difficulty, throw them on
 ·9· ·your ergometer and get them to go as fast as they can
 10· ·and then hog-tie them.
 11· · · · A· · But they won't.· They'll quit sooner.
 12· · · · Q· · Understand.· If someone were forced to not
 13· ·quit, right?· If someone exercised to what they could,
 14· ·then they quit the exercise and then you hog-tied them,
 15· ·whether they wanted to be -- and I know you're not doing
 16· ·that and you didn't do that.
 17· · · · A· · Sure.
 18· · · · Q· · Would you expect based on your training, your
 19· ·research, your studies, your talking to other people
 20· ·that they would have significantly different issues in
 21· ·terms of CO2 issues and oxygen issues than the healthy
 22· ·subjects that you used in your study?
 23· · · · A· · Well, they're starting off at that point with
 24· ·oxygen issues.· Usually, they don't start off with CO2
 25· ·issues.· By the time they have CO2 issues, they're


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 57 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 57
 ·1· ·getting a tube.· You're going to have to define for me
 ·2· ·the severity of their asthma in terms of something that
 ·3· ·I can deal with.
 ·4· · · · · · ·For example, the average asthmatic nowadays,
 ·5· ·the proper management of asthma includes having an
 ·6· ·asthmatic blow into something called a peak flow meter
 ·7· ·every morning.· You're looking at the speed at which air
 ·8· ·can come out of their lungs.
 ·9· · · · · · ·Remember, we say this is an obstructive
 10· ·disease.· Air coming out of their lungs is generally the
 11· ·way we measure this issue, the speed at which air comes
 12· ·out of their lungs.· We have them blow into that every
 13· ·single morning.
 14· · · · · · ·If their peak flow -- that's what we're
 15· ·talking about.· If their peak flow goes down to any
 16· ·degree, then they know, whoa, something is beginning to
 17· ·happen.· I have to adjust my medication.· Because people
 18· ·will not notice or even know that their peak flow is
 19· ·falling until it has fallen about 20 to 25 percent.
 20· · · · · · ·The answer to your question depends entirely
 21· ·on how severe their asthma is.· Yes, if they are so
 22· ·severe, okay, that they're blue and tripodding and
 23· ·barely can move air, yes.
 24· · · · Q· · But if they're not -- if they had --
 25· · · · A· · You have to tell me how severe.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 58 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                         Page 58
 ·1· · · · Q· · We can go through each percentage of severity.
 ·2· · · · A· · Well, you have to.· If they're within
 ·3· ·20 percent of their peak flow, I would say, no.                I
 ·4· ·expect no problem whatsoever.· If they are below a peak
 ·5· ·flow of a hundred, I would expect there would be a
 ·6· ·problem.· In between, we would have to measure it.
 ·7· · · · Q· · Fair enough.· So there is some correlation if
 ·8· ·you already have a lung issue or some sort of issue
 ·9· ·between that and then the problems caused by hog-tie?
 10· · · · A· · But there is no problem caused by hog-tie as
 11· ·far as oxygen or carbon dioxide is concerned.· The only
 12· ·problem, which is a nonproblem, is your maximum ability
 13· ·to ventilate.· If your asthma is so severe that your
 14· ·maximum ability to ventilate is what you're ventilating
 15· ·sitting here just trying to survive, any reduction in
 16· ·your maximum ability to ventilate is going to be
 17· ·problematic.
 18· · · · · · ·As far as this case is concerned, anybody
 19· ·who's running, struggling, screaming --
 20· · · · Q· · When you say this case, what case?
 21· · · · A· · The Joseph case.
 22· · · · Q· · Okay.
 23· · · · A· · Anybody who is running, struggling, screaming,
 24· ·anything else -- as this man was screaming.· He doesn't
 25· ·have that kind of asthma problem.· Also, just to get


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 59 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 59
 ·1· ·back to this case, on pathology, there was no evidence
 ·2· ·of any significant lung disease or asthma at all.
 ·3· · · · Q· · Correct.
 ·4· · · · A· · So it's sort of irrelevant to this case.
 ·5· · · · Q· · Well, it may be but I'm asking the questions.
 ·6· ·I get to do that.· In terms of if someone had those
 ·7· ·issues, the asthma issues --
 ·8· · · · A· · Severe.· Severe.
 ·9· · · · Q· · I understand.· I understand what you're
 10· ·saying.· The problem with ventilation, would you agree
 11· ·with me, is -- there's nothing simple about this --
 12· ·because they're putting pressure on your body which
 13· ·affects your ability to ventilate?
 14· · · · A· · Who is putting pressure on Mr. Joseph's body?
 15· · · · Q· · We're not at Mr. Joseph yet.
 16· · · · A· · Okay.· Where is pressure being applied to your
 17· ·body?
 18· · · · Q· · If you are hog-tied -- let's go back to your
 19· ·original study.· If you are hog-tied and you are
 20· ·facedown, are you saying that there is absolutely no --
 21· ·in the case you did, in the case study of those 15
 22· ·people, would you say that there is absolutely no --
 23· · · · A· · It's not a case study.· It's an experimental
 24· ·study.
 25· · · · Q· · Fine.· I apologize.· In the experimental


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 60 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 60
 ·1· ·study, would you say that there was no impact on any of
 ·2· ·those subject's ability to ventilate?
 ·3· · · · A· · Define ability to ventilate.
 ·4· · · · Q· · You're the one that said ventilation ability,
 ·5· ·so I don't know what that means.· You brought up
 ·6· ·ventilation ability in an --
 ·7· · · · A· · There was no effect on any of those subject's
 ·8· ·ventilatory response to exercise.
 ·9· · · · Q· · When you say there was no effect on their
 10· ·ventilatory response to exercise, does that mean -- what
 11· ·does that mean?
 12· · · · A· · That means they ventilated exactly the same as
 13· ·the people who were seated.
 14· · · · Q· · Okay.· I get my heart rate up to 170 and I'm
 15· ·seated.· Assuming everything else has been tested
 16· ·before, like you said, and my seated ability --
 17· · · · A· · Not ability, your seated ventilation.· The
 18· ·amount you're breathing seated is exactly the same as
 19· ·the amount you're breathing hog-tied.· In other words,
 20· ·you have a ventilatory response to exercise.· Your
 21· ·ventilation goes up with exercise.· That's sort of duh.
 22· ·You exercise, you breathe more.
 23· · · · Q· · Sure.
 24· · · · A· · That increased ventilation is your response to
 25· ·exercise.· That is your ventilatory response to


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 61 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 61
 ·1· ·exercise.· The ventilatory response to exercise is
 ·2· ·exactly the same if you're seated or if you're hog-tied.
 ·3· · · · · · ·By the way, it is exactly the same if you're
 ·4· ·seated or if in a prone position with 165 pounds on your
 ·5· ·back, and you're lying over a 9-inch incompressible roll
 ·6· ·of carpet pressing up on your abdomen.· That's not my
 ·7· ·study.· That's somebody else's study.
 ·8· · · · Q· · Do you agree with that study?
 ·9· · · · A· · What is there to agree with?· Those are what
 10· ·the numbers show.
 11· · · · Q· · In terms of Dr. Reay's study, the numbers
 12· ·showed that too but the methodology was wrong so --
 13· · · · A· · The numbers didn't show anything like that for
 14· ·Dr. Reay's study.· He never measured oxygen levels in
 15· ·people in any method that is reliable or valid, and he
 16· ·showed that people who are hog-tied, their oxygen levels
 17· ·came up with rest --
 18· · · · Q· · If I have a hundred --
 19· · · · A· · -- and up in the hog-tied position.
 20· · · · Q· · If I have 165 pounds of weight on my back and
 21· ·whatever the carpet thing is going up my abdomen, right?
 22· · · · A· · Yup.
 23· · · · Q· · When you're talking about ventilation --
 24· · · · A· · Ventilatory response to exercise.
 25· · · · Q· · Understood.· I don't want to get -- because


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 62 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 62
 ·1· ·this is not my field.
 ·2· · · · · · · · · (Telephone interruption.)
 ·3· · · · THE WITNESS:· Ventilatory response to exercise,
 ·4· ·what do I mean by that?· In other words, you exercise.
 ·5· ·For a given amount of exercise, you have to ventilate a
 ·6· ·certain amount.
 ·7· · · · Q· · Correct.
 ·8· · · · A· · Those are easily available numbers, okay?· May
 ·9· ·I finish?
 10· · · · Q· · Sure.
 11· · · · A· · It makes no difference whether you are
 12· ·hog-tied or seated.· After heavy exercise, you breathe
 13· ·exactly the same amount.
 14· · · · Q· · Let me ask a question in nonscientific terms,
 15· ·and you will probably shut me down for being
 16· ·nonscientific.
 17· · · · A· · I'll try not to.· That's not my goal.· My goal
 18· ·is to educate you.
 19· · · · Q· · I understand and I appreciate that.· If I were
 20· ·to say -- if I go run a sprint or 10 sprints, my
 21· ·breathing will be more labored, in my opinion, right,
 22· ·because I'm breathing in an amateurish term.· I'm
 23· ·breathing heavily, like, huffing and puffing.
 24· · · · A· · Labored, I'm not going to let you use as a
 25· ·term.· You're breathing faster, okay?


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 63 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 63
 ·1· · · · Q· · Okay.· I would say labored after running 10
 ·2· ·sprints, right?
 ·3· · · · A· · No.· I would say faster.
 ·4· · · · Q· · You would say faster, but I would say labored.
 ·5· · · · A· · Okay, but that's incorrect.
 ·6· · · · Q· · I understand.· When I run 10 sprints, in my
 ·7· ·opinion, I'm breathing heavy.· I'm huffing and puffing
 ·8· ·more than that I'm sitting right here.
 ·9· · · · A· · Absolutely.· That's your ventilatory response
 10· ·to exercise.
 11· · · · Q· · Fine, okay.· It is your opinion then, now that
 12· ·I get it, that the ventilatory response to exercise is
 13· ·the same whether you're sitting, hog-tied, 165 pounds on
 14· ·your back, the whole deal?
 15· · · · A· · It's not my opinion.· That's what the data
 16· ·show, not just me.
 17· · · · Q· · I understand.· We'll get to that.· Once you
 18· ·finished your study, what did you do with it?
 19· · · · A· · We publish it.
 20· · · · Q· · Then you were used as an expert in Price,
 21· ·correct?
 22· · · · A· · Yes.
 23· · · · Q· · And you testified and gave a deposition, not
 24· ·in that order but --
 25· · · · A· · I assume so.· I don't remember.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 64 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 64
 ·1· · · · Q· · There were then follow-up studies that you've
 ·2· ·done, you said?
 ·3· · · · A· · Yes.
 ·4· · · · Q· · How many follow-up studies?· More than five?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · A bunch?
 ·7· · · · A· · Yes.
 ·8· · · · Q· · A nonscientific term.
 ·9· · · · A· · Yes.
 10· · · · Q· · Why did you do these follow-up studies?
 11· · · · A· · Because, first of all, there were people who
 12· ·felt that there could be other factors that had to be
 13· ·looked at that we had not looked at.
 14· · · · Q· · Such as what?
 15· · · · A· · Pepper spray.
 16· · · · Q· · Okay.
 17· · · · A· · So we did the same thing with pepper spray.
 18· · · · Q· · When you say people, who are these people?
 19· · · · A· · I don't remember.
 20· · · · Q· · I don't need names.· Are they law enforcement
 21· ·people?· Were they academics?
 22· · · · A· · You know, I would have to look exactly and try
 23· ·and remember.· When we first presented these data -- and
 24· ·I forgot exactly where the National Institute of Justice
 25· ·started getting interested.· They actually approached us


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 65 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 65
 ·1· ·with grant money to say, would you please study these
 ·2· ·things?
 ·3· · · · Q· · In terms of positional asphyxia?
 ·4· · · · A· · Well, pepper spray and position.· Then they
 ·5· ·said, well -- just like you did -- you know, you only
 ·6· ·went up to a body weight -- no, first came -- then
 ·7· ·came -- wait a minute.· It's not the position, which is
 ·8· ·what pretty much everybody came to accept.
 ·9· · · · · · ·It's the weight on the back that's the
 10· ·problem.· Then we started doing weight on the back.
 11· · · · Q· · Who said that?· The people that were
 12· ·inquiring, not you?
 13· · · · A· · I don't remember how it came to pass.· Maybe
 14· ·we said it, you know?· I don't remember.· It's sort of
 15· ·almost an embarrassment of riches in that once you
 16· ·started this study, the granting agencies starting
 17· ·saying -- and there were police agencies, the National
 18· ·Institute of Justice.
 19· · · · · · ·You have to look at the papers to see where
 20· ·the money came from doing these studies.· That's who was
 21· ·interested in it.· They almost came to us and said,
 22· ·please study this.· I've forgotten exactly where it came
 23· ·from.· Then we did weight.· We started off with light
 24· ·weight.
 25· · · · Q· · Can I interrupt you right there, just to


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 66 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 66
 ·1· ·finish on that topic?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · You kind of used the term embarrassment of
 ·4· ·riches.· I'll use that in court, but I won't use that
 ·5· ·here.
 ·6· · · · A· · Well, that's the grants.· That's what I'm
 ·7· ·talking about.
 ·8· · · · Q· · The money that you were receiving -- and when
 ·9· ·you say "we," who is we?
 10· · · · A· · It's basically the same group who was doing
 11· ·it.· We went out to SDSU, started doing studies at SDSU
 12· ·because we had access to a more sophisticated exercise
 13· ·physiology cart out there.· They had a lower overhead
 14· ·for grants than the University of California.· There's a
 15· ·lot of academic politics involved.
 16· · · · Q· · Money that was coming in in terms of grants
 17· ·for these studies, was that going to you personally and
 18· ·your group, or was that going to the University?
 19· · · · A· · Well, the University took the overhead, and
 20· ·the rest of the money paid for the study.· In other
 21· ·words, you have to pay the subjects.· You have to get
 22· ·the equipment.· You have to use the consumables.· You
 23· ·have to pay secretaries to do the typing, things like
 24· ·that.
 25· · · · Q· · Would you agree -- well, let me ask you


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 67 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 67
 ·1· ·this --
 ·2· · · · A· · I got no money for it, if that's the question
 ·3· ·you're asking.
 ·4· · · · Q· · But you were employed by the University?
 ·5· · · · A· · Yeah.· I get my salary from the University.                  I
 ·6· ·get to do this on top of my job.
 ·7· · · · Q· · Most of your time had been spent before in
 ·8· ·terms of stuff with diving and things like that,
 ·9· ·specialties with NASA and other groups that you were
 10· ·involved with?
 11· · · · A· · NASA came later.
 12· · · · Q· · But you spent a lot of time on diving studies,
 13· ·you said, deaths while diving, things of that nature?
 14· · · · A· · Yeah.· Decompression sickness, drowning, all
 15· ·of that stuff came earlier.
 16· · · · Q· · And I know this kind of flows from that, but
 17· ·now you're spending -- once you did your first study,
 18· ·you're spending a lot of time on this stuff?
 19· · · · A· · We can look at the CV and see how it splits
 20· ·out.· I don't remember.
 21· · · · Q· · Some of the groups that became interested in
 22· ·your work were police agencies; is that correct?· You
 23· ·said that.
 24· · · · A· · I assume so.
 25· · · · Q· · Did you meet with any of these police agencies


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 68 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 68
 ·1· ·before any of your studies?
 ·2· · · · A· · No, not for the positional asphyxia studies.
 ·3· ·When we started getting into the Taser studies, we
 ·4· ·needed subjects.
 ·5· · · · Q· · We'll get to that.
 ·6· · · · A· · We needed subjects.· After having gotten
 ·7· ·tased, which hurts -- when we went to Human Use, they
 ·8· ·said, how much are you going to pay the subjects?                I
 ·9· ·forgot what we said, but it was a sizable amount of
 10· ·money because being tased hurts.
 11· · · · · · ·The Human Use said to us, that's coercive.
 12· ·The amount of money that you're suggesting to pay the
 13· ·subjects is coercive in and of itself.· We're not going
 14· ·to let you do the study.· We said, but we can't pay them
 15· ·less because that's not appropriate.
 16· · · · · · ·They said, tough beans.· You're not doing the
 17· ·study.· We had to find a way of getting subjects who
 18· ·were going to get tased anyway, and then do what we
 19· ·wanted to do with them.· That's when we went to the
 20· ·police agencies and said, hey, you guys are going to be
 21· ·tasing subjects.
 22· · · · · · ·Can we bring our laboratory out to your Taser
 23· ·training facility and study your subjects who are
 24· ·getting tased anyway?· Human Use bought off on that.
 25· ·They said, fine.· You're not tasing the people.· You're


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 69 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 69
 ·1· ·just exercising them, taking blood from them, stuff like
 ·2· ·that.· That's when we got involved with police agencies,
 ·3· ·to the best of my memory.
 ·4· · · · Q· · To your knowledge, were you being contacted
 ·5· ·before then by police agencies based on your study, your
 ·6· ·first study?
 ·7· · · · A· · You mean them asking us to do other studies?
 ·8· · · · Q· · Well, no, or to help testify in cases and
 ·9· ·things like that?
 10· · · · A· · I don't think I was ever approached by a
 11· ·police agency to testify.· Everything came from
 12· ·attorneys.· Obviously, I've testified before and so
 13· ·obviously, I was approached.
 14· · · · Q· · We'll get to that.· You were obviously
 15· ·approached a lot more after the Price case and after the
 16· ·study?
 17· · · · A· · I was never approached before then so
 18· ·obviously, I was approached before -- afterwards.
 19· · · · Q· · You then said you went to pepper spray?
 20· · · · A· · Yes.
 21· · · · Q· · You did one study based on that?
 22· · · · A· · Yeah.· I think that was the National Institute
 23· ·of Justice asked us to do the pepper spray.· I'm not a
 24· ·hundred percent sure.· Pull out the paper.· You'll see
 25· ·where the grant came from.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 70 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 70
 ·1· · · · Q· · We won't spent a lot of time on that because I
 ·2· ·believe Mr. Joseph was not pepper-sprayed, but what did
 ·3· ·your studies show --
 ·4· · · · A· · Well, that's an important study for you,
 ·5· ·nonetheless, because in that study, the first time
 ·6· ·instead of hog-tying people, we put them in what's now
 ·7· ·called a hobble restraint.· We were measuring their
 ·8· ·pulmonary function test in four different circumstances.
 ·9· · · · · · ·Only two of those circumstances involved
 10· ·pepper spray because we also used a control of nothing
 11· ·and a control of fake pepper spray.· In other words, the
 12· ·subjects thought they were going to get pepper sprayed
 13· ·but, in fact, they just got a spray that didn't have any
 14· ·pepper in it.
 15· · · · · · ·The results showed that people in the hobble
 16· ·restraint, i.e., with their legs at 90 degrees instead
 17· ·of flexed up towards their buttocks, there was no
 18· ·difference in the pulmonary function testing in those
 19· ·two positions.
 20· · · · Q· · Did you do the same -- well, first of all, the
 21· ·group, the test subjects, were they picked the same way,
 22· ·pretty much?
 23· · · · A· · I don't remember.· No, they weren't because
 24· ·this was a pepper spray study, and the cops were going
 25· ·to be pepper-sprayed anyway.· I think it was police


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 71 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 71
 ·1· ·trainees.
 ·2· · · · Q· · So police trainees?
 ·3· · · · A· · I think it was police trainees.
 ·4· · · · Q· · Because you've got to have the control group,
 ·5· ·and you can't just go out and pepper spray subjects.
 ·6· · · · A· · Right, exactly.
 ·7· · · · Q· · So same issue as the Taser?
 ·8· · · · A· · I think but it's a long time ago.
 ·9· · · · Q· · Those police trainees or whoever they were,
 10· ·did they also do the ergometer to 170, or did you modify
 11· ·that at all?
 12· · · · A· · I don't think that was an exercise study.
 13· · · · Q· · That was simply oxygenation --
 14· · · · A· · With pepper spray and hobble.· A combination
 15· ·of pepper spray and hobble, hobble alone, seated alone,
 16· ·and there was a fourth component.· I'll have to look at
 17· ·the paper.
 18· · · · Q· · Was the purpose of this again for oxygenation
 19· ·levels?· I mean, that's --
 20· · · · A· · Yeah, because the sine qua non of asphyxiation
 21· ·is low oxygen level.· I think at that point, we were
 22· ·using pulse oximeters because by then --
 23· · · · Q· · I thought you didn't like them?
 24· · · · A· · Remember, I said circa 1988.· By then, pulse
 25· ·oximeters could be used in exercising subjects.· But,


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 72 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 72
 ·1· ·again, I don't think this was an exercise study.
 ·2· · · · Q· · What did you find in this study?
 ·3· · · · A· · The hobble -- well, the import for this case
 ·4· ·is, there's no difference between hobble and hog-tie.
 ·5· ·As you said, you're not interested in pepper spray, and
 ·6· ·Mr. Joseph wasn't pepper-sprayed.
 ·7· · · · Q· · Was anything affected?· Was the oxygenation
 ·8· ·level -- was there any asphyxiation?
 ·9· · · · A· · No.· By the way, we did not exclude asthmatics
 10· ·from that study.
 11· · · · Q· · But you don't know what the status of the
 12· ·asthmatics were?
 13· · · · A· · I know there was at least one asthmatic in
 14· ·that study because we talked about it, but I don't
 15· ·remember how many there were.
 16· · · · Q· · After that study, the pepper spray study --
 17· · · · A· · I think weight came after that, weight on the
 18· ·back.
 19· · · · Q· · Is this the 225 issue?
 20· · · · A· · Well, there are multiple weight studies that
 21· ·were done.· We started with 25 and 50 pounds, which is a
 22· ·small amount of weight because we didn't know.· It's
 23· ·really just that simple.· We didn't know.· Subsequently,
 24· ·we found out about this study in England.· That was the
 25· ·165 pounds and the carpet.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 73 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 73
 ·1· · · · · · ·Then, we went up to 225, but the amount of
 ·2· ·weight in that study depended upon how big people were.
 ·3· ·I would have to look at the study to get the exact
 ·4· ·numbers.· But I know in pretty much normal-sized people,
 ·5· ·I think over 150 pounds, they got the full 225, maybe it
 ·6· ·was over 175 pounds.
 ·7· · · · Q· · What did you do with the 225 pounds?
 ·8· · · · A· · Put it on their back.
 ·9· · · · Q· · Was this a deadweight?· What was the 225
 10· ·pounds?
 11· · · · A· · Deadweight.
 12· · · · Q· · It was like weight plates or something like --
 13· · · · A· · Actually, it was lead shot.
 14· · · · Q· · In a bag or some sort of --
 15· · · · A· · Yes, in a bag, 25-pound bags.
 16· · · · Q· · So 225 pounds worth of lead shot was put on a
 17· ·person's back?
 18· · · · A· · Yes.
 19· · · · Q· · Not supported on the person's back?
 20· · · · A· · It was supported on the person's back.
 21· · · · Q· · Was this a third study?· This is before the
 22· ·Taser?
 23· · · · A· · I don't remember where in this the Taser came.
 24· · · · Q· · And then the same kind of result --
 25· · · · A· · That may even -- that's not the third.· That's


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 74 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 74
 ·1· ·the fourth or the fifth.
 ·2· · · · Q· · Same kind of control group, healthy subjects
 ·3· ·who --
 ·4· · · · A· · Yes.
 ·5· · · · Q· · For the same reasons we talked about before?
 ·6· · · · A· · Yes.· Now, the other very important component
 ·7· ·to that study -- because now, we're getting to studies
 ·8· ·that we thought might have real significant effects upon
 ·9· ·ventilation and the ventilatory ability, okay?· I mean,
 10· ·we're getting up to significant weights on people's
 11· ·backs.
 12· · · · · · ·This was a bifurcated study because remember
 13· ·what we said, you have to know how much it's reduced,
 14· ·right?· You also have to know how much you need.· If I
 15· ·reduce your breathing right now by 50 percent, what's
 16· ·the big deal?
 17· · · · · · ·You're only breathing 12, 14 times a minute,
 18· ·okay?· You're breathing, you know -- I said 12, 14 times
 19· ·a minute.· That's 10, 12 times a minute, 14 times a
 20· ·minute you're breathing.· Right now, you're breathing
 21· ·about six liters, seven liters per minute, okay?
 22· · · · · · ·Normal inspiration is about 500 cc.· You're
 23· ·either 12, 14 times a minute, depending upon how relaxed
 24· ·you are.· You're breathing six, seven liters a minute.
 25· ·If I ask you, Mr. Oppenheimer, I want you to do a


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 75 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 75
 ·1· ·pulmonary function test for me.
 ·2· · · · · · ·You're a big, tall guy, broad shoulders, big
 ·3· ·chest.· I say, breathe as hard and fast as you can like
 ·4· ·that.· I measure how much ventilation that is.· A guy
 ·5· ·your size, 180, 200 liters a minute.· If I reduce that
 ·6· ·maximum capacity to breathe by a hundred liters a minute
 ·7· ·and you only have to breathe 12 liters a minute, that
 ·8· ·sort of goes into the category of big deal.
 ·9· · · · · · ·It's not clinically significant.· By putting
 10· ·225 pounds on people's backs, we were saying we may have
 11· ·real big effects on maximum ability to breathe.· Now the
 12· ·question becomes how much do you need to breathe?· That
 13· ·was the other side of the study.
 14· · · · · · ·We hog-tied a bunch of people and had them
 15· ·exercise to absolute maximum while they were hog-tied
 16· ·until they just couldn't exercise at all anymore.
 17· · · · Q· · They were hog-tied after they exercised?
 18· · · · A· · No.· This is hog-tied while they exercised,
 19· ·exercised while they're hog-tied.· Obviously, not on
 20· ·a --
 21· · · · Q· · Can you explain that?
 22· · · · A· · Yeah, fight as hard as you can.
 23· · · · Q· · You mean struggle with the hog-tie?
 24· · · · A· · Struggle as hard as you -- fight as hard as
 25· ·you can.· We measured how much they could exercise.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 76 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 76
 ·1· ·Then you can compare that with how much somebody can
 ·2· ·breathe with that much weight on their back, and do
 ·3· ·those two things -- will it cause trouble or is it going
 ·4· ·to be fine?
 ·5· · · · · · ·Is it like the circumstance that I've just
 ·6· ·described?· You're sitting here just breathing
 ·7· ·seven liters a minute, but I've reduced your breathing
 ·8· ·capacity to a hundred liters per minute.· Well, that's
 ·9· ·not going to cause any trouble, but what happens if you
 10· ·exercise?
 11· · · · · · ·How much exercise can you do while you're
 12· ·struggling as hard as you can?· That's what that
 13· ·bifurcated study was.
 14· · · · Q· · Was there any weight -- while they're
 15· ·struggling against the hog-tie, was there weight placed
 16· ·on them?
 17· · · · A· · No.· You don't want to put weight on them at
 18· ·that point, because you want to get their highest level
 19· ·of exercise possible because that's going to define the
 20· ·maximum amount of breathing that they need.· If I hold
 21· ·them down even more, their oxygen consumption is going
 22· ·to be even lower because they can't exercise as much.
 23· · · · · · ·You cannot exercise as much, or exert yourself
 24· ·as much, exercise as much if you're hog-tied than if
 25· ·you're on a treadmill running.· You're using many more


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 77 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 77
 ·1· ·muscles.· Treadmill, gravity muscles, everything.
 ·2· ·You're hog-tied.· You're using much less muscle.
 ·3· · · · · · ·You're burning much less fuel, and your
 ·4· ·ability to generate an oxygen consumption is much less
 ·5· ·than it is on a treadmill.· That was part of the study
 ·6· ·as well.· We took the same people exercising to a
 ·7· ·maximum while they were hog-tied and then afterwards, we
 ·8· ·exercised them to a maximum on a treadmill just to see
 ·9· ·that kind of difference.
 10· · · · Q· · The weight that was placed on them, when was
 11· ·that placed on them?
 12· · · · A· · That was a different part of the study.
 13· ·That's to see how much ventilation is impaired by that
 14· ·degree of weight.· What you've got is impairment of
 15· ·ventilation by weight; how much, and exercise; how much?
 16· ·How much ventilation can you do with weight?
 17· · · · · · ·How much exercise can you do and; therefore,
 18· ·how much ventilation you need while hog-tied?· That's
 19· ·the paper that was a master's thesis for Betty
 20· ·Macalawitz, and it's on my CV.· Then we did the obesity
 21· ·study after that.
 22· · · · Q· · First of all, with the weight and the hog-tie
 23· ·and struggling, what were your findings on that?· Same?
 24· · · · A· · That the degree of ventilatory impairment by
 25· ·225 was way too little to not only affect the amount of


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 78 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 78
 ·1· ·exercise that somebody could do while struggling, it
 ·2· ·almost was enough to allow you to reach full exercise on
 ·3· ·a treadmill.
 ·4· · · · · · ·In fact, it may have been enough to make you
 ·5· ·reach full exercise on a treadmill.· I have to look at
 ·6· ·the exact numbers for that.
 ·7· · · · Q· · What was the ventilative impairment on the
 ·8· ·subjects who were hog-tied and struggling?
 ·9· · · · A· · The ventilatory impairment, it's the same
 10· ·change in pulmonary function tests of anybody who is
 11· ·hog-tied.· Struggling doesn't adversely affect your
 12· ·ability to ventilate.
 13· · · · Q· · Did you do the oxygenation test on those guys?
 14· · · · A· · Yes.· Well, we were using O2 sat monitors.
 15· · · · Q· · You're not doing catheters?
 16· · · · A· · No.· We don't have to do that anymore.· More
 17· ·importantly, we were measuring end-Tidal CO2.
 18· · · · Q· · Well, explain that.
 19· · · · A· · The long answer or the short answer?
 20· · · · Q· · He's got a flight at 2:00, so I will go with
 21· ·the short answer.
 22· · · · A· · If you don't breathe enough, oxygenation
 23· ·doesn't fall that fast but CO2 rises immediately.
 24· · · · Q· · Okay.
 25· · · · A· · Now, if you want to know the why for that,


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 79 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 79
 ·1· ·that's a long story.· By measuring end-Tidal CO2, we
 ·2· ·know that they are breathing the appropriate amount for
 ·3· ·that degree of exercise.
 ·4· · · · Q· · What were your findings in terms of the people
 ·5· ·that were hog-tied and struggling in terms of asphyxia?
 ·6· ·Were you looking at that in terms of asphyxia, or
 ·7· ·there's no way they could become asphyxiated --
 ·8· · · · A· · There's no way you can become asphyxiated that
 ·9· ·way, but what we were looking at was how much exercise
 10· ·they could do.
 11· · · · Q· · Was your motive in the study to look at how
 12· ·much exercise they could do --
 13· · · · A· · Yes.
 14· · · · Q· · -- or whether or not they could become
 15· ·asphyxiated?· Or is your opinion just based on if they
 16· ·could do a lot, then they weren't going to become
 17· ·asphyxiated?
 18· · · · A· · How do you become asphyxiated if your CO2
 19· ·levels are appropriate?
 20· · · · Q· · Fair enough.· Did their CO2 levels change, in
 21· ·your opinion, while they --
 22· · · · A· · Yeah.· They went down the way they're supposed
 23· ·to.
 24· · · · Q· · When they were hog-tied and struggling?
 25· · · · A· · Yes.· That's what happens with exercise.· Once


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 80 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 80
 ·1· ·you pass the anaerobic threshold, your CO2 goes down and
 ·2· ·your oxygen goes up.
 ·3· · · · Q· · These subjects were the same kind of subjects
 ·4· ·as before, healthy --
 ·5· · · · A· · Once again, that's what you wanted here
 ·6· ·because these young, healthy people can generate far
 ·7· ·more exercise than anybody who may be in the least bit
 ·8· ·out of shape, older.· We were using graduate exercise
 ·9· ·physiology students as our subjects.
 10· · · · Q· · You were using professional exercises --
 11· ·people who understood it and, in your opinion, were in
 12· ·good shape?
 13· · · · A· · Yeah.· It was sort of interesting because what
 14· ·you saw was the bodybuilder types when they were
 15· ·hog-tied couldn't do nearly the exercise that the lady
 16· ·gymnasts could do.
 17· · · · Q· · Fair enough.
 18· · · · A· · Now, you adjust it for body weight.· You have
 19· ·to normalize it for body weight.· These young
 20· ·gymnastic -- males and females because we were using
 21· ·both in that group -- they could exercise quite a bit.
 22· · · · · · ·Whereas, sort of your bodybuilder type -- if
 23· ·you get the paper, you'll see how hog-tied these were,
 24· ·and the picture I think that's in that paper will give
 25· ·you an idea of these hog-tied people.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 81 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 81
 ·1· · · · Q· · Then you went to the Taser issue at some
 ·2· ·point?
 ·3· · · · A· · I think that was concurrent.· I think we were
 ·4· ·doing Taser --
 ·5· · · · Q· · Let's talk about the Taser.· The Taser issue,
 ·6· ·why did you do a study with Taser people?
 ·7· · · · A· · Actually, those sort of started out -- I think
 ·8· ·Gary Vilke was the one who sort of got interested in the
 ·9· ·Taser more than I did.· You're going to have to look at
 10· ·the papers to see where he got the grant money for that.
 11· ·I'm the methodology guy, okay?
 12· · · · Q· · Understood.
 13· · · · A· · I'm the guy who designs experiments so you
 14· ·can't say, uh-uh, you know Dr. Reay, he used the wrong
 15· ·instrument, and he had the wrong premise, and so his
 16· ·study is not valid.
 17· · · · Q· · Understood.
 18· · · · A· · I'm the guy who sees to it that that doesn't
 19· ·happen.
 20· · · · Q· · Let's talk about the Tasers.· You had to go --
 21· ·you've already explained how you had to go basically to
 22· ·the police department.
 23· · · · A· · Well, that was for that study.· For other
 24· ·studies -- for other studies -- I don't remember how we
 25· ·got the volunteers for the other studies.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 82 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 82
 ·1· · · · Q· · Have you done a study or studies with people
 ·2· ·who have been tasered and also hog-tied or placed in
 ·3· ·some sort of restraint, or were your studies with people
 ·4· ·who have been tasered to do the same kind of data in
 ·5· ·terms of exercise --
 ·6· · · · A· · I don't remember.· I don't think we did a
 ·7· ·hog-tie Taser study.
 ·8· · · · Q· · When I say hog-tied, I just want to be clear.
 ·9· ·Did you ever do a study where a person had been tasered
 10· ·and then also restrained in some sort of way?
 11· · · · A· · You know what, I don't remember.· Let me take
 12· ·a look at some of these.
 13· · · · Q· · Sure, take your time.· For the record, you
 14· ·have a lot of your documents in front of you.               I
 15· ·certainly apologize --
 16· · · · A· · I brought my file.
 17· · · · Q· · I certainly have no objection to you looking
 18· ·at your file.
 19· · · · A· · Well, there's one that -- there are a couple
 20· ·that deal with Taser and ventilation after exercise.
 21· ·But in the title, it doesn't say whether or not we
 22· ·hog-tied them as well.· I'm afraid I'm going to have to
 23· ·answer your question with a I don't remember.
 24· · · · Q· · You don't remember if there was a specific
 25· ·study where they were hog-tied or restrained.· The


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 83 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 83
 ·1· ·purpose of the study was to test oxygen levels and
 ·2· ·ventilation when a person had been tasered and then
 ·3· ·hog-tied?
 ·4· · · · A· · Also, remember that some of the arguments
 ·5· ·about Tasers were metabolic issues that were caused by a
 ·6· ·Taser, cardiac issues that were caused by a Taser.· We
 ·7· ·were looking at these things, perhaps, even as much as
 ·8· ·we were at ventilatory function secondary to being
 ·9· ·tasered.
 10· · · · Q· · Okay, makes sense.
 11· · · · A· · My basic memory of it is absolutely no effect
 12· ·of a Taser as far as ventilatory function is concerned,
 13· ·nor should there be any effect.
 14· · · · Q· · Because?
 15· · · · A· · Why should there be?· I mean, give me a
 16· ·physiologic rationale.· You know, the Taser lasts for
 17· ·five seconds on it, and it contracts the muscles in
 18· ·between the darts.· As I remember it, we even looked at
 19· ·ventilation during tasering and found people continued
 20· ·to breathe normally during the tasering.
 21· · · · · · ·Even so, even if it was five seconds that they
 22· ·didn't breathe -- how much longer do you want me to hold
 23· ·my breath?· Even if you're not breathing for five
 24· ·seconds, it goes into the big deal category.
 25· · · · Q· · Those people who are not breathing for five


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 84 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 84
 ·1· ·seconds were relatively healthy before they were shot
 ·2· ·with a Taser.· They were police recruits, right, or
 ·3· ·police officers that you tested, correct?
 ·4· · · · A· · All of our subjects were healthy people.
 ·5· · · · Q· · I understand.· I've just got to reinforce
 ·6· ·that.· That's my job.
 ·7· · · · A· · You don't have to reinforce it at all.
 ·8· ·However, I want to say that psychosis doesn't affect the
 ·9· ·way you breathe.· Drugs, cocaine, methamphetamine,
 10· ·although, they're not related here, don't affect the way
 11· ·you breathe.
 12· · · · Q· · Fair enough.
 13· · · · A· · Although, I agree with you a hundred percent.
 14· ·The conditions are not exactly the same.· They are,
 15· ·however, extrapolatable.· The bifurcated study, yes,
 16· ·young, healthy people.· That makes it even -- that's the
 17· ·worst case for Mr. Levenson because these are people who
 18· ·can generate a much higher oxygen consumption than
 19· ·somebody who for some reason is physically -- not
 20· ·emotionally, physically impaired.
 21· · · · Q· · On the Taser studies -- and we're not going to
 22· ·get into the ones you don't remember.· I'm not trying
 23· ·to --
 24· · · · A· · I really don't remember much about the Taser
 25· ·studies.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 85 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 85
 ·1· · · · Q· · I understand that.· Have you ever been or were
 ·2· ·you ever retained by Taser International to do any work?
 ·3· · · · A· · I have been involved in cases where Tasers
 ·4· ·were involved.· Whether or not Taser was paying the
 ·5· ·attorney, I can't help you.
 ·6· · · · Q· · Approximately how many cases have you -- well,
 ·7· ·let's just go to the bigger picture.· Have you ever
 ·8· ·testified for any plaintiffs?
 ·9· · · · A· · No, in these kinds of cases.
 10· · · · Q· · In these kinds of cases?
 11· · · · A· · Yeah.
 12· · · · Q· · Have you ever -- how many times would you say
 13· ·have you testified in court for the defense in these
 14· ·kind of cases?
 15· · · · A· · I can only tell you the last four years.
 16· · · · Q· · We have that history, I believe.
 17· · · · A· · Yes.
 18· · · · Q· · Other than the last four years, you have
 19· ·testified also, correct?
 20· · · · A· · Yes.
 21· · · · Q· · Never been retained by any plaintiffs in these
 22· ·kind of cases?
 23· · · · A· · Plaintiffs are not interested in retaining me.
 24· ·That's like trying to retain Columbus to testify that
 25· ·the earth is flat or that there's a likelihood -- if you


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 86 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 86
 ·1· ·get an astronomer to testify that the moon is going to
 ·2· ·rise in the west.
 ·3· · · · Q· · When I say have you been retained or where did
 ·4· ·the money come from, you're obviously -- the lawyer or
 ·5· ·the law firm is the one that retains you?
 ·6· · · · A· · Sometimes the check comes from the city or
 ·7· ·someplace else.
 ·8· · · · Q· · In this case, when you have been retained by
 ·9· ·the City of Gretna and Mr. Levenson retained you --
 10· · · · A· · Mr. Levenson retained me.
 11· · · · Q· · When did Mr. Levenson retain you?· Do you know
 12· ·the exact date?
 13· · · · A· · You asked me to bring my billing records, so I
 14· ·did.· They're here somewhere.
 15· · · · Q· · Do you want to take a look now, or we can look
 16· ·later?
 17· · · · A· · I'll give them to you.
 18· · · · Q· · I'll acknowledge receipt of that.
 19· · · · A· · I don't have bills.· Those are generated
 20· ·automatically.· I have a time sheet.· My fancy computer
 21· ·takes the time sheet, makes a bill.· It gets printed.
 22· ·It gets sent to Mr. Levenson, but I don't have bills.
 23· · · · Q· · Understood.· You have your hourly rate, and I
 24· ·assume we have --
 25· · · · A· · Yes.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 87 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 87
 ·1· · · · Q· · Do you remember what your hourly rate is?
 ·2· · · · A· · I know exactly what my --
 ·3· · · · Q· · What is your hourly rate?
 ·4· · · · A· · $750 an hour.
 ·5· · · · Q· · That is for -- that's outside of court?
 ·6· · · · A· · Everything.
 ·7· · · · Q· · Everything, so this deposition is $750?· I'll
 ·8· ·talk quicker.
 ·9· · · · A· · No.· The deposition is half day.· We start at
 10· ·nine o'clock.· It will go until one o'clock.· That's
 11· ·four hours.· That's my rate.
 12· · · · Q· · This document that you just gave me says
 13· ·June 12, 2017, six-tenths of an hour.· It says CONV.
 14· ·I'm assuming conversation with Levenson, right?
 15· · · · A· · Yes.
 16· · · · Q· · You talked to Mr. Levenson for that period of
 17· ·time?
 18· · · · A· · Right.
 19· · · · Q· · That was when you were first contacted by
 20· ·Mr. Levenson, correct?
 21· · · · A· · That's what my record --
 22· · · · Q· · No reason to think this is not correct?
 23· · · · A· · If he called me beforehand and didn't get in
 24· ·touch with me or anything like that, I've got no record
 25· ·of it and I don't remember it.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 88 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 88
 ·1· · · · Q· · Then August 7, 2017, an hour and a half for
 ·2· ·document review.· This speaks for itself.· I'm just
 ·3· ·going through it now.
 ·4· · · · A· · Yes.· The only thing that's not on there is
 ·5· ·today, my preparation for the deposition and meeting
 ·6· ·with these guys yesterday.
 ·7· · · · Q· · You guys met yesterday?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · For how long did you meet?
 10· · · · A· · The day.
 11· · · · Q· · I'm certainly not asking for conversations but
 12· ·for pretty much the whole day?
 13· · · · A· · You're hearing the conversation we had with
 14· ·them.
 15· · · · Q· · What would be more fun is to hear what
 16· ·Mr. Levenson told you, and I'm not allowed to hear that.
 17· · · · A· · Mr. Levenson didn't tell me anything.
 18· · · · Q· · I'm not asking that.· I believe that too,
 19· ·actually.· He tried probably.
 20· · · · A· · No, he didn't.
 21· · · · Q· · I'm not asking that.
 22· · · · MR. LEVENSON:· That's the actual invoice that he
 23· ·doesn't have because it's done electronically.
 24· · · · MR. OPPENHEIMER:· Okay, gotcha.
 25· · · · THE WITNESS:· I would appreciate it if you did not


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 89 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 89
 ·1· ·make that part of the record because my social security
 ·2· ·number is on that.· Just either cut it out or --
 ·3· · · · MR. OPPENHEIMER:· I'm not attempting to -- fine.
 ·4· ·BY MR. OPPENHEIMER:
 ·5· · · · Q· · Let's just go over it real quick.· August 7,
 ·6· ·2017, an hour and a half document review.· August 8,
 ·7· ·2017, three hours document review.· That looks like the
 ·8· ·most extensive part of this.· Half hour on August 9,
 ·9· ·document review.
 10· · · · · · ·Then there is a conversation with Mr. Levenson
 11· ·for six-tenths of an hour, then it goes on.· There's
 12· ·some further document review.· Then you wrote -- it says
 13· ·draft report, June 28, 2018, three and a quarter hours
 14· ·draft report.
 15· · · · · · ·There's another conversation, and then you
 16· ·finalize it, correct?· Does that make sense?
 17· · · · A· · Yes.
 18· · · · Q· · You have listed in your report the documents
 19· ·that were given to you by Mr. Levenson, correct?
 20· · · · A· · Yes.· Now, I have two additional documents
 21· ·since that time.
 22· · · · Q· · What were they?
 23· · · · A· · Dr. Lee's report, which was not available when
 24· ·I wrote it.· I was very curious after reviewing the
 25· ·medical records about Mr. Joseph's hospitalization two


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 90 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 90
 ·1· ·years prior to the hospitalization where he passed away.
 ·2· · · · Q· · Then, were you given those documents?
 ·3· · · · A· · I was not given them.· I had an opportunity to
 ·4· ·briefly look at them on a computer screen yesterday.
 ·5· · · · Q· · We'll get to that in a minute.· I don't want
 ·6· ·to forget those.· I'm sure you'll remind me.
 ·7· · · · A· · No.· There's nothing super important to them.
 ·8· · · · Q· · I guess I'll do it now because I'm going to
 ·9· ·forget.· Did anything in the documents that you reviewed
 10· ·from his prior hospitalization affect -- you had already
 11· ·given your opinion, correct?
 12· · · · A· · Yes.
 13· · · · Q· · Did anything in those documents affect your
 14· ·opinion?
 15· · · · A· · Minimally but not that it makes a difference.
 16· · · · Q· · In what way minimally?
 17· · · · A· · I'm leaning much more to the likelihood, as
 18· ·Dr. Eserman put it, that Mr. Joseph had excited delirium
 19· ·than not.· But it doesn't really make any difference
 20· ·whether he had excited delirium or his behavior and
 21· ·everything else was related to his psychosis and the
 22· ·Benadryl.
 23· · · · Q· · We'll get to that a little more extensively.
 24· · · · A· · Because it's the behavior and the consequences
 25· ·of that behavior that are at issue, not the causative --


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 91 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 91
 ·1· ·not the causative effect from a medical point of view.
 ·2· · · · Q· · From where you're coming from?
 ·3· · · · A· · From where I'm coming from.
 ·4· · · · Q· · Fair enough.· I want to go back for a second
 ·5· ·to Taser.
 ·6· · · · A· · Boy, I really don't remember much about those
 ·7· ·studies.
 ·8· · · · Q· · Was your purpose -- there's been a lot of
 ·9· ·publicity and a lot of media attention with regard to
 10· ·Tasers and their effect on subjects.
 11· · · · A· · Yes.
 12· · · · Q· · There have been wrongful death lawsuits.
 13· ·There have been allegations that a Taser can cause a
 14· ·death or some sort of cardiac arrhythmia, right?
 15· · · · A· · Yes.
 16· · · · Q· · Did any your studies have to do with that?
 17· · · · A· · Yes.
 18· · · · Q· · What was the purpose in those studies?
 19· · · · A· · To see if there was anything that suggested
 20· ·that could be true.
 21· · · · Q· · What did you find?
 22· · · · A· · No.
 23· · · · Q· · I know you don't have them in front of you.
 24· ·Approximately, how many studies did you do with regard
 25· ·to Taser and looking to see --


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 92 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 92
 ·1· · · · A· · I would have to count, half a dozen.
 ·2· · · · Q· · The approximate half a dozen studies, they
 ·3· ·were done -- they were done to see the effects of Taser
 ·4· ·on the human body or specific things like breathing,
 ·5· ·ventilation, other things?
 ·6· · · · A· · All of those things, yeah.· I mean, looking at
 ·7· ·chemistry changes that may occur secondary to the Taser;
 ·8· ·looking at ventilatory changes that may occur secondary
 ·9· ·to the changes [sic]; changes in electrocardiogram
 10· ·secondary to the Taser, changes in enzymes in the blood
 11· ·related to the heart related to Taser.
 12· · · · · · ·There was a whole panoply of things to look at
 13· ·because there were a whole series of hypotheses as to
 14· ·how a Taser could adversely affect somebody and
 15· ·potentially cause their death.
 16· · · · Q· · Were these half a dozen or so studies all done
 17· ·because of an intense curiosity or because there was a
 18· ·case involved, and you were retained by --
 19· · · · A· · Certainly, the latter is not the case for me
 20· ·because, again, Gary comes to me.· Dr. Vilke comes to
 21· ·me, or Dr. Chan comes to me and says, we're going to do
 22· ·a Taser study.· Please remember, at this point in my
 23· ·life, I was pretty senior academician, okay, and these
 24· ·guys were on their power curve up the academic ladder.
 25· · · · · · ·My role in these studies was, A, to help out


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 93 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 93
 ·1· ·with the physical doing of the study because you don't
 ·2· ·get time off to do these studies.· You don't get extra
 ·3· ·pay to do these studies.· You get a line on your CV,
 ·4· ·which is important for them but was no longer important
 ·5· ·for me.
 ·6· · · · Q· · You were not retained by any lawyers, law
 ·7· ·firms, or cities to do these studies --
 ·8· · · · A· · Not for these studies, no.· In fact, we
 ·9· ·weren't retained by any lawyers or anything, any related
 10· ·to any of these studies -- not only Taser but the
 11· ·respiratory studies until -- with the exception of the
 12· ·very first one.
 13· · · · · · ·By the way, I can answer your question about
 14· ·being retained by -- by taking money from Taser.· That,
 15· ·I can answer your question because Gary and I have
 16· ·spoken at presentations.· He has said to me -- not
 17· ·repeatedly but enough that I remember -- boy, am I glad
 18· ·we have never taken any money from Taser.
 19· · · · · · ·Because there's a guy by the name of Jeff Ho
 20· ·who has done very good research on Tasers and shows much
 21· ·the same thing that we have shown.· But he's come under
 22· ·constant criticism because his money comes from Taser.
 23· · · · · · ·Now, I can understand that people criticize a
 24· ·study from where the money comes from.· I truly can, but
 25· ·you still have to find the flaw in the study.· You say,


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 94 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 94
 ·1· ·oh, look, you know, somebody paid for this study, and
 ·2· ·that control group isn't right, or the statistics you
 ·3· ·used weren't right, or there's a selection bias in your
 ·4· ·sampling methodology.
 ·5· · · · · · ·So it is true, you should be suspicious of
 ·6· ·where money comes from.· But all that suspicion can do
 ·7· ·is make you examine the study carefully to see if, in
 ·8· ·fact, there is any bias that has creeped into the study.
 ·9· ·Jeff Ho's studies are excellent.
 10· · · · · · ·There is no bias in his study, but we have
 11· ·taken no money from Taser.· That, I can tell you.
 12· · · · Q· · Have you testified based on any of your Taser
 13· ·studies in court?
 14· · · · A· · I don't remember.
 15· · · · Q· · As far as your Taser studies, did you find --
 16· ·you're not a cardiologist?
 17· · · · A· · Correct.· I'm an internist.
 18· · · · Q· · Did you find any effects -- the subjects you
 19· ·used from Taser, these are probably police officers or
 20· ·police trainees, correct?
 21· · · · A· · I don't remember if all of them were.· Some of
 22· ·them may have been university volunteers.· I'm sorry.
 23· ·There are too many studies, and I don't remember where
 24· ·the population pool came from.
 25· · · · Q· · Did you find in any of these studies -- what


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 95 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 95
 ·1· ·effects, if any, did you find that tasering someone had
 ·2· ·on cardiac function?
 ·3· · · · A· · Major heart rate go up.· It hurts.
 ·4· · · · Q· · Anything else?
 ·5· · · · A· · It made some enzymes in your blood go up.
 ·6· ·Basically, it caused some changes that were basically
 ·7· ·the same as a little bit of exercise.· Remember,
 ·8· ·exercise causes changes in blood studies, certain blood
 ·9· ·studies.
 10· · · · · · ·Muscle contraction does that, so it should be
 11· ·no surprise that muscle contraction caused by the Taser
 12· ·does the same thing.
 13· · · · Q· · Did you find any effect on EKG or anything
 14· ·like that?
 15· · · · A· · Other than increasing heart rate briefly.
 16· ·Very interesting aspect of one of our studies -- and
 17· ·this was with police trainees.· This was the one where
 18· ·they were going to get tased anyway, okay?· One of the
 19· ·things that we had to do before it, according to Human
 20· ·Use, was to check, you know, was their blood pressure
 21· ·elevated?
 22· · · · · · ·Did they have any -- and we wouldn't use
 23· ·people who had elevated blood pressures.
 24· · · · Q· · Why?
 25· · · · A· · Because that's a risk for sudden death.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 96 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 96
 ·1· · · · Q· · Because of the Taser?
 ·2· · · · A· · No, just because it's a risk of sudden death.
 ·3· ·That's not the point of it.· Let me get to the point of
 ·4· ·it.· We were finding among all these healthy cops,
 ·5· ·one-third to one-half of them had high blood pressure,
 ·6· ·and we didn't understand it.
 ·7· · · · · · ·Even the ones that we used had sort of
 ·8· ·borderline but acceptable high blood pressure.· Then
 ·9· ·after the tasing, all the blood pressure went down and
 10· ·the pulse rates went down, and we didn't understand it.
 11· · · · · · ·We had a long talk with the cops because after
 12· ·the tasing, we did their blood pressure again -- without
 13· ·the study -- the cops who were not in our study who got
 14· ·excluded from our study because of the blood pressure.
 15· · · · Q· · But they're being tased anyway by the police
 16· ·department?
 17· · · · A· · They're tased anyway and their blood pressure
 18· ·went down.· It turns out that they were afraid not of
 19· ·the Taser, but they would lose control of their bladder
 20· ·in front of everybody while they were being tased.· It
 21· ·had become a rumor among the police that when you get
 22· ·tased, you can pee in your pants.
 23· · · · · · ·The thought that these cops were going to pee
 24· ·in their pants in front of all of the other cops made
 25· ·them terrified.· So all of their blood pressure, all of


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 97 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 97
 ·1· ·these abnormalities disappeared after they were tased.
 ·2· · · · · · ·That was one of our big findings.· Blood
 ·3· ·pressure goes down after being tased.· Now, that is --
 ·4· · · · Q· · Do you believe that tasering can cause you to
 ·5· ·lose bladder control?
 ·6· · · · A· · No, it doesn't.· We've tased too many people.
 ·7· ·We've tased hundreds of people.· It doesn't happen, but
 ·8· ·it became a rumor among the police that that happened.
 ·9· ·We never had that problem with any of the other studies
 10· ·with the firemen or the students or whatever it was.                   I
 11· ·don't know who it was where that rumor had not taken
 12· ·place.
 13· · · · · · ·That was only in this one study where this
 14· ·rumor had taken place.· It's kind of funny that there
 15· ·are physiologic effects to everything, which is the
 16· ·point that I'm trying to make.· There are minor
 17· ·physiologic effects of a tasering.· That should come as
 18· ·no surprise.· They're very minor.· They're
 19· ·inconsequential.
 20· · · · Q· · But all of these Taser subjects were healthy
 21· ·individuals?
 22· · · · A· · We don't have to beat that horse to death,
 23· ·okay?
 24· · · · Q· · Let's take a different horse and that is, if
 25· ·someone does have high blood pressure -- you just said


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 98 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 98
 ·1· ·someone with high blood pressure runs a risk anyway of
 ·2· ·sudden death, cardiac death, correct?
 ·3· · · · A· · Agreed.
 ·4· · · · Q· · Would you agree with me that tasering someone,
 ·5· ·because of the shock involved, because of the Taser,
 ·6· ·that someone who already has a higher risk of death,
 ·7· ·this could increase that risk?
 ·8· · · · A· · Compared to what?
 ·9· · · · Q· · Compared to not tasering.
 10· · · · A· · So the struggle continues.· The taser is used
 11· ·to control the struggle.· You have to compare it to
 12· ·something.
 13· · · · Q· · I know what you want to get into, and we're
 14· ·going to get into it when we talk about Kendole Joseph.
 15· ·My question is, if you -- do you believe based on your
 16· ·experience, your training, your education that if you
 17· ·have someone who already has high blood pressure, you
 18· ·already said they run an increase of sudden death?
 19· · · · A· · Yes.
 20· · · · Q· · Do you believe that tasering someone could
 21· ·increase -- forget the struggle because you're assuming
 22· ·that there's a struggle before someone is tasered.· Do
 23· ·you assume that?
 24· · · · A· · Yes.· Because otherwise, they wouldn't get
 25· ·tasered.


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     Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 99 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                      Page 99
 ·1· · · · Q· · Do you believe that police officers ever tased
 ·2· ·someone who was not struggling?
 ·3· · · · A· · Ever?· I'm sure there's police misconduct
 ·4· ·where they tase people who are not struggling.· Well, I
 ·5· ·say I'm sure.· That's hyperbole.· It's probably better
 ·6· ·to say I suspect something like that may have happened
 ·7· ·in the past.
 ·8· · · · Q· · Let's assume -- let's take the struggle out of
 ·9· ·it.· Do you believe based on your experience, education,
 10· ·training and whatever else in your obvious intelligence
 11· ·that if you taser someone who already has high blood
 12· ·pressure, it could increase their risk of death or
 13· ·cardiac arrest?
 14· · · · A· · Given the amount of chemical changes that I
 15· ·see in the blood, probably not.· Is it possible, yes.
 16· · · · Q· · When you say given the amount of chemical
 17· ·changes you see in the blood, what do you mean by that?
 18· · · · A· · I told you, exercise, any degree of exercise
 19· ·to speak of can cause chemical changes in the blood.· If
 20· ·you want the details of those chemical changes, I'll be
 21· ·glad to go into them, but they can cause chemical
 22· ·changes.
 23· · · · · · ·The degree of change that you see from tasers
 24· ·is so minimal that I think the likelihood that it would
 25· ·cause a sudden cardiac death is extraordinarily small.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 100 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 100
 ·1· ·Is it possible, anything is possible.· Likelihood, my
 ·2· ·answer to that question is, no.
 ·3· · · · Q· · Have you ever testified in a Taser lawsuit
 ·4· ·where someone had died?
 ·5· · · · A· · I don't remember -- well, no.· Look, I'm sure
 ·6· ·that's the case, probably.· I suspect that is probably
 ·7· ·to case because the conjunction of a restraint and
 ·8· ·tasers happens frequently.· In cases that I have
 ·9· ·testified about positional asphyxia, there have been
 10· ·people who have been tased as well.· I guess the answer
 11· ·to your question is, yes.
 12· · · · Q· · Do you believe -- do you have an opinion -- is
 13· ·your opinion that if someone has -- strike that.· Is it
 14· ·your opinion that if someone who is tased and has a
 15· ·heart attack or dies --
 16· · · · A· · Wait a minute.· You said the word heart
 17· ·attack.· I'm going to assume you don't mean that.
 18· · · · Q· · Well, let's say this because we've been
 19· ·talking about death.· You can certainly have a -- what
 20· ·do you want to call it, the real equivalent of a heart
 21· ·attack?
 22· · · · A· · Myocardial infarction.
 23· · · · Q· · A myocardia infarction.· Do you believe that
 24· ·the risk of that and/or death from tasering is the same
 25· ·as if someone has that from a little bit of exercise?


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 101 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 101
 ·1· · · · A· · I think the risk of myocardial infarction from
 ·2· ·being tasered is zero.
 ·3· · · · Q· · The risk of death -- the risk of death from
 ·4· ·being tased, would you equate that to the same as adding
 ·5· ·a little bit of exercise to someone who already has
 ·6· ·issues?· Does that make sense?
 ·7· · · · A· · I'm not quite sure what you mean by the risk
 ·8· ·of death.· People have died from being tased because
 ·9· ·they were on the edge of a wall and have lost control,
 10· ·fallen, hit their head and died, okay?· That's a real
 11· ·risk of being tased.
 12· · · · · · ·That's a real risk of death from a Taser.· I'm
 13· ·not sure exactly what you mean by that question.
 14· · · · Q· · I'll try and rephrase my question, and I get
 15· ·what you're saying.· Let's say there's -- it seems to me
 16· ·that you're equating the damage to one's body from a
 17· ·Taser to be the same as increasing one's level of
 18· ·exercise?
 19· · · · A· · I wouldn't say damage because there is no
 20· ·damage.· The damage from a Taser is several small burn
 21· ·marks on the skin.· That's the damage.
 22· · · · Q· · Can a Taser cause any other damage to one's
 23· ·body or --
 24· · · · A· · In what way?
 25· · · · Q· · In any way in terms of --


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 102 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 102
 ·1· · · · A· · What do you mean?
 ·2· · · · Q· · You've been talking about enzymes, blood,
 ·3· ·ventilation, heart damage.· Can aside from a couple of
 ·4· ·burn marks in your skin --
 ·5· · · · A· · Excuse me.· I never said heart damage.
 ·6· · · · Q· · Well, I'm asking you, do you believe that a
 ·7· ·Taser can cause damage to one's heart?
 ·8· · · · A· · Not in the way that it is used in human
 ·9· ·beings.
 10· · · · Q· · What does that mean?
 11· · · · A· · Well, there's a experimental model where
 12· ·Tasers were applied to the pig heart by going through
 13· ·the intercostal space on the longitude and axis of the
 14· ·heart.· They were able with the Taser to induce
 15· ·ventricular fibrillation in pigs under that
 16· ·circumstance.
 17· · · · · · ·Now we come to methodology once again.· That's
 18· ·not a human being, number one.· That's not the thickness
 19· ·of the human being's chest, but the most important part
 20· ·of it is the pig conduction system of the heart is
 21· ·entirely different than the conduction system of a human
 22· ·being.
 23· · · · · · ·The conduction system, the electrical
 24· ·conduction system, the wiring of the heart in a human
 25· ·being is buried in the heart.· The wiring to a pig


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 103 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 103
 ·1· ·reaches the surface of the heart.· If you put those
 ·2· ·electrical contacts over a pig heart, you can, in
 ·3· ·essence, gain access to the wiring.
 ·4· · · · · · ·That doesn't happen in human beings.· That's
 ·5· ·why I phrased it not in human beings.
 ·6· · · · Q· · Fair enough, not in human beings.
 ·7· · · · A· · Correct.
 ·8· · · · Q· · So you believe that tasering someone does not
 ·9· ·cause damage to a human being's heart?
 10· · · · A· · Correct.
 11· · · · Q· · In any circumstance?
 12· · · · A· · You know, give me --
 13· · · · Q· · Let me ask you this, if someone has -- if
 14· ·someone is under the influence of drugs, someone who had
 15· ·just exercised, someone who may have a mental health
 16· ·disorder --
 17· · · · A· · Mental health disorder, let's get this out of
 18· ·there because that doesn't affect -- you know, other
 19· ·than making your heart beat maybe a little faster --
 20· · · · Q· · Fair enough.· Let's take that out.
 21· · · · A· · Okay.
 22· · · · Q· · The other things that I said, do you believe
 23· ·that in someone who is under the influence of some sort
 24· ·of drug, someone who had just exercised, someone who has
 25· ·higher blood pressure, would tasering them -- could


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 104 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 104
 ·1· ·tasering affect their heart?
 ·2· · · · A· · Anything is possible.· Is it likely, no.
 ·3· ·There have been -- there's at least one case where
 ·4· ·somebody who had a pacemaker was tased, no problem.
 ·5· ·Now, that's a bad heart.· You don't have a pacemaker
 ·6· ·without a bad heart.
 ·7· · · · Q· · I know Kendole Joseph, there's no evidence
 ·8· ·that he had a bad heart.
 ·9· · · · A· · I'm sorry?
 10· · · · Q· · There's no evidence that Kendole Joseph had a
 11· ·bad heart.
 12· · · · A· · Oh, that's wrong.· That's wrong.· We'll get to
 13· ·that.
 14· · · · Q· · We'll get to that.· I'm happy to get to that.
 15· ·We're getting there slowly, but we're getting there.
 16· · · · A· · That's one hundred percent wrong.
 17· · · · Q· · We're getting there.· Do you believe then --
 18· ·you know, obviously, there's lawsuits accusing Taser of
 19· ·causing someone's death.· They're a bunch of bunk.
 20· · · · A· · They're a bunch of what?
 21· · · · Q· · BS.
 22· · · · A· · I don't use that phraseology ever, certainly
 23· ·not in a situation like this.· Every case has to be
 24· ·evaluated on its individual merits.· However, in broad
 25· ·swaths from a demographic point of view and given the


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 105 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 105
 ·1· ·number of people who have been tased across the United
 ·2· ·States, I think it's extraordinarily unlikely that there
 ·3· ·is a causal link of any numerical importance between
 ·4· ·Tasers and sudden death.
 ·5· · · · Q· · Fair enough.
 ·6· · · · A· · Do you want to get to Mr. Kendole's heart --
 ·7· ·Mr. Joseph's heart?
 ·8· · · · Q· · We're getting there.· We're almost there.                I
 ·9· ·know you're anxious to get there.
 10· · · · A· · I'm chomping at the bit for that one.
 11· · · · Q· · We're getting there very soon.· In your
 12· ·career, as you're not a pathologist, how many times --
 13· ·or have you ever been asked to opine as to the cause of
 14· ·death of someone?
 15· · · · A· · I frequently opine to the clinical cause of
 16· ·death.
 17· · · · Q· · Explain that.
 18· · · · A· · Well, there's the pathologist who does an
 19· ·autopsy and makes a forensic or a pathologic cause of
 20· ·death.· Then, I work in a hospital.· I see what happens.
 21· ·I investigate diving accidents.· Based upon the clinical
 22· ·circumstances and my knowledge of clinical medicine, I
 23· ·make a clinical diagnosis as to the cause of death.                I
 24· ·do that frequently.
 25· · · · Q· · Were most of your diagnoses clinical causes of


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 106 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 106
 ·1· ·death based on diving accidents or something related to
 ·2· ·that?
 ·3· · · · A· · And also these.
 ·4· · · · Q· · These meaning?
 ·5· · · · A· · Restraint and asphyxia kind of things.
 ·6· · · · Q· · When you say a pathologist makes their cause
 ·7· ·of death, they do homicide and manner of homicide cause.
 ·8· ·Have you ever --
 ·9· · · · A· · That's not a cause of death.· That's a manner
 10· ·of death.
 11· · · · Q· · I understand.· Have you ever been called upon
 12· ·to give manner of death or anything else?
 13· · · · A· · No.· Well, I've given advice on manner of
 14· ·death.· Ultimately, remember, it's the county medical
 15· ·examiner who signs the death certificate.
 16· · · · Q· · Understood.
 17· · · · A· · We have given him advice many times in the
 18· ·diving accident committee as to what the manner of death
 19· ·should be in various and sundry different circumstances.
 20· · · · Q· · Have you ever been barred or not allowed to
 21· ·testify as an expert in any case?
 22· · · · A· · Not to the best of my knowledge.
 23· · · · Q· · I think we're about ready to get to
 24· ·Mr. Joseph.
 25· · · · A· · Heart first?


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 107 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 107
 ·1· · · · Q· · You are excited about that, right?
 ·2· · · · A· · I am very excited about it because it deals so
 ·3· ·much with the diving accidents as well.
 ·4· · · · Q· · Okay, I'll bite.· Let's talk about
 ·5· ·Mr. Joseph's heart.
 ·6· · · · A· · Mr. Joseph's heart was sent to a cardiac
 ·7· ·pathologist.
 ·8· · · · Q· · Correct.
 ·9· · · · A· · I have not pathology, statistics, methodology,
 10· ·okay?· I'm not going to argue with a pathologist about
 11· ·what he sees on a slide, okay?· Remember, I told you how
 12· ·difficult it is to define what normal pulmonary function
 13· ·tests are?
 14· · · · Q· · Yes.
 15· · · · A· · You've got a pathologist here -- and I've got
 16· ·that piece of paper somewhere, and I want to find it.
 17· · · · MR. OPPENHEIMER:· Let's take two minutes.
 18· · · · · · · · · · ·(Recess was taken.)
 19· · · · MR. OPPENHEIMER:· On the record.
 20· ·BY MR. OPPENHEIMER:
 21· · · · Q· · You were looking for a document, and you found
 22· ·it.· What did you find?
 23· · · · A· · I found the cardiac pathology consultation on
 24· ·Mr. Joseph's heart performed at the Jesse Edwards
 25· ·Registry of Cardiovascular Disease.· I understand why


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 108 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 108
 ·1· ·Dr. Eserman sent the heart for evaluation.· Because the
 ·2· ·clinical diagnosis in this case is clearly of a sudden
 ·3· ·cardiac dysrhythmia, and we'll get to that later.
 ·4· · · · · · ·She was looking for some sort of a disturbance
 ·5· ·in the electrical conducting system of the heart to
 ·6· ·account for that, which was not noted.· What is wrong is
 ·7· ·the statement that there's nothing structurally abnormal
 ·8· ·about the heart.
 ·9· · · · · · ·If you read on page two, the gross description
 10· ·of Mr. Joseph's heart is an undissected formalin fixed
 11· ·heart weighing 455 grams.· Now, that weight is different
 12· ·than the weight of the heart that Dr. Eserman weighed,
 13· ·and I'm going to ascribe that for the formalin fixation.
 14· · · · · · ·I'm not a hundred percent sure of it, but I'm
 15· ·going to give everybody the benefit of the doubt that
 16· ·nobody mis-weighed anything, okay?· It says, the normal
 17· ·heart weight reference range for a body of 212 pounds is
 18· ·290 to 506 grams.
 19· · · · · · ·For a body height of 72 inches is 241 to 481
 20· ·grams.· Therefore, the heart is of normal size.· So now,
 21· ·we have to ask ourself the question, where does that
 22· ·reference range come from?· Now, I have some experience
 23· ·with the normal weight of hearts having lectured on the
 24· ·importance of that several times in part of my lectures
 25· ·on death and divers and death in restraint, asphyxia.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 109 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 109
 ·1· · · · · · ·I'm fairly familiar with the literature on
 ·2· ·normal hearts.· Those numbers rang a bell to me.
 ·3· ·Because there's almost no paper in the literature that
 ·4· ·says a normal heart can weigh as much as 506 grams,
 ·5· ·except one.
 ·6· · · · · · ·That paper was published by an individual by
 ·7· ·the name of Kitzman.· I pulled out Kitzman's paper, and
 ·8· ·that is referenced in my report, and looked to see in
 ·9· ·her tables -- I think it's a her.· The first name is
 10· ·Dalane, so I'm not sure if it's a he or a she.
 11· · · · · · ·I pulled out the reports and low and behold,
 12· ·the numbers for that reference range are to the gram,
 13· ·exactly the same as the reference ranges that are in
 14· ·this report.· I concluded that that is where this
 15· ·reference range came from.
 16· · · · · · ·I mean, they are to the gram for the weight
 17· ·and for the height.· I concluded that's where it came
 18· ·from.· Now, methodology, how did Dr. Kitzman get the
 19· ·normal hearts, which is what that paper was about, to
 20· ·give what normal heart weights were?
 21· · · · · · ·If you look in the methods section, you'll
 22· ·find that he or she says hearts were obtained as
 23· ·previously described, and there are two references.· You
 24· ·go to one of those -- the more recent to those
 25· ·references, and that one says hearts were obtained as


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 110 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 110
 ·1· ·previously described.
 ·2· · · · · · ·Now you go to the original reference, which
 ·3· ·was not a reference of trying to get -- particularly
 ·4· ·trying to get normal hearts.· It was a paper that was
 ·5· ·looking at the incidents of a congenital -- not a
 ·6· ·congenital malformation.
 ·7· · · · · · ·It's probably better called a variation in the
 ·8· ·way hearts are formed.· They were looking for something
 ·9· ·called a patent foramen ovale.· Are you familiar with
 10· ·what that is?
 11· · · · Q· · I've heard of it, but you can explain.
 12· · · · A· · We really don't need to explain it.· It's the
 13· ·way the interatrial septum closes and whether it fully
 14· ·closes or doesn't close, and there's a little flap that
 15· ·exists so that blood can shunt from the left side to the
 16· ·right side in very small amounts.· That's a patent
 17· ·foramen ovale.
 18· · · · · · ·It's present in about 30 percent of the
 19· ·people, and that's what that paper was about.· They said
 20· ·in that paper they excluded hearts, because they wanted
 21· ·normal hearts, that they got these whatever number it
 22· ·was, 500 hearts in people who had died in the Mayo
 23· ·Clinic over the past, I forgot how many years, and they
 24· ·excluded people who had critical valvular disease.
 25· · · · · · ·Good decision because that could change the


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 111 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 111
 ·1· ·dynamics of blood flowing in the heart and change the
 ·2· ·incidents of patent foramen ovale, critical or severe
 ·3· ·coronary artery disease, good idea.· That can also
 ·4· ·change the dynamics within the heart, and hypertension,
 ·5· ·and other hearts were deemed normal.
 ·6· · · · · · ·That's not normal.· That's not -- what she
 ·7· ·took was a -- or he.· I'm sorry.· I still don't know
 ·8· ·what Dalane is.· What he or she took was basically
 ·9· ·hearts of people who died in the Mayo Clinic, and they
 10· ·excluded a very small number or a small part of cardiac
 11· ·pathology.
 12· · · · · · ·They didn't exclude people with renal disease.
 13· ·They didn't exclude people with hepatic disease.· They
 14· ·didn't exclude people with subaortic stenosis, and you
 15· ·can keep going on and on and on.· The question then
 16· ·becomes what is truly a normal heart weight because this
 17· ·paper does not define what a normal heart weight is.
 18· · · · · · ·Now, there are actually real problems, not
 19· ·pathology, methodology of obtaining normal hearts.
 20· · · · Q· · What is a normal heart weight, in your
 21· ·opinion?
 22· · · · A· · It's not my opinion.· It's what's published,
 23· ·okay?· There are two different ways to look at it.· You
 24· ·can look at autopsy studies.· Autopsy studies all have
 25· ·the same basic flaw, and that is, A, you're dealing with


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 112 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 112
 ·1· ·dead people.
 ·2· · · · · · ·More importantly, you don't know their medical
 ·3· ·history.· People with hypertension have bigger hearts,
 ·4· ·which is pathologic, and a good percentage of the
 ·5· ·population of the United States has hypertension and
 ·6· ·doesn't know about it.
 ·7· · · · · · ·There's no way of excluding them from autopsy
 ·8· ·studies.· You can only exclude the people who you know
 ·9· ·have disease.· Now, Molina and DiMayo tried to do that
 10· ·several years ago, and their range for normal hearts
 11· ·is -- I think the average is around 350 grams.
 12· · · · · · ·I forgot what their range was.· It may go up
 13· ·to 375 or so, but that weight is also flawed
 14· ·methodologically on the basis of having hypertensives
 15· ·who didn't know they were hypertensive who had no record
 16· ·of being hypertensive.
 17· · · · · · ·Because what Molina and DiMayo tried to do in
 18· ·that study, which was an autopsy study of traumatic
 19· ·deaths -- in other words, people who died in car
 20· ·accidents, getting shot, things like that.· They tried
 21· ·to exclude anybody who had any known disease.
 22· · · · · · ·They went back to their medical records and
 23· ·excluded all of those people.· Like I say, that's what
 24· ·their heart weights were.· However, that too is flawed
 25· ·on the basis of hypertensives not knowing they were


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 113 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 113
 ·1· ·hypertensive, not being treated for hypertensive, the
 ·2· ·doctrine of not knowing.
 ·3· · · · · · ·Now, we have to go to the live literature, and
 ·4· ·that basically all comes from the longitudinal health
 ·5· ·studies in Framingham where a methodology was designed
 ·6· ·to, in essence, weigh hearts in living people.· We can
 ·7· ·talk about that methodology if you want, but that
 ·8· ·methodology was validated for reliability and validity.
 ·9· · · · · · ·Then, they interviewed and took people and
 10· ·really only took normal people.· They in turn discovered
 11· ·that normal heart weights were considerably less than
 12· ·that.· Equally importantly coming out of Framingham was
 13· ·the observation -- and this is very important for the
 14· ·live literature -- that increases in the heart weight of
 15· ·as little as 50 grams per meter incurred a risk of
 16· ·sudden cardiac death.
 17· · · · · · ·That's 150 percent above normal, and that's
 18· ·for 50 grams per meter of excess heart weight.· So what
 19· ·you're looking at is, in fact, an abnormal heart, a
 20· ·heart that's enlarged, and someone who clinically had a
 21· ·sudden cardiac dysrhythmia which caused his death.
 22· · · · · · ·Now, the etiology of that sudden cardiac
 23· ·dysrhythmia is his schizophrenia, his behavior, his
 24· ·struggle, his heart, his hyperkalemia, his renal
 25· ·failure.· All of those things, each and every one of


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 114 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 114
 ·1· ·them, is sufficient cause of dysrhythmia, a lethal
 ·2· ·dysrhythmia.· His heart is not normal.
 ·3· · · · · · ·Not that it's critical as a point of opinion,
 ·4· ·but it's not normal.· It's not normal enough that it
 ·5· ·incurs a markedly increased risk of sudden death.· You
 ·6· ·can argue about the exact numbers.· In DiMayo's paper --
 ·7· ·who has published one of the better well-known textbooks
 ·8· ·on pathology.· In his paper, he says a heart over 500
 ·9· ·grams is never normal.
 10· · · · · · ·The shortcomings of Kitzman's papers are
 11· ·known, and it surprises me tremendously that a cardiac
 12· ·pathologist could still be using -- this was printed,
 13· ·you know, 30 years ago or 25 years ago -- that he could
 14· ·still be using -- or she could still be using that as a
 15· ·reference range instead of the much more recent papers
 16· ·that look at this.
 17· · · · · · ·But once again, it's -- aside from something
 18· ·that sort of interests me and kind of rubs me the wrong
 19· ·way that a cardiac pathologist is using these as a
 20· ·reference range, it doesn't make much of a difference.
 21· ·He still had the same dysrhythmia, and he still died of
 22· ·that dysrhythmia.
 23· · · · Q· · So you certainly believe that Kendole Joseph
 24· ·had an enlarged heart?
 25· · · · A· · He had a heart that weighed more than it


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 115 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 115
 ·1· ·should, yes.
 ·2· · · · Q· · That was, in your opinion, a contributory
 ·3· ·factor in his death?
 ·4· · · · A· · Could have been a contributory factor.
 ·5· · · · Q· · Okay, could have been?
 ·6· · · · A· · So many things that could have contributed to
 ·7· ·his death.
 ·8· · · · Q· · Except positional asphyxia?
 ·9· · · · A· · That did not.· The Taser did not, no.
 10· · · · Q· · We'll get to that in a second.· When you look
 11· ·at -- anything else that the cardiologist you disagree
 12· ·with in his report?
 13· · · · A· · That's the thing the stuck out.· There's so
 14· ·many things in here that I can't comment on because
 15· ·those are pathology things that I don't know about.· You
 16· ·know, he talks about the valves.· He talks about the
 17· ·left ventricular outflow tract being mildly
 18· ·hypertrophic.
 19· · · · · · ·That's also something that you always have to
 20· ·be concerned about, hypertrophic cardiomyopathy.· But,
 21· ·you know, I can't talk about his microscopic dissection,
 22· ·the conduction system, all of these things.· I only talk
 23· ·about methodology.
 24· · · · Q· · I want to go over your report now, if you want
 25· ·to grab that.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 116 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 116
 ·1· · · · A· · Fine.
 ·2· · · · Q· · You give a list of things that you find to be
 ·3· ·important in your analysis of the case, correct, in your
 ·4· ·opinion?
 ·5· · · · A· · Yes.
 ·6· · · · Q· · I want to go through each one.
 ·7· · · · A· · Okay.
 ·8· · · · Q· · First one, following a period of agitated and
 ·9· ·potentially delirious behavior --
 10· · · · A· · Where are we?
 11· · · · Q· · I'm sorry, page three.· Number one, following
 12· ·a period of agitated and potentially delirious behavior,
 13· ·Mr. Joseph became involved in an altercation with police
 14· ·officers.· Number two, Mr. Joseph had a history of
 15· ·schizophrenia and was apparently not taking his
 16· ·medication.
 17· · · · · · ·I don't think we need to discuss that right
 18· ·now.· Number three, during this altercation, Mr. Joseph
 19· ·was struck, and he received two discharges from a CEW,
 20· ·from the Taser, correct?
 21· · · · A· · Correct.
 22· · · · Q· · Incidentally, you reviewed -- I believe you
 23· ·said you reviewed the tape from inside the store?
 24· · · · A· · Yes.
 25· · · · Q· · Number four, after he was subdued, handcuffed


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 117 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 117
 ·1· ·with his hands behind his back and shackled, he was
 ·2· ·placed in the back seat of a police vehicle.· His
 ·3· ·position in the vehicle was described as sitting upright
 ·4· ·and/or lying facedown across the back seat with his
 ·5· ·knees flexed.
 ·6· · · · · · ·We've been talking a lot this morning about
 ·7· ·hog-tying, and I don't think -- there are no allegations
 ·8· ·that his ankles were ever connected by way of a tie or a
 ·9· ·device.· I think one of the officers said they were
 10· ·going to get a hobble.· They didn't do it.· So we're not
 11· ·really dealing with the exact hog-tying anyway.
 12· · · · A· · But his knees were flexed.
 13· · · · Q· · But his knees were flexed, the same position
 14· ·of a hog-tie; would you agree?
 15· · · · A· · It's the same position as a hobble, as if they
 16· ·had hobbled him.
 17· · · · Q· · Fair enough.
 18· · · · A· · The knee is at a kind of 90-degree angle is
 19· ·how I interpreted that.· However, it makes no difference
 20· ·to me whether he was actually hog-tied or just with his
 21· ·knees upright, since we've shown there's no difference
 22· ·in ventilatory function comparing those two positions.
 23· · · · Q· · Before we get to the rest of them -- I
 24· ·apologize.· I skip around sometimes.· You read
 25· ·Dr. Eserman's report?


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 118 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 118
 ·1· · · · A· · Yes, I did.· A report or you mean the autopsy
 ·2· ·or the deposition?
 ·3· · · · Q· · No, the autopsy report.
 ·4· · · · A· · Yes, I did.
 ·5· · · · Q· · Did you read the deposition also?
 ·6· · · · A· · Yes, I did.
 ·7· · · · Q· · Dr. Eserman says, I know, in her deposition
 ·8· ·that she believes that Kendole Joseph would have died
 ·9· ·anyway if he had had no interaction with the police, no
 10· ·tasering, no placing in the back seat, nothing else.· He
 11· ·would have died anyway.
 12· · · · A· · Yes.
 13· · · · Q· · Do you agree with that?
 14· · · · A· · In general, yes.
 15· · · · Q· · Why do you agree with that?
 16· · · · A· · Because he already had renal failure,
 17· ·hyperkalemia, temperature of 101, bad heart.· These are
 18· ·all things in and of themselves that are potentially
 19· ·highly lethal.
 20· · · · Q· · Let's go back to your report.· Number six,
 21· ·while in the backseat of the car, he continued to
 22· ·struggle, yell, and kick.· You got that information from
 23· ·the police officers, right?
 24· · · · A· · Correct.
 25· · · · Q· · And any other witnesses, I don't mean to


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 119 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 119
 ·1· ·exclude them?
 ·2· · · · A· · I don't think there are other witnesses while
 ·3· ·he was in the car.
 ·4· · · · Q· · That's correct.
 ·5· · · · A· · Although, maybe somebody said, yes, I heard
 ·6· ·him yelling in the car, but I'm not one hundred percent
 ·7· ·sure.
 ·8· · · · Q· · I think you're right in that -- maybe Levenson
 ·9· ·can correct me.· I don't think there were any other
 10· ·witnesses as far as his behavior inside of the car.· So
 11· ·you got that information from the testimony of the
 12· ·police officers, correct?
 13· · · · A· · Yeah, if nobody else reported it.· I believe
 14· ·they said he was kicking -- trying to kick the window.
 15· ·That's why they bent the -- yeah.
 16· · · · Q· · Number seven, after what it described as a few
 17· ·minutes, he was discovered to be unresponsive by the
 18· ·police.· Paramedics who were present found him to be
 19· ·pulseless and apneic.· What is apneic?
 20· · · · A· · Not breathing.
 21· · · · Q· · Number nine, treatment resulted in a return of
 22· ·spontaneous circulation, and EtCO2 was determined twice.
 23· ·It was noted to be 43 millimeters Hg at the time of --
 24· ·it says what it says.· Where did you get that
 25· ·information from?


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 120 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 120
 ·1· · · · A· · From the paramedic run sheet.
 ·2· · · · Q· · That run sheet, do you have a copy of that
 ·3· ·with you?· I think I have an extra copy.· It might take
 ·4· ·a minute to find it.
 ·5· · · · A· · It is on the first page under medications,
 ·6· ·allergies history.· There are some times.· At 14:02, it
 ·7· ·says, blood pressure 108 over 72, pulse 102, 12 breaths
 ·8· ·per minute, 94 percent oxygen saturation, and an
 ·9· ·end-tidal CO2 of 43.· Underneath that, there's an
 10· ·end-tidal CO2 of 38, 30 minutes later.
 11· · · · Q· · Page one, correct?
 12· · · · A· · The first page, page 1 of 10.
 13· · · · Q· · The things that you describe in number nine,
 14· ·you get that from that graph or chart on page one,
 15· ·correct?
 16· · · · A· · Well, it's a paramedic run sheet.· It's not a
 17· ·graph.
 18· · · · Q· · There is also -- actually, I'll refer you to
 19· ·page 11.
 20· · · · A· · Actually, this thing supposedly only has 10
 21· ·pages.
 22· · · · Q· · Do you have this?
 23· · · · A· · This says 10 of 10.· I don't have that as 11.
 24· · · · Q· · Do you have this?
 25· · · · A· · Yes.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 121 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 121
 ·1· · · · Q· · Because mine says page 11 of 11 at the bottom.
 ·2· ·I don't know.
 ·3· · · · A· · Mine says page 10 of 10 on the bottom.
 ·4· · · · Q· · I just want to make sure it's the same.· Oh,
 ·5· ·you're right.· It does.· That's interesting.· It looks
 ·6· ·like everything else is the same, right?· It looks like
 ·7· ·it's the same graph.
 ·8· · · · A· · I don't have yours.· I can't compare it to
 ·9· ·yours.
 10· · · · Q· · I'm going to ask you to compare it to mine,
 11· ·just so we're not making any mistakes.· It looks to me
 12· ·to be the same.
 13· · · · A· · Let me have both of them.
 14· · · · Q· · This is mine and this is yours.
 15· · · · A· · Yeah.· Mine has my notes on it.· Okay, the top
 16· ·is the EKG.
 17· · · · Q· · Do they look to you to be the same page,
 18· ·except one says 10 of 10 and one says 11 of 11?
 19· · · · A· · Yeah.
 20· · · · Q· · You do not detect any difference when you're
 21· ·looking at it?
 22· · · · A· · Yeah.
 23· · · · Q· · I'll take that back.· You keep yours.
 24· · · · A· · I don't see any difference.
 25· · · · Q· · What information is contained on your page 10


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 122 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 122
 ·1· ·of 10 and my page 11 of 11?
 ·2· · · · A· · Well, the graph is of his EKG.· He's got some
 ·3· ·spikes.· I can't tell from this what kind of rhythm it
 ·4· ·is.· It looks like there's a P-wave in front of every
 ·5· ·QRS complex.· It looks like there are inverted T-waves.
 ·6· · · · Q· · What does that mean?
 ·7· · · · A· · Well, that's what I'm looking at at the top
 ·8· ·over here.· It doesn't say he's getting CPR at the time.
 ·9· ·The bigger spikes look to be almost as if there's some
 10· ·sort of a premature contraction.· Because you can see
 11· ·over here, these things I'm sort of interpreting as
 12· ·P-waves, and then the QRS complex and an inverted
 13· ·T-wave.
 14· · · · · · ·You can see the P-wave over here, but the QRS
 15· ·complex comes soon.· This is some sort of premature,
 16· ·maybe a ventricular premature, but these are wide
 17· ·complex.· These are ventricular.· I'm not sure what this
 18· ·rhythm is.
 19· · · · Q· · Did you use any of the data on the page we're
 20· ·referring in your analysis?
 21· · · · A· · No.
 22· · · · Q· · Not at all?
 23· · · · A· · No.
 24· · · · Q· · All right.
 25· · · · A· · You can see his end-tidal CO2 here goes --


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 123 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 123
 ·1· ·this is a typical wave form for end-tidal CO2.· I assume
 ·2· ·that's on the bottom.· It says CO2.
 ·3· · · · Q· · Where it says CO2, does that mean anything to
 ·4· ·you in terms of --
 ·5· · · · A· · Yeah, that's carbon dioxide.· I conclude that
 ·6· ·to mean that's the end-tidal CO2 because that's the only
 ·7· ·way they can measure it.· They can't measure it in the
 ·8· ·blood or any other way.
 ·9· · · · Q· · Because the arterial catheters that we talked
 10· ·about in your first study --
 11· · · · A· · They've got a different device.· They've got a
 12· ·device that fits on the end of an endotracheal tube or
 13· ·on the ambu bag that measures the carbon dioxide at the
 14· ·end of somebody's breath.· You see it goes down to zero
 15· ·over here at the bottom?
 16· · · · · · ·That's when the air is going into him, because
 17· ·there's essentially zero carbon dioxide in the air we're
 18· ·breathing.· It's .04 percent.· It's zero, okay?
 19· · · · Q· · Okay.
 20· · · · A· · But on expiration, you see it come up to about
 21· ·40, 45, something like that.· Here is 50.
 22· · · · Q· · What does that mean in terms of normality?
 23· · · · A· · That's normal.
 24· · · · Q· · Would you agree with me -- well, if they are
 25· ·doing CPR and they're also giving him oxygen, how would


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 124 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 124
 ·1· ·that affect his CO2?
 ·2· · · · A· · They're not doing -- that was the point that I
 ·3· ·made.· This is after the return of spontaneous
 ·4· ·circulation.· This is when his heart is beating on its
 ·5· ·own.· You are right.· While you are doing CPR, you're
 ·6· ·not getting as good circulation through lungs, so you
 ·7· ·don't get accurate end-tidal CO2 readings.
 ·8· · · · · · ·However, this is at a time when he has got a
 ·9· ·return of spontaneous circulation.· Blood is going
 10· ·through his lungs in a more or less normal fashion, and
 11· ·you are seeing a more or less normal end-tidal CO2
 12· ·monitoring going on over here.· On the first page, more
 13· ·or less normal end-tidal CO2 readings that they record.
 14· · · · Q· · Because they've been working on him, for want
 15· ·of a better phrase?
 16· · · · A· · He's got -- well, yeah, they got a return of
 17· ·spontaneous circulation.
 18· · · · Q· · This is not -- what we've just talked about is
 19· ·not recording how he was as he went unconscious in the
 20· ·back of that car, most likely?
 21· · · · A· · I guess I don't understand.· That's recording
 22· ·how he is now -- at the time that that's being done.
 23· · · · Q· · Going back to number nine, because you found
 24· ·it to be an important fact, obviously.
 25· · · · A· · It's a fact.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 125 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 125
 ·1· · · · Q· · You called it important, but it's a fact?
 ·2· · · · A· · Yeah.
 ·3· · · · Q· · When it says treatment resulted in a return of
 ·4· ·spontaneous circulation, what does that really mean?
 ·5· · · · A· · The CPR, the epinephrin -- what did they do?
 ·6· ·I have to read exactly what they did.· It's standard
 ·7· ·advanced cardiac life support.· Bag valve mask, normal
 ·8· ·saline, epinephrin, epinephrin, more epinephrin,
 ·9· ·ventilation, and then he got a return of spontaneous
 10· ·circulation.
 11· · · · · · ·He lost his spontaneous circulation at about
 12· ·14:05 because there's no -- CPR is discontinued at 14:02
 13· ·and resumed at 14:05.
 14· · · · Q· · Number 10, he was transferred to the Oschner
 15· ·West Hospital where an initial temperature of 101 was
 16· ·noted with a lot of abnormalities.· A potassium of 8.1,
 17· ·what does that mean?
 18· · · · A· · It's very high.
 19· · · · Q· · Lethal?
 20· · · · A· · Yeah, potentially lethal.
 21· · · · Q· · Creatinine of 2.4, what does that mean?
 22· · · · A· · That's evidence of a chemical in blood call
 23· ·creatinine that comes from protein metabolism.· That
 24· ·creatinine at 2.4 took at least 12 to 24 hours to
 25· ·develop if he was at baseline when things started.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 126 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 126
 ·1· · · · Q· · How does that develop potentially?
 ·2· · · · A· · It's through the metabolism of proteins.
 ·3· · · · Q· · What would cause that to be that high?
 ·4· · · · A· · Renal failure.
 ·5· · · · Q· · Are you able to determine when his renal
 ·6· ·failure started?
 ·7· · · · A· · At least 24 hours -- 12 to 24 hours before
 ·8· ·that.
 ·9· · · · Q· · Possibly more but probably not less?
 10· · · · A· · Unlikely more.· Unlikely more, unlikely less.
 11· · · · Q· · Do you know in this case what could have
 12· ·caused the renal failure?
 13· · · · A· · Yeah.· His psychosis, agitation, whatever he
 14· ·was doing.· I noticed in Dr. Baden's report, there was
 15· ·no evidence that he actually had been agitated for more
 16· ·than three hours or anything like that.· I forgot his
 17· ·exact words.· I can go look for them if you want them.
 18· · · · · · ·This creatinine is clear evidence that that's
 19· ·incorrect.· This cannot happen in a short period of
 20· ·time.· That's also, by the way, consistent with what I
 21· ·interpret his mother's behavior to reinforce.· I mean,
 22· ·who takes a son to work with them at three o'clock in
 23· ·the morning?· He's behaving very bizarrely.
 24· · · · · · ·He hasn't been taking his medications.· So
 25· ·mom, for good reasons, takes him with her.· I would say


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 127 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 127
 ·1· ·that's the earliest that this could have started but
 ·2· ·probably even before that.· That was about 10 hours
 ·3· ·before this whole event.· I put 12 hours as a minimum
 ·4· ·but maybe.· I'm willing to buy off on 10 hours.
 ·5· · · · Q· · Number 11, Mr. Joseph never regained
 ·6· ·consciousness and died two days later with acute renal
 ·7· ·failure and a diagnosis of rhabdomyolysis.· What is
 ·8· ·rhabdomyolysis?
 ·9· · · · A· · A breakdown of muscle.
 10· · · · Q· · Would you agree with a diagnosis of
 11· ·rhabdomyolysis?
 12· · · · A· · That's the easiest thing to ascribe the
 13· ·elevated CK to.· His CK isn't all that high.
 14· · · · Q· · CK is what?
 15· · · · A· · That's the CPK of 2000 whatever it was.
 16· · · · Q· · I forgot to talk about that.· CPK of 2624,
 17· ·what does that mean?
 18· · · · A· · That's creatinine phosphokinase.· It's an
 19· ·enzyme that comes out of muscles.
 20· · · · Q· · Can you explain that to me in terms of what is
 21· ·an average normal person's CPK?
 22· · · · A· · It depends on the laboratory and the reference
 23· ·range in the laboratory, but let's just say around 100,
 24· ·150, what have you.
 25· · · · Q· · So your average person, it's around 100?


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 128 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 128
 ·1· · · · A· · Normal.· Not average, normal.· There's a
 ·2· ·difference.
 ·3· · · · Q· · Rhabdomyolysis, the breakdown of muscles --
 ·4· · · · A· · Well, yeah, the breakdown of muscle --
 ·5· · · · Q· · I don't want to misspeak.
 ·6· · · · A· · The breakdown of muscle will release CK into
 ·7· ·the blood.
 ·8· · · · Q· · So the higher CK, the higher -- the more
 ·9· ·intense breakdown of muscles, the greater the breakdown
 10· ·of the muscles?
 11· · · · A· · Under some circumstances.· Muscles can also
 12· ·leak CK without being damaged, but the vasculature just
 13· ·leaks it.· Because remember, there's a barrier between
 14· ·the muscles and the blood system.· There's a membrane
 15· ·between the muscles and the blood vessels.
 16· · · · · · ·Those membranes keep the stuff that's inside
 17· ·supposed to be inside.· Now, you can tear that apart,
 18· ·and everything is going to leak out, okay?· But there
 19· ·are circumstances under which that stuff will leak out
 20· ·without tearing apart the muscles.
 21· · · · · · ·Admittedly, they're unusual.· I'm not sure
 22· ·they're germane in this particular case, but it
 23· ·certainly can happen.· This CK, although high -- I mean,
 24· ·there's no question about it -- is, for example, nowhere
 25· ·near as high as the CK was in 2016.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 129 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 129
 ·1· · · · Q· · He recovered from that?
 ·2· · · · A· · Well, he had severe renal failure.· He was on
 ·3· ·dialysis and what have you.
 ·4· · · · Q· · Correct.· You agreed with a diagnosis of
 ·5· ·rhabdomyolysis?
 ·6· · · · A· · Probably, probably to a small degree.
 ·7· · · · Q· · Is that diagnosis, although to a small degree,
 ·8· ·based on the CK number?
 ·9· · · · A· · Just the CK.
 10· · · · Q· · So that number tells you there's probably
 11· ·rhabdomyolysis?
 12· · · · A· · Yeah, just the CK.
 13· · · · Q· · Do you think that was a factor in his death at
 14· ·all?
 15· · · · A· · Hard to say.· You know, could he have had --
 16· ·we have to ask the question what's his renal failure due
 17· ·to that's been going on for 12 hours?· Is it possible
 18· ·that his rhabdo was even worse before, you know, with
 19· ·his agitation and whatever was going on that demanded
 20· ·his mother bring him to Walmart?
 21· · · · · · ·Is this all sort of related to his
 22· ·schizophrenia?· Is it potentially related to his
 23· ·Benadryl toxicity?· Is it potentially related to excited
 24· ·delirium in which you see these kinds of CK
 25· ·abnormalities in renal failure?


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 130 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 130
 ·1· · · · · · ·I don't have an immediate answer to what
 ·2· ·caused it.· What I can tell you is that his renal
 ·3· ·failure has been going on for 12 to 24 hours.· That
 ·4· ·elevation of CK is just not all that high.· I mean, it's
 ·5· ·high.
 ·6· · · · · · ·Please, don't misunderstand me and if I saw
 ·7· ·that in a patient, I would be concerned about it.                I
 ·8· ·would want to hydrate them to make sure that they didn't
 ·9· ·develop renal failure as a consequence of it.· I can't
 10· ·give you an answer as to the exact sequence of events in
 11· ·his renal failure and his rhabdomyolysis.· Too many
 12· ·things going on.
 13· · · · Q· · Would you agree with Dr. Eserman that -- well,
 14· ·I don't think you do.· You do not believe that the
 15· ·rhabdomyolysis was a factor in his death?
 16· · · · A· · It may have been.· I'm not saying it wasn't.
 17· ·There are just too many things going on with him that
 18· ·could have resulted in his dysrhythmia.· To point at any
 19· ·one of them and say that's the key, that's what I have
 20· ·trouble with.· There are just too many things.
 21· · · · Q· · In that respect, you kind of differ from
 22· ·Dr. Eserman?
 23· · · · A· · Well, she apparently didn't pick up on the
 24· ·abnormality of his heart weight.· If we had that -- if I
 25· ·had that conversation with Dr. Eserman, she might


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 131 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 131
 ·1· ·conceivably change her mind.· I don't know.· All of that
 ·2· ·sort of, though, to my opinion, kind of doesn't make a
 ·3· ·difference.
 ·4· · · · · · ·Because the clinical diagnosis of a lethal
 ·5· ·dysrhythmia is the only thing that this could be based
 ·6· ·upon the sequence of events and what was found.· So
 ·7· ·exactly all of the things that played into that final
 ·8· ·common -- that final pathway of a lethal dysrhythmia --
 ·9· ·it's sort of like you've got this stew and it tastes
 10· ·really good.· Well, is it the salt?· Is it the pepper?
 11· · · · · · ·Is it the tomato paste?· Well, it's all of
 12· ·them.· You can't say, oh, it's the tomato paste that
 13· ·makes it good, or it's the salt that makes it good.
 14· ·It's all of them together.
 15· · · · Q· · He died, in your opinion, of the dysrhythmia?
 16· · · · A· · Yes.
 17· · · · Q· · And the stew, if you will, there was some
 18· ·rhabdomyolysis that could have, could have not played --
 19· · · · A· · Could have contributed.
 20· · · · Q· · In your opinion, you disagree with the cardiac
 21· ·guy.· He had an enlarged heart that --
 22· · · · A· · Based upon what I've told you.
 23· · · · Q· · -- could have contributed?
 24· · · · A· · Yes.· I'd love to have a chance to go at that
 25· ·cardiac pathologist to see how they justify using


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 132 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 132
 ·1· ·Kitzman's reference range.
 ·2· · · · Q· · Maybe Mr. Levenson can arrange that.· The
 ·3· ·potassium of 8.1 --
 ·4· · · · A· · Absolutely, potentially lethal.
 ·5· · · · Q· · The creatinine of 2.4?
 ·6· · · · A· · That in and of itself is not dangerous, but it
 ·7· ·represents the renal failure, which produces the --
 ·8· ·which is associated with the acidosis and the
 ·9· ·hyperkalemia.· We forgot to mention the acidosis.
 10· · · · Q· · We're getting there.· Let's talk about that.
 11· ·Tell me about the acidosis.
 12· · · · A· · That's another risk factor for a sudden lethal
 13· ·arrhythmia.
 14· · · · Q· · What would cause that?
 15· · · · A· · Exercise renal failure.
 16· · · · Q· · The hyperkalemia, let's talk about that.
 17· · · · A· · Renal failure.
 18· · · · Q· · That's the renal failure?
 19· · · · A· · Yeah.
 20· · · · Q· · That would have been caused by -- in your
 21· ·opinion, it was caused by the renal failure?
 22· · · · A· · The hyperkalemia?
 23· · · · Q· · Yes.
 24· · · · A· · Well, that's the typical cause of
 25· ·hyperkalemia.· That would be the first on the list of


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 133 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 133
 ·1· ·usual suspects.
 ·2· · · · Q· · Do you believe that the rhabdomyolysis -- I
 ·3· ·know you disagree with Dr. Eserman on this.
 ·4· · · · A· · I don't think we disagree.
 ·5· · · · Q· · Well, she felt it was a much bigger factor in
 ·6· ·his death than you do.
 ·7· · · · A· · I'm not disagreeing that it was a factor.
 ·8· ·It's just that I think there are other factors as well.
 ·9· ·I think that characterizing it as a disagreement is
 10· ·going too far.· If I did not consider the heart as a
 11· ·factor, well, then, you're left with the rhabdo.· You've
 12· ·got to find something.
 13· · · · · · ·Then, you got the rhabdo, the acidosis, and
 14· ·the hyperkalemia.· Once you throw in the heart and the
 15· ·exertion, those are additional factors.
 16· · · · Q· · Let's talk about the rhabdo for a second since
 17· ·you're now placing the emphasis on it.· Dr. Eserman
 18· ·believes that the rhabdo was caused by some of the
 19· ·things you've talked about, the breakdown and things
 20· ·like that.· She does not allow for -- well, strike that.
 21· · · · · · ·The rhabdomyolysis can be caused -- the muscle
 22· ·breakdown can also be caused by, for want of a better
 23· ·word, breeding -- beating, trauma to the muscles?
 24· · · · A· · Not in this case.· There's no evidence of
 25· ·muscle injury on autopsy, and she looked for it very


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 134 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 134
 ·1· ·carefully.· There's not a hematoma in a single muscle.
 ·2· · · · Q· · That's what I want to talk to you about.· You
 ·3· ·would agree with me that rhabdomyolysis can be caused
 ·4· ·by --
 ·5· · · · A· · Severe beating.
 ·6· · · · Q· · -- severe beating to --
 ·7· · · · A· · Muscles.
 ·8· · · · Q· · -- muscles, right?
 ·9· · · · A· · No evidence of that.
 10· · · · Q· · You read Dr. Baden's report, and he talks
 11· ·about muscle damage in 26 different locations, correct?
 12· · · · A· · No.· He talks about black and blue marks in 26
 13· ·different locations, and they are all superficial.
 14· · · · Q· · Do you believe -- well, would you agree with
 15· ·me that the only way to determine the muscle damage that
 16· ·we're talking about is by taking microscopic slides and
 17· ·going in there to look?
 18· · · · A· · No.· Now, you're going to have to talk to a
 19· ·pathologist about it, but my answer to that is, no,
 20· ·after looking at lots of autopsies of traumatic deaths.
 21· ·The answer to that from my experience is no, but that's
 22· ·one you can take up with a pathologist.· My experience
 23· ·says no.· There's not a single hematoma in a single
 24· ·muscle.
 25· · · · Q· · Do you believe -- first of all, do you believe


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 135 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 135
 ·1· ·that Kendole Joseph had any muscle damage from the
 ·2· ·beating, from the hits that he took?
 ·3· · · · A· · If he did, it was not reflected
 ·4· ·biochemically -- I mean, it was not reflected at the
 ·5· ·autopsy.· Excuse me.
 ·6· · · · Q· · Do you believe that Dr. Eserman did everything
 ·7· ·she could do to determine if there was, in fact, muscle
 ·8· ·damage from --
 ·9· · · · A· · Take that up with a pathologist.
 10· · · · Q· · You do not have an opinion on that?
 11· · · · A· · I'm not a pathologist.· Remember, I'm
 12· ·methodology, okay?· I'm methodology, statistics,
 13· ·breathing.· I'm not a pathologist.· I can see the flaws
 14· ·in what a pathologist does based on methodology and
 15· ·statistics.· I will not get into what the slides show.
 16· · · · · · ·Unless we talk about slides of the lung
 17· ·because I'm a trained pulmonologist, and I can deal with
 18· ·that.
 19· · · · Q· · We're not going to do that.
 20· · · · A· · No.
 21· · · · Q· · You don't know what slides Dr. Eserman
 22· ·reviewed or what slides she took in terms of muscle
 23· ·damage?
 24· · · · A· · I didn't pay attention to it.
 25· · · · Q· · You did not base your opinion, you're saying,


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 136 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 136
 ·1· ·on any of that?
 ·2· · · · A· · Correct, other than her statement that there
 ·3· ·was no gross injury to the muscles.
 ·4· · · · Q· · You took that to be for purposes of your
 ·5· ·analysis to be true?
 ·6· · · · A· · Correct.· I'm not a pathologist.
 ·7· · · · Q· · Let's talk about the Benadryl.
 ·8· · · · A· · Yes.
 ·9· · · · Q· · You reviewed -- number 12, both an admission
 10· ·blood test, marked blood, and an autopsy heart blood
 11· ·test two days later revealed diphenhydramine in a
 12· ·concentration found 2100 ng --
 13· · · · A· · Nanograms per milliliter.
 14· · · · Q· · Thank you, nanograms per milliliter.· Is that
 15· ·a factor in his death?
 16· · · · A· · Well, it may be.· We got another thing.
 17· ·Remember, this -- it's not a lethal -- I mean, it's not
 18· ·a lethal concentration.
 19· · · · Q· · It's nowhere close in an average --
 20· · · · A· · I wouldn't argue nowhere as close.· Remember,
 21· ·it's not a question of the average lethal concentration.
 22· ·It's a question of the lowest lethal concentration.· But
 23· ·it is not -- no argument.· It's not a lethal
 24· ·concentration.
 25· · · · · · ·However, it is certainly high enough to


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 137 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 137
 ·1· ·produce some of the behavioral changes that we saw in
 ·2· ·Mr. Joseph.· You know, there's -- pneumonic is the wrong
 ·3· ·word.· It's sort of a rhyme for the clinical syndrome
 ·4· ·that's produced by diphenhydramine type drugs.
 ·5· · · · · · ·You know, it's red as a beet, hot as a pistol,
 ·6· ·dry as a bone, mad as a hatter, stuffed as a pipe.· He's
 ·7· ·4 out of 5 on those.· Now, that's not lethal, but that
 ·8· ·stuff helps explain his behavior as well.· Then it's his
 ·9· ·behavior, agitation, physical exertion and so on that
 10· ·continue from that.
 11· · · · · · ·Did it play a role in his death?· Not directly
 12· ·as a toxic agent but potentially through it's behavioral
 13· ·manifestations.
 14· · · · Q· · It's part of the stew?
 15· · · · A· · It's part of the stew.
 16· · · · Q· · Part of this is going into 14.· You quote
 17· ·Dr. Eserman.· It says, the remainder of the autopsy
 18· ·revealed no other potentially lethal abnormalities and
 19· ·concluded Mr. Joseph died -- "died as a result of acute
 20· ·psychosis exacerbated by diphenhydramine toxicity in the
 21· ·setting of schizophrenia while in police custody."
 22· ·Agreed?
 23· · · · A· · Yeah.· That pretty much sums it up.
 24· · · · Q· · I want to go back to rhabdomyolysis for a
 25· ·second.· You saw the video, correct?


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 138 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 138
 ·1· · · · A· · Yes.
 ·2· · · · Q· · In your opinion -- I know you're not here as a
 ·3· ·video expert, so I'm not holding you to that.
 ·4· · · · A· · Nor a police practices expert.
 ·5· · · · Q· · I understand that.· You did observe in the
 ·6· ·video officers striking -- at least one officer striking
 ·7· ·Kendole Joseph?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · Numerous times?
 10· · · · A· · I forgot how many times.
 11· · · · Q· · More than once?
 12· · · · A· · Yes.
 13· · · · Q· · We don't need to argue about how many times
 14· ·here.
 15· · · · A· · No.
 16· · · · Q· · You also saw at least one officer kicking
 17· ·Kendole Joseph?
 18· · · · A· · Yes.
 19· · · · Q· · At least once?
 20· · · · A· · That, I think we can safely say more than
 21· ·once.
 22· · · · Q· · Could those strikes, at least what you saw,
 23· ·cause rhabdomyolysis?
 24· · · · A· · Well, without evidence of muscle damage, I'm
 25· ·going to say no.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 139 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 139
 ·1· · · · Q· · But if there were evidence of muscle --
 ·2· ·hypothetically, if there were muscle damage or if proper
 ·3· ·tests were done, meaning, slides, microscopic
 ·4· ·evaluation, and there were muscle damage, could those
 ·5· ·strikes, in your opinion, cause some muscle damage?
 ·6· · · · A· · Well, it could cause a release of CPK, no
 ·7· ·question about it.· To a degree, that is the definition
 ·8· ·of rhabdomyolysis, but it didn't cause the renal
 ·9· ·failure.· That had come 12 to 24 hours prior to that.
 10· ·It didn't cause the hyperkalemia.
 11· · · · · · ·That came 12 to 24 hours.· It didn't cause the
 12· ·acidosis.· It didn't cause his enlarged heart.
 13· ·Remember, you're a runner.· If you run a good race, your
 14· ·CPK is going to be elevated after that.· It will be 500
 15· ·to a thousand.
 16· · · · · · ·If I go scuba diving and I jam my arm into a
 17· ·sea urchin, your CPK is going to be elevated.· If you
 18· ·are in the hospital and I draw your blood after I give
 19· ·you an IM injection, your CK is going to be elevated as
 20· ·a result of those things.
 21· · · · · · ·You have to remember how sensitive these tests
 22· ·are.· Yeah, absolutely, that kind of beating, given
 23· ·muscle damage that you can see, I would say could cause
 24· ·an elevation of the CK.· It's not enough to cause renal
 25· ·failure, though.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 140 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 140
 ·1· · · · Q· · Understood.· Then you talk about in 15 what I
 ·2· ·think we've already discussed, normal heart --
 ·3· · · · A· · I think we've beaten that one to death, no pun
 ·4· ·intended.
 ·5· · · · Q· · Okay.· We talked about that.· You mentioned
 ·6· ·here in 16 medical records dated January of 2017
 ·7· ·revealed normal renal function?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · That's from before?
 10· · · · A· · Yeah.· This is two weeks before this.
 11· · · · Q· · Right.· How do you -- we talked about renal
 12· ·failure from his prior incident?
 13· · · · A· · Yeah.· That was acute renal failure that was
 14· ·completely resolved.
 15· · · · Q· · Resolved?
 16· · · · A· · Yes.
 17· · · · Q· · What do you believe that this renal failure
 18· ·was caused by, the renal failure that you believe
 19· ·contributed to his death?
 20· · · · A· · We're back to our stew.· Psychosis, exertion,
 21· ·high temperature, the whole thing.· Excited delirium,
 22· ·we've talked about it all.
 23· · · · Q· · We're going to come around to positional
 24· ·asphyxia in a minute.
 25· · · · A· · I would hope so.· We're running out of time.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 141 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 141
 ·1· · · · Q· · No, we're okay.· Let me ask you a question,
 ·2· ·actually.· If we go until two o'clock --
 ·3· · · · A· · Yes.
 ·4· · · · MR. OPPENHEIMER:· Off the record.
 ·5· · · · · · · · · · ·(Recess was taken.)
 ·6· · · · MR. OPPENHEIMER:· Okay, back on the record.
 ·7· ·BY MR. OPPENHEIMER:
 ·8· · · · Q· · Excited delirium, what's your definition of
 ·9· ·excited delirium?
 10· · · · A· · It's a syndrome.· It's associated with drug
 11· ·use.· It's associated with typically certain psychiatric
 12· ·disorders.· It happens most of the time with psychiatric
 13· ·disorders when people are not taking their medications.
 14· · · · · · ·It's basically dialing up the whole central
 15· ·nervous system to the extent that the feedback
 16· ·mechanisms to stop you from doing stuff internally don't
 17· ·seem to work.· There are people who believe that this is
 18· ·a separate and distinct entity, and I think the proof is
 19· ·not quite in on that yet.· That's Debra Mash in Miami.
 20· · · · · · ·She believes it's a distinct entity, and she
 21· ·thinks she can characterize it by a change in up
 22· ·regulation of certain receptor sites in the brain.
 23· ·Other people believe it's just the extreme end of the
 24· ·drugs or the psychosis.
 25· · · · · · ·It existed as much as 100 years ago.· It was


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 142 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 142
 ·1· ·then described as fatal excited mania.· I forgot exactly
 ·2· ·what it was called.
 ·3· · · · Q· · Some people believe --
 ·4· · · · A· · It's a syndrome.
 ·5· · · · Q· · Some people believe -- and I'll throw in
 ·6· ·pro-police people.· Some people believe that excited
 ·7· ·delirium can be a cause of death.
 ·8· · · · A· · It's something that can trigger the death by
 ·9· ·the same stew we are talking about here, but the
 10· ·mechanism of death is still a cardiac dysrhythmia.
 11· · · · Q· · Can excited delirium cause cardiac
 12· ·dysrhythmia, in your opinion?
 13· · · · A· · Is it causing it or is it causing stuff that
 14· ·causes the dysrhythmia?· The excited delirium maybe
 15· ·causes extreme exertion, extreme agitation.· It's not
 16· ·the actual delirium that causes the dysrhythmia.· It's
 17· ·the chemical changes due to the behavior that causes the
 18· ·dysrhythmia.
 19· · · · · · ·The same behavior in somebody who wasn't
 20· ·psychotic, would it produce the dysrhythmia?· There's
 21· ·some disagreement about that, and I don't have an answer
 22· ·to it yet.· That's why emergency physicians are now
 23· ·calling it a syndrome rather than a specific diagnosis.
 24· · · · · · ·We just don't know the mechanism by which
 25· ·death is associated with excited delirium.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 143 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 143
 ·1· · · · Q· · Is it possible that someone who has, let's
 ·2· ·say, excited delirium syndrome -- let me ask you this,
 ·3· ·excited delirium syndrome alone as a cause of death; do
 ·4· ·you buy into that?
 ·5· · · · A· · I tried to explain it.· Is it the excited
 ·6· ·delirium?· I don't think so.· I think it's the things
 ·7· ·that the excited delirium causes that precipitate the
 ·8· ·death, especially in the setting of an enlarged heart.
 ·9· · · · · · ·Which in the one paper that looks at heart
 10· ·weight in people who die under the observation of
 11· ·paramedics with excited delirium, essentially all of
 12· ·them have hearts the weight of Mr. Joseph.
 13· · · · Q· · One who has excited delirium syndrome, can the
 14· ·death be exacerbated by a beating by police or something
 15· ·by police like a struggle?
 16· · · · A· · Give me a mechanism.· The CK in and of itself
 17· ·is not lethal stuff.
 18· · · · Q· · I understand that.
 19· · · · A· · Since the striking occurred minutes before --
 20· ·whether it's five minutes or seven minutes or ten
 21· ·minutes before Mr. Joseph suffered his cardiovascular
 22· ·event, even if he does have release of CK from his
 23· ·muscles from the kicking and the punching, that is not
 24· ·going to contribute to the death.
 25· · · · · · ·Now, if you told me that that beating happened


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 144 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 144
 ·1· ·24 hours ago and nothing else was going on, and he has
 ·2· ·this terrible beating and his muscles are full of blood
 ·3· ·and he's got myoglobin casts in his urine, and he's got
 ·4· ·creatinine like this, and hyperkalemia like this, and
 ·5· ·acidosis like this, I'd say, yeah, the beating did it
 ·6· ·but not in this time sequence.
 ·7· · · · Q· · You indicate in your report, page five, the
 ·8· ·first section, you were asked to review is it more
 ·9· ·likely than not asphyxia occurred based upon what is
 10· ·described as the sequence of events in this case.· You
 11· ·indicate as one of the factors, Mr. Joseph was screaming
 12· ·and fighting as he was put in the police vehicle and
 13· ·continued to do so for some period of time.
 14· · · · · · ·Where do you get that information from that he
 15· ·continued to do so for some period of time?
 16· · · · A· · I believe that was from the police officer.
 17· ·We talked about that, that he was still screaming while
 18· ·he was in the vehicle, kicking while he was in the
 19· ·vehicle.
 20· · · · Q· · Obviously, you can only go from what you are
 21· ·given.· You were not there.· So if they're not telling
 22· ·the truth, that obviously affects -- just like the
 23· ·cardiologist's data, that can affect your future
 24· ·opinion?
 25· · · · A· · The cardiologist data could affect --


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 145 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 145
 ·1· · · · Q· · Dr. Eserman relied on the fact that he had a
 ·2· ·normal heart, and you disagree with that.· That could
 ·3· ·affect --
 ·4· · · · A· · Whose opinion?
 ·5· · · · Q· · Dr. Eserman's opinion.
 ·6· · · · A· · Maybe.· You'd have to speak to Dr. Eserman
 ·7· ·about it.
 ·8· · · · Q· · Understood.· You did not examine the inside of
 ·9· ·the police vehicle?
 10· · · · A· · Correct.
 11· · · · Q· · Were you given any pictures of the inside of
 12· ·the police vehicle in terms of measurements and how big
 13· ·or small it was?
 14· · · · A· · No.
 15· · · · Q· · When you comment that Dr. Baden says
 16· ·Mr. Joseph was squeezed in the back of this police
 17· ·vehicle, you said there was no evidence of pressure,
 18· ·meaning, somebody on his back or something on his back,
 19· ·correct?
 20· · · · A· · Yes.
 21· · · · Q· · As far as being in a tightly confined space,
 22· ·you wouldn't necessarily disagree that he was placed in
 23· ·a tightly confined space?
 24· · · · MR. LEVENSON:· I'm going to object to that, but he
 25· ·can answer.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 146 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 146
 ·1· · · · THE WITNESS:· Yeah, he's in the back seat of a car,
 ·2· ·and they had to bend his knees.· I will let somebody
 ·3· ·else, anybody else once they see -- I don't understand
 ·4· ·how that means squeezed but whatever.· Take that up with
 ·5· ·Dr. Baden.· What I interpret it to mean is that there's
 ·6· ·no weight on his back.
 ·7· ·BY MR. OPPENHEIMER:
 ·8· · · · Q· · You say, for an individual to suffer a
 ·9· ·cardiopulmonary arrest from asphyxiation would as noted
 10· ·above require at least five minutes of no breathing at
 11· ·all for which there is no evidence in this case.
 12· · · · A· · Yes.
 13· · · · Q· · Are you aware -- do you know the amount of
 14· ·time that elapsed from the time that the police officers
 15· ·carried Mr. Joseph out of the store and until the time
 16· ·that he went into arrest or unconscious?
 17· · · · A· · What I base that on is the statement that he
 18· ·was in the car for two or three minutes.· I am aware
 19· ·that he continued to fight before being put in the car,
 20· ·and he was screaming before he was put in the car.
 21· ·Obviously, under those circumstances, he was alive and
 22· ·breathing.
 23· · · · · · ·My estimate of the time in this situation is
 24· ·the two to three minutes that he was in the car
 25· ·unobserved between the time the doors were closed and


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 147 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 147
 ·1· ·the time somebody noticed that he was unresponsive.                I
 ·2· ·don't care about how long the previous stuff was.
 ·3· · · · Q· · If, in fact -- where did you get the two or
 ·4· ·three minutes from in the back of the car?
 ·5· · · · A· · I seem to remember reading that in one of the
 ·6· ·statements.· How long was it, and they said a short
 ·7· ·period of time, a few minutes, two to three minutes, not
 ·8· ·even three minutes.· I think those were the words.
 ·9· · · · Q· · If the time frame from being taken out of the
 10· ·store to being --
 11· · · · A· · I don't care what taking out of the store is.
 12· · · · Q· · Fine, because he was still kicking and
 13· ·screaming?
 14· · · · A· · Kicking, screaming, yelling as he was being
 15· ·put in.
 16· · · · Q· · Does that mean you take it as --
 17· · · · A· · He's alive.
 18· · · · Q· · If he's kicking and screaming, he's breathing?
 19· · · · A· · Yeah.· Screaming, you're breathing.
 20· · · · Q· · If, in fact, the time frame from when he was
 21· ·placed in the car until the time he went unconscious was
 22· ·longer than that, does that affect -- could that affect
 23· ·your opinion?
 24· · · · MR. LEVENSON:· This is a hypothetical situation
 25· ·you're asking him about as opposed to a factual


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 148 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 148
 ·1· ·situation?· Do you want him to answer that as a
 ·2· ·hypothetical?
 ·3· · · · MR. OPPENHEIMER:· Yes.· It can be hypothetical for
 ·4· ·purposes of this deposition, yes.
 ·5· · · · THE WITNESS:· No, I don't care.· Because that's not
 ·6· ·a position that --
 ·7· · · · MR. OPPENHEIMER:· All that work you just did,
 ·8· ·nothing.
 ·9· · · · THE WITNESS:· It's not a position that adversely
 10· ·affects ventilation to the point that it's going to
 11· ·cause any trouble.
 12· ·BY MR. OPPENHEIMER:
 13· · · · Q· · In your opinion then, no matter how long he
 14· ·was in the back of that car -- well, for the first two
 15· ·hours of the deposition, you told me that essentially,
 16· ·what we -- what a lot of people say causes positional
 17· ·asphyxia does not, in fact, cause -- positional asphyxia
 18· ·does not cause asphyxia, correct?
 19· · · · A· · Correct.
 20· · · · Q· · In your opinion, they could have placed
 21· ·Mr. Joseph in the back seat of that car facedown,
 22· ·handcuffed --
 23· · · · A· · As long as he's not being smothered.
 24· · · · Q· · Yes, I understand that.
 25· · · · A· · As long as he can turn his head to the side or


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 149 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 149
 ·1· ·lift his head up.· I made no comment --
 ·2· · · · Q· · Like your subjects?
 ·3· · · · A· · I make no comment if you're saying they
 ·4· ·stuffed a sock in his mouth and he couldn't breathe,
 ·5· ·okay?· I make no comment about that.· We're not talking
 ·6· ·about anything else other than the mechanics of
 ·7· ·ventilation.
 ·8· · · · Q· · Understood.· Just to be clear -- we can go
 ·9· ·over timelines and everything else, but in your opinion,
 10· ·if he was placed in the back of that car handcuffed
 11· ·behind his back, he wasn't officially hog-tied, but legs
 12· ·were shackled together, and his feet were in the upright
 13· ·position that you described, the 90 degrees.
 14· · · · · · ·Number one, he's a 6-foot tall guy, and it's a
 15· ·shorter car.· If he was placed in that position, it does
 16· ·not -- as long as he can move his head -- and it would
 17· ·require him to be conscious to move his head -- it does
 18· ·not matter to you for your opinion as to how long he was
 19· ·in that position for?
 20· · · · A· · That is essentially correct.· I mean, he can
 21· ·starve to death in that position if left there for two
 22· ·weeks, okay?
 23· · · · Q· · I understand.
 24· · · · A· · Short of that sort of extreme absurdity, it
 25· ·makes --


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 150 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 150
 ·1· · · · Q· · Someone holding his nose.· Somebody choking
 ·2· ·him?
 ·3· · · · A· · Right, exactly.
 ·4· · · · Q· · But if he is placed in the position that we're
 ·5· ·all fighting about today, and that's why you're here, it
 ·6· ·does not matter to you how much time he was placed in
 ·7· ·that position, 30 seconds, five hours?
 ·8· · · · A· · You ever sleep on your belly?
 ·9· · · · Q· · I'm not the subject here but, yes.
 10· · · · A· · You think you're going to suffocate if you
 11· ·bend your knees?
 12· · · · Q· · I'm not going to answer that question.
 13· · · · A· · I understand you're not, so let me make it as
 14· ·a hypothetical.· Tom, I'm sleeping on my belly.· Do you
 15· ·think you're going to suffocate if you bend your knees
 16· ·and put your arms behind your back?· No, I don't think
 17· ·so.
 18· · · · Q· · Let me ask you this, me going to bed and
 19· ·sleeping on my belly is different than -- which is my
 20· ·next question because you've already answered the one
 21· ·about time.· For purposes of my discussion with you, it
 22· ·didn't matter if it's 10 seconds, assuming he didn't
 23· ·starve to death, or 10 hours?
 24· · · · A· · Well, 10 seconds becomes an absurdity
 25· ·because -- hold your breath.· I mean, even if you


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 151 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 151
 ·1· ·couldn't breathe at all, 10 seconds aren't going to do
 ·2· ·anything.
 ·3· · · · Q· · I understand.
 ·4· · · · A· · Let's say an hour, okay?
 ·5· · · · Q· · Fair enough.
 ·6· · · · A· · Three minutes or an hour make no difference.
 ·7· · · · Q· · Make no difference if he's in that position?
 ·8· · · · A· · Yeah.
 ·9· · · · Q· · Does it make a difference using the three
 10· ·minutes to an hour analogy if it's not just me going to
 11· ·bed on my stomach.· It's a struggle, for want of a
 12· ·better word today, with the police where he was at least
 13· ·punched more than one time and kicked more than one
 14· ·time, carried out in the position that he was carried
 15· ·out in, placed in the back of the car -- strike that.
 16· · · · · · ·Do you believe that the amount of time from
 17· ·three minutes to an hour placed in a way that we are
 18· ·alleging that he was after everything --
 19· · · · A· · I'm accepting the way that you say he was
 20· ·placed.
 21· · · · Q· · That's fine.· I appreciate that.· Assuming
 22· ·everything that he had been through and everything you
 23· ·talked about, do you think that contributed to his death
 24· ·in any way, shape, or form?
 25· · · · A· · His position in the car the way he was placed


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                              (312) 236-8352                                   YVer1f
    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 152 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 152
 ·1· ·that I'm granting you his placement?
 ·2· · · · Q· · Yes.
 ·3· · · · A· · No.· It had nothing to do with his death, from
 ·4· ·an asphyxial point of view.
 ·5· · · · Q· · That would not -- okay, fair enough.· Ever
 ·6· ·read the medicolegal investigation of death?
 ·7· · · · A· · By Spitz?
 ·8· · · · Q· · Yes.
 ·9· · · · A· · Of course.
 10· · · · Q· · Your opinion of it?
 11· · · · A· · Which edition?
 12· · · · Q· · I knew you were going to ask that.· I don't
 13· ·know, the most recent one.
 14· · · · A· · The 4th?
 15· · · · Q· · Sure.
 16· · · · A· · Have you read it?
 17· · · · Q· · Not all of it, some of it.
 18· · · · A· · Have you read the part with positional
 19· ·asphyxia?
 20· · · · Q· · I am not the witness here.· Yes, I have.
 21· ·Let's get to that.· That's the basis of my question too.
 22· · · · A· · If you look at the references for it, they're
 23· ·all wrong.· The numbers are all out of place.
 24· · · · Q· · Now you're answering my question.
 25· · · · A· · Well, I'm trying to give you my opinion of it


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 153 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 153
 ·1· ·without saying what it is, okay?
 ·2· · · · Q· · I think you are, but that's okay.· I want your
 ·3· ·opinion.
 ·4· · · · A· · I'll give you my opinion.· It's absolutely
 ·5· ·junk, that section.
 ·6· · · · Q· · Fair enough.
 ·7· · · · A· · He makes medical opinions based upon what a
 ·8· ·judge says.
 ·9· · · · Q· · Would you disagree with this statement -- I
 10· ·can guess that you would.· I could save some money by
 11· ·not having you answer this.· A struggling agitated
 12· ·individual breathes faster, has a faster heart beat,
 13· ·elevated blood pressure, and heightened metabolism.
 14· ·I'll read the whole paragraph.· I'm not going --
 15· · · · A· · No, you don't have to.· The only thing that's
 16· ·probably wrong about that is the blood pressure.· Normal
 17· ·people don't really raise their blood pressure much with
 18· ·exercise, but anybody who is struggling breathes more,
 19· ·okay?
 20· · · · · · ·Their metabolism -- if by metabolism they mean
 21· ·oxygen consumption increases under the circumstances,
 22· ·it's exercise.
 23· · · · Q· · Or it could be something else besides
 24· ·exercise.· Would you call the struggle with Kendole
 25· ·Joseph in the store exercise?


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 154 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 154
 ·1· · · · A· · Exertion, yeah, it is.· From a physiologic
 ·2· ·point of view, that's what it is.
 ·3· · · · Q· · Fair enough.· Second sentence of that first
 ·4· ·section, such an individual requires more air and more
 ·5· ·oxygen?
 ·6· · · · A· · Yes.
 ·7· · · · Q· · Immobilization of the chest, even if only
 ·8· ·partially reducing the ability to maintain vital
 ·9· ·functions culminates in cardiac arrhythmia or could.
 10· · · · A· · How much is the chest immobilized?· If you put
 11· ·a nickel on somebody's back, it's not going to be
 12· ·immobilized or impaired enough.· If you put a great deal
 13· ·of weight on it, it will.· The devil is in the details.
 14· · · · · · ·How much is ventilation impaired, and what is
 15· ·the requirement for ventilation under those
 16· ·circumstances?· Yes, oxygen consumption increases under
 17· ·those circumstances.· How much?· Ventilation may be
 18· ·decreased under those circumstances, or maximum
 19· ·ventilation is decreased.
 20· · · · · · ·It's an important difference.· Your
 21· ·ventilation isn't decreased.· Your maximum ventilation
 22· ·is decreased.· How much and does that decrement actually
 23· ·get below what you need to ventilate?· These are the
 24· ·details that are critical.
 25· · · · Q· · Understood.· How about this statement:


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 155 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 155
 ·1· ·Postural asphyxia also known as positional asphyxia
 ·2· ·occurs when the head and neck are turned or situated so
 ·3· ·as to obstruct the upper airway and the reflex drive to
 ·4· ·right the head is or can be dulled by intoxication,
 ·5· ·concussion, or neurological disease.
 ·6· · · · A· · Well, there are several statements in there.
 ·7· ·Basically what I'm taking that to mean is, you get so
 ·8· ·drunk that you can't wake up -- and this is another true
 ·9· ·positional asphyxia.· You get so drunk that you don't
 10· ·wake up, and then you fall into a position where you
 11· ·can't breathe and your brain is sudated to the point
 12· ·that you don't move your head.· That's positional
 13· ·asphyxia.
 14· · · · Q· · Fair enough.· I think you may have already
 15· ·answered this question, but I'll ask it again.· I think
 16· ·I'm asking it again.· If Kendole Joseph or if someone
 17· ·has all the things that Kendole Joseph had and went
 18· ·through what he had going into that car, assuming he's
 19· ·there three minutes to an hour, whatever we said, that
 20· ·could not have affected his death or made things worse?
 21· · · · A· · Correct.· The position did not cause him to
 22· ·asphyxiate.· The ongoing exertion is not good for
 23· ·somebody with a bad heart, hyperkalemia, acidosis.· All
 24· ·of that makes that stuff worse.
 25· · · · Q· · This is where you and Dr. Eserman apparently


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 156 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 156
 ·1· ·agree that he would have died anyway?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · Do you think he would have died that day?
 ·4· · · · A· · Potassium at 8.1, PH is 6.5?
 ·5· · · · Q· · Is there anything that we've discussed in
 ·6· ·terms of -- is there anything else that the police
 ·7· ·officers -- strike that.· Are there any other reason for
 ·8· ·the potassium increasing that high, besides from what
 ·9· ·you've said?
 10· · · · A· · No.· We mentioned this before.· Hyperkalemia
 11· ·is a pretty -- you know, the number one cause of
 12· ·hyperkalemia is going to be renal failure.· Other than
 13· ·some drugs that people take for hypertension, some drugs
 14· ·that interfere with glomerular filtration rate can cause
 15· ·it.
 16· · · · · · ·There can be abnormalities of platelets that
 17· ·cause hyperkalemia.· There are relatively few things
 18· ·that cause hyperkalemia, and renal failure is just
 19· ·number 1, 2, 3, 4, and 5.
 20· · · · Q· · I want to go back to your report.· I'll stop
 21· ·asking you about the medicolegal stuff that you don't
 22· ·like.· Page seven in your report, you indicate an
 23· ·additional point is whether Mr. Joseph was suffering
 24· ·from the excited delirium syndrome at the time of his
 25· ·final interaction with the police.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 157 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 157
 ·1· · · · · · ·Dr. Eserman in her deposition points out, if
 ·2· ·you wanted to substitute excited delirium into acute
 ·3· ·psychosis, I wouldn't terribly object to it.· You said,
 ·4· ·I would argue the elevation of creatinine, CPK, and a
 ·5· ·number of other laboratory abnormalities are all more
 ·6· ·consistent with EDS than psychosis, and the
 ·7· ·anticholinergic signs of diphenhydramine toxicity;
 ·8· ·however, this does not alter the basic physiology of
 ·9· ·Mr. Joseph's death.
 10· · · · A· · Right.
 11· · · · Q· · Comment?
 12· · · · A· · I think we've discussed that one half to
 13· ·death.· It's a stew.· Whether you want to call it
 14· ·excited delirium, whether you want to call it a
 15· ·psychosis, whatever, you're left with renal failure,
 16· ·hyperkalemia, severe acidosis.
 17· · · · · · ·In my opinion, and as the numbers would
 18· ·dictate, a bad heart on top of it.
 19· · · · Q· · In the next paragraph, you talk about
 20· ·Dr. Baden, but I want to go to the second part of that
 21· ·paragraph.· Dr. Baden further seems to imply the
 22· ·elevated CPK, rhabdomyolysis, and elevated creatinine
 23· ·are due to the trauma Mr. Joseph received, but without
 24· ·major evidence of direct muscle injury on autopsy, this
 25· ·is highly unlikely.· I know you've already discussed


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 158 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 158
 ·1· ·that a bit?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · I do want to ask you, if there was more
 ·4· ·evidence of direct muscle injury on autopsy than you
 ·5· ·considered and maybe, perhaps, Dr. Eserman found or
 ·6· ·considered, would that change your opinion or cause you
 ·7· ·to agree with Dr. Baden's statement?
 ·8· · · · A· · But they had no affect -- that didn't cause
 ·9· ·the renal failure.· It didn't cause the hyperkalemia.
 10· ·It didn't cause the acidosis.· It would not materially
 11· ·change the stew.· Then, of course, we're talking about a
 12· ·cause of death unrelated to asphyxia.
 13· · · · Q· · I understand.
 14· · · · MR. OPPENHEIMER:· Let's take a few minutes.
 15· · · · · · · · · · ·(Recess was taken.)
 16· ·BY MR. OPPENHEIMER:
 17· · · · Q· · Going back to your number nine in your report
 18· ·when you talk about -- we went over this in fairly good
 19· ·detail, so if I'm answering a question we've already
 20· ·done, just let me know.
 21· · · · A· · Number nine, the facts?
 22· · · · Q· · Right.· When you talk about treatment resulted
 23· ·in a return of spontaneous circulation, is there an
 24· ·issue in terms of getting CO2 levels because they
 25· ·weren't able to get into -- they had problems getting


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 159 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 159
 ·1· ·into the windpipe, according to the medical records?
 ·2· · · · A· · Yes.
 ·3· · · · Q· · How does that affect everything in terms of
 ·4· ·CO2 levels?
 ·5· · · · A· · It would affect it if they weren't ventilating
 ·6· ·the lungs properly.· However, you were kind enough to
 ·7· ·show me that graph, which is a normal wave form.· So in
 ·8· ·this case, it didn't.
 ·9· · · · Q· · Getting the air from the esophagus, that would
 10· ·have little -- less CO2?
 11· · · · A· · Well, it wouldn't -- it wouldn't have any to
 12· ·speak of, and it wouldn't give you that kind of wave
 13· ·form.· The whole purpose of a Combitube is to prevent
 14· ·that from happening.
 15· · · · Q· · If a PCO2 level is 54, that would be high?
 16· · · · A· · Yes.
 17· · · · Q· · If his oxygen was 62, that would be low?
 18· · · · A· · Yes.
 19· · · · Q· · He would be in respiratory arrest at that
 20· ·time?
 21· · · · A· · Well, he might be in it.· I mean, you can have
 22· ·those blood gases with or without being in respiratory
 23· ·arrest.
 24· · · · Q· · Low oxygen, high CO2, how does that comport
 25· ·with your conclusion in number nine?


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 160 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 160
 ·1· · · · A· · Well, that was taken in the hospital after --
 ·2· ·while he was in cardiac arrest.· Those are cardiac
 ·3· ·arrest gases.· This is with spontaneous circulation.
 ·4· · · · Q· · If Kendole Joseph had blood in his throat
 ·5· ·during this incident, would you agree with me that could
 ·6· ·make it harder for him to breathe?
 ·7· · · · A· · How much blood in his throat?· He's screaming.
 ·8· ·He's yelling.· It sort of goes into the so what
 ·9· ·category.
 10· · · · Q· · What could cause the blood in his throat?
 11· · · · A· · Cut in the mouth.· Look, he was in a fight.
 12· ·He was in a struggle.· He's got black and blue marks
 13· ·from wherever they came.
 14· · · · Q· · If he was -- and I know we talked about
 15· ·Dr. Baden saying he was squeezed in.· We already talked
 16· ·about the potential size of the back seat.· If he had
 17· ·been placed down in that fashion -- we already talked
 18· ·about time and everything.
 19· · · · · · ·If he was placed down against the seat with
 20· ·his mouth down and nose down against the seat and he
 21· ·couldn't move, that can certainly affect and interfere
 22· ·with his breathing, correct?
 23· · · · A· · It depends upon how hard the seat is; whether
 24· ·he could pull his lips back, but I'm not talking about
 25· ·that, okay?· That's back to the category of smothering.


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 161 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 161
 ·1· ·As long as he was not unconscious and there is no reason
 ·2· ·for him to be unconscious, he should just turn his head
 ·3· ·or lift his head.
 ·4· · · · · · ·If you tell me somebody is holding his head
 ·5· ·into there and he couldn't move it, and his face and
 ·6· ·nose were crushed into the seat, that's a different
 ·7· ·story.
 ·8· · · · Q· · I don't think I did ask you this.· EMS was
 ·9· ·already there because they were called because of the
 10· ·tasering, and they have to be there when someone is
 11· ·tasered, right?
 12· · · · A· · That's my understanding.
 13· · · · Q· · In your opinion -- and it's also clear that
 14· ·EMS did not take a look at Kendole Joseph until after he
 15· ·went into arrest.
 16· · · · A· · That's my understanding.
 17· · · · Q· · Their time was spent helping to clean blood
 18· ·off the officers, and the blood that was on the
 19· ·officers, was Kendole Joseph's blood.· Most of it, from
 20· ·what we could tell.· It doesn't matter for purposes of
 21· ·the question.
 22· · · · · · ·Do you believe that things would have been
 23· ·different or that Kendole Joseph's condition would have
 24· ·been different if they had taken him from the store and
 25· ·placed him in the ambulance so they could start working


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    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 162 of 189

TOM NEUMAN                                                      July 25, 2018


                                                                    Page 162
 ·1· ·on him instead of the delay?
 ·2· · · · MR. LEVENSON:· As a hypothetical, you can answer.
 ·3· · · · THE WITNESS:· Well, that becomes a very complicated
 ·4· ·question.· Because the paramedics are not going to be
 ·5· ·working on him while he's still overtly fighting and
 ·6· ·stuff like that.· They have to get him onto a gurney.
 ·7· · · · · · ·They have to get him strapped down because
 ·8· ·they can't work on him in a facedown hobbled position.
 ·9· ·They have to have him turned over.· They have to have
 10· ·his arms strapped down individually.· The first question
 11· ·is, what is the treatment that is going to be given to
 12· ·him?
 13· · · · · · ·You know, what is the time to even begin to
 14· ·treat him?· I'm not sure what the time delay would have
 15· ·been under those circumstances, but let's imagine that
 16· ·we are going to magically get him treated
 17· ·instantaneously as he comes out of it.
 18· · · · · · ·What are they going to do?· They're going to
 19· ·sedate him.· That's what has to be done.· You want to
 20· ·talk about something that's going to lower his breathing
 21· ·and make his acidosis worse?· That's going to be
 22· ·sedation.
 23· · · · · · ·So, no, I really don't think given the
 24· ·criticality of his numbers, that PH and that
 25· ·hyperkalemia, the likelihood of what the paramedics were


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      Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 163 of 189

TOM NEUMAN                                                        July 25, 2018


                                                                      Page 163
 ·1· ·going to be able to do in the street would have made
 ·2· ·much of a difference.
 ·3· · · · · · ·This was a man who on the knife edge of death
 ·4· ·with those numbers.· You have to appreciate just how
 ·5· ·awful they are.· They're almost incompatible with life.
 ·6· ·BY MR. OPPENHEIMER:
 ·7· · · · Q· · He apparently had three intubations during the
 ·8· ·EMS procedure?
 ·9· · · · A· · Yes.
 10· · · · Q· · Did that affect anything in your -- it may
 11· ·have been because there was blood in the windpipe.· Does
 12· ·that --
 13· · · · A· · Well, they said it was.· They said they had
 14· ·trouble visualizing it.
 15· · · · Q· · Does that affect your opinion at all?
 16· · · · A· · Well, that's post-arrest.· My opinion is all
 17· ·pre-arrest.
 18· · · · MR. OPPENHEIMER:· I think I have no further
 19· ·questions.
 20· · · · THE REPORTER:· Do you want a copy?
 21· · · · MR. LEVENSON:· Yes.
 22· · · · · · ·(Whereupon, at 1:06 p.m., the deposition was
 23· ·concluded.)
 24
 25


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                                (312) 236-8352
      Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 164 of 189

TOM NEUMAN                                                        July 25, 2018


                                                                      Page 164
 ·1· · · · · · · · · · · · ·*· · *· · *

 ·2· · · · · · ·I hereby declare under penalty of perjury that

 ·3· ·the foregoing is my deposition under oath; that I have

 ·4· ·read my deposition and have made the necessary

 ·5· ·corrections, additions or changes to my answers that I

 ·6· ·deem necessary.

 ·7· · · · · · ·In witness thereof, I hereby subscribe my name

 ·8· ·this __________ day of _______________, 2018.

 ·9

 10· ·______________________________
 · · · · · · ·TOM S. NEUMAN, MD
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                                (312) 236-8352
    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 165 of 189

TOM NEUMAN                                                      July 25, 2018


                                                       Page 165
 · · · · · I, _____________________________, do hereby
 certify that I have read the foregoing statement and
 that, to the best of my knowledge, said statement is
 true and accurate (with the exception of the following
 changes listed below):
 PAGE· · LINE· · ·CHANGE TESTIMONY TO READ AS FOLLOWS:
 ____· · ____· · ·_______________________________________
 ____· · ____· · ·_______________________________________
 ____· · ____· · ·_______________________________________
 ____· · ____· · ·_______________________________________
 ____· · ____· · ·_______________________________________
 ____· · ____· · ·_______________________________________
 ____· · ____· · ·_______________________________________
 ____· · ____· · ·_______________________________________
 ____· · ____· · ·_______________________________________
 · · · · · · · · ·_______________________________________
 · · · · · · · · ·TOM S. NEUMAN, MD




                         U.S. Legal Support, Inc.
                              (312) 236-8352
    Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 166 of 189

TOM NEUMAN                                                      July 25, 2018


                                                       Page 166
 STATE OF CALIFORNIA· ·)
 · · · · · · · · · · · · · · ss
 COUNTY OF SAN DIEGO· ·)
 · · · · · I, NICOLE GALVIN, Certified Shorthand Reporter
 in and for the State of California, Certificate No.
 13826, do hereby certify:
 · · · · · That the witness in the foregoing deposition
 was by me first duly sworn to testify the truth, the
 whole truth, and nothing but the truth in the foregoing
 cause; that the deposition was taken before me at the
 time and place herein named; that said deposition was
 reported by me in shorthand and transcribed, through
 computer-aided transcription, under my direction; and
 that the foregoing transcript is a true record of the
 testimony elicited at proceedings had at said
 deposition.
 · · · · · I do further certify that I am a disinterested
 person and am in no way interested in the outcome of
 this action or connected with or related to any of the
 parties in this action or to their respective counsel.
 · · · · · In witness whereof, I have hereunto set my
 hand this 27th day of July, 2018.
 · · · · · Read and sign was requested.
 ______________________________
 NICOLE GALVIN, CSR NO. 13826




                         U.S. Legal Support, Inc.
                              (312) 236-8352
       Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 167 of 189

TOM NEUMAN                                                                               July 25, 2018
                                                                                   Index: $750..access

                        150  73:5 113:17        144:1                506 108:18 109:4
           $             127:24
                                               241 108:19            54 159:15                        A
                        16 140:6               25 5:1 9:15 26:12
 $750    87:4,7         165 61:4,20 63:13       57:19 72:21 114:13             6           A-A 21:11,14
                         72:25
                                               25-pound 73:15                              A.M. 5:2
           0            17 6:21,23                                   6-foot 149:14         abdomen 28:12
                                               26 134:11,12
                        170 40:5,12,25                                                      61:6,21
                                               2624 127:16           6.5 156:4
 04   123:18             42:19 45:23 53:4                                                  ability  42:25
                         60:14 71:10           28 89:13              62 159:17              44:21,23 58:12,14,
           1            175 73:6                                                            16 59:13 60:2,3,4,6,
                                               290 108:18
                                                                               7            16,17 74:9 75:11
                        180 75:5               2:00 78:20                                   77:4 78:12 154:8
 1 11:17 120:12
  156:19
                        19 9:24                                      7 88:1 89:5           abnormal       108:7
                        1974 11:12,16                   3                                   113:19
 10  18:1 21:16 24:3,                                                72 108:19 120:7
  5 26:24,25 39:25      1980 11:16                                                         abnormalities
  55:18 62:20 63:1,6                           3 156:19                                     97:1 125:16 129:25
  74:19 120:12,20,23
                        1980s 18:3                                             8            137:18 156:16
                                               30 33:11 43:15,20                            157:5
  121:3,18,25 122:1     1988 22:5 71:24         44:1 110:18 114:13
  125:14 127:2,4                                120:10 150:7         8 89:6                abnormality
  150:22,23,24 151:1    1990s 11:3
                                                                                            130:24
                                               350 40:1,3 112:11     8.1 125:16 132:3
 100                    1:06 5:2 163:22
      127:23,25                                                       156:4                absolute 75:15
  141:25                                       375 112:13
                                                                     85  19:7,14 21:20,    absolutely
 101 118:17 125:15               2             38 120:10              25 24:22 25:2         17:11 53:20 55:1
 102 120:7                                                                                  56:2 59:20,22 63:9
                        2 156:19                        4                      9
                                                                                            83:11 132:4 139:22
 108 120:7                                                                                  153:4
                        2.4 125:21,24
 11 120:19,23            132:5                 4 137:7 156:19                              absurdity
  121:1,18 122:1                                                     9 89:8                 149:24 150:24
  127:5                 20  9:13,15 21:15      40 123:21             9-inch 61:5
                         26:12,15,23,25                                                    academic       66:15
 12  26:25 74:17,18,     57:19 58:3            43 119:23 120:9       90 19:7,14 21:20       92:24
  19,23 75:7 87:13                                                    24:23 70:16 149:13
  120:7 125:24 126:7    200 75:5               45 123:21                                   academically
  127:3 129:17 130:3                           455 108:11            90-degree              6:1
                        2000 127:15                                   117:18
  136:9 139:9,11
                                               481 108:19                                  academician
                        2016 128:25                                  92 11:3                92:23
 120   18:4,6,14,15
                        2017 87:13 88:1        4th 152:14
  40:6,7                                                             93 11:3               academics
                         89:6,7 140:6                                                       64:21
 14  74:17,18,19,23                                                  94 10:2 120:8
  137:16                2018 5:1 6:9 89:13              5                                  accept 65:8
                                                                     95 9:25 19:6 21:4
 14:02     120:6        2100 136:12                                                        acceptable       96:8
  125:12                                       5 6:8 21:16 137:7     95-ish 24:14
                        212 108:17              156:19                                     accepting
 14:05 125:12,13                                                     96 10:2                151:19
                        225 28:11 72:19        50  72:21 74:15
 15 21:15 39:24          73:1,5,7,9,16 75:10    113:15,18 123:21     97 21:5               access    47:14
  40:17,18,19 45:22      77:25
                                               500  74:22 110:22     9:14 5:2               66:12 103:3
  47:2,22 49:11 50:8    24  125:24 126:7
  59:21 140:1                                   114:8 139:14
                         130:3 139:9,11



                                        U.S. Legal Support, Inc.
                                             (312) 236-8352
         Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 168 of 189

TOM NEUMAN                                                                                  July 25, 2018
                                                                                  Index: accident..assume

 accident    10:13        adversely      78:11   airway 155:3            ankles 117:8          150:16 162:10
  15:16 106:18             92:14 148:9
                                                 alive 146:21            annoyed 39:8         arrange 132:2
 accidents     12:18,     advertisement           147:17
  20 105:21 106:1
                                                                         answering            arrest 99:13
                          s 54:11                allegations              152:24 158:19        146:9,16 159:19,23
  107:3 112:20
                          advice 106:13,17        91:13 117:7                                  160:2,3 161:15
 account       27:15
                                                                         anticholinergic
  108:6                   advised 14:11          alleged 37:12            157:7               arrhythmia
                                                                                               91:14 132:13 154:9
 accurate 124:7           affect 42:25 77:25     alleging 151:18         anxious 105:9
                           78:11 84:8,10                                                      arterial  18:21
 accusing 104:18                                 allergies 120:6         anymore 51:20         23:25 46:6 47:9,12
                           90:10,13 92:14                                 75:16 78:16
 acidosis 132:8,9,         103:18 104:1 124:1    allowed 48:17                                 123:9
  11 133:13 139:12         144:23,25 145:3        88:16 106:20           apneic 119:19        artery    47:13
  144:5 155:23             147:22 158:8 159:3,   alter    44:20,22       apologize 59:25       111:3
  157:16 158:10            5 160:21 163:10,15     157:8                   82:15 117:24
  162:21
                                                                                              article 9:21
                          affected    49:4       altercation             apparently
 acknowledge               72:7 155:20            116:13,18               116:15 130:23
                                                                                              articles 8:20
  86:18                   affects   52:20                                 155:25 163:7        ascribe 108:13
                                                 altered     45:13
                                                                                               127:12
 actual    88:22           59:13 144:22                                  appearances
  142:16                   148:10                alveoli     20:10,11,
                                                                          5:25 7:10 8:21      aspect 95:16
                                                  12 47:13
 acute   127:6            afraid 82:22 96:18                             applied    19:3      asphyxia 9:19
  137:19 140:13
                                                 amateurish               59:16 102:12         10:23,24 13:4,25
                          agencies 65:16,         62:22
  157:2                    17 67:22,25 68:20                                                   14:23 27:25 29:14
                                                                         appreciably
 add 28:9                  69:2,5                ambu 123:13              6:16
                                                                                               31:5 35:19,25 36:3,
                                                                                               16,20,21 37:10,12,
 added 18:23              agency 69:11           ambulance               approach 12:13        16 65:3 68:2 79:5,6
                                                  37:25 161:25
                          agent 137:12                                                         100:9 106:5 108:25
 addiction 44:13                                                         approached
                                                 American        31:17
                                                                          10:5 11:1 13:4
                                                                                               115:8 140:24 144:9
 adding 101:4             agitated 116:8,         53:11                                        148:17,18 152:19
                           12 126:15 153:11                               14:25 29:3 64:25
                                                                                               155:1,9,13 158:12
 additional 35:22                                amount     10:9          69:10,13,15,17,18
  89:20 133:15            agitation   126:13      17:19 38:4 54:2                             asphyxial 152:4
  156:23                   129:19 137:9                                  approved 39:17
                                                  60:18,19 62:5,6,13
                           142:15                                                             asphyxiate
 address       12:13
                                                  68:9,12 72:22 73:1     approximate           31:25 155:22
                          agree    9:9,11 29:9    76:20 77:25 79:2        92:2
  48:24 49:1
                           55:7 59:10 61:8,9      99:14,16 146:13                             asphyxiated
 addressed         14:7                           151:16
                                                                         approximately         79:7,8,15,17,18
                           66:25 84:13 98:4                               45:24 85:6 91:24
  35:14                    117:14 118:13,15      amounts 110:16                               asphyxiation
 adjust    57:17           123:24 127:10                                 argue   107:10
                                                                                               28:22 71:20 72:8
  80:18                    130:13 134:3,14       anaerobic 80:1           114:6 136:20
                                                                                               146:9
                           156:1 158:7 160:5                              138:13 157:4
 Administration                                  analogy 151:10                               assessing 21:10
                          agreed    30:5                                 arguing 30:19
  7:16                                           analysis 116:3                               assessment
                           32:12 98:3 129:4       122:20 136:5           argument
 admission                 137:22                                                              23:4,6
                                                                          136:23
  136:9                                          and/or      100:24
                                                                                              assisting 10:12
                          agreement 33:9          117:4                  arguments 83:4
 admitted 34:11                                                                               association
                          air 20:11,15,25        anesthesiologi          arise 38:10
 Admittedly                21:1 41:20 57:7,10,                                                 21:13
  128:21                   11,23 123:16,17       st 18:18                arm 139:16           assume     15:23
 advanced        125:7     154:4 159:9           angle 117:18            arms 47:13,15         30:23 41:16 42:11,




                                         U.S. Legal Support, Inc.
                                              (312) 236-8352
         Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 169 of 189

TOM NEUMAN                                                                                  July 25, 2018
                                                                                    Index: assuming..blue

  12 63:25 67:24           133:25 135:5          bag   73:14,15         began 32:25 37:2       bill 86:21
  86:24 98:23 99:8         136:10 137:17          123:13 125:7
  100:17 123:1             157:24 158:4
                                                                        begin 29:16 32:23      billing 86:13
                                                 bags 73:15              162:13
 assuming                 average     40:13
                                                                                               bills 86:19,22
  30:14,16,18 60:15        57:4 112:11 127:21,
                                                 band 54:16             beginning 57:16        biochemically
  87:14 98:21 150:22       25 128:1 136:19,21    barely 57:23           behaving 126:23         135:4
  151:21 155:18
                          aware 146:13,18        barred 106:20          behavior 90:20,        bit 5:20 7:5,6 15:7
 asthma     54:6                                                         24,25 113:23 116:9,    20:11 22:3 23:17
  55:8,12,16,17,21
                          awful 163:5            barrier 128:13          12 119:10 126:21       43:16 80:7,21 95:7
  56:1,4 57:2,5,21        axis 102:13            base 135:25             137:8,9 142:17,19      100:25 101:5
  58:13,25 59:2,7                                 146:17                                        105:10 158:1
                                                                        behavioral
 asthmatic      55:22               B            based    16:6,23        137:1,12              bite 107:4
  56:8 57:4,6 72:13                               30:7,8 55:10,11
                                                  56:18 69:5,21 79:15
                                                                        behold       109:11    bizarrely 126:23
 asthmatics               baby     41:19
  72:9,12
                                                  94:12 98:15 99:9      being's      102:19    black 134:12
                          back    8:5 24:14       105:21 106:1 129:8     103:9                  160:12
 astronomer                28:11 29:12 34:8       131:5,22 135:14
  86:1                                            144:9 153:7
                                                                        beings       102:9     Blackmore
                           38:2,5,7 45:20                                103:4,5,6              14:10
 Atmospheric               47:15 53:19,22        baseline     25:10
  7:16                     55:18 59:1,18 61:5,    41:1 46:1 125:25
                                                                        believed    16:23      Blackstone
                           20 63:14 65:9,10                              29:19,21 30:10         14:10
 attack      100:15,17,    72:18 73:8,17,19,20   basic   83:11
  21                                              111:25 157:8
                                                                        believes    118:8      bladder    96:19
                           76:2 91:4 112:22
                                                                         133:18 141:20          97:5
 attempt 23:22             117:1,2,4 118:10,20
                                                 basically    7:3
                           121:23 124:20,23
                                                  13:23 14:18 43:4
                                                                        bell 109:2             blank 19:7
 attempting 89:3           137:24 140:20
                                                  51:22 66:10 81:21     belly 53:19 150:8,     blocking 14:9
                           141:6 145:16,18
 attendants                                       95:6 111:8 113:4       14,19
  37:25
                           146:1,6 147:4
                                                  141:14 155:7
                                                                                               blood 18:21 20:9,
                           148:14,21 149:10,                            Benadryl     90:22      10,12,16,17,22,23
 attended       15:21      11 150:16 151:15      basis   14:16 27:25     129:23 136:7           21:7 23:7,20 28:6
                           154:11 156:20          35:12 112:14,25                               46:7,8,20,21,23
 attention      91:9
                                                  152:21
                                                                        bend   146:2
                           158:17 160:16,24,                                                    47:3 49:7,8 69:1
  135:24                                                                 150:11,15
                           25                                                                   92:10 95:5,8,20,23
                                                 beans 68:16
 attorney    10:5,7                                                     benefit 108:15          96:5,8,9,12,14,17,
  13:4 28:19,24 85:5
                          background             beard 27:24                                    25 97:2,25 98:1,17
                           5:21 14:17                                   bent 119:15             99:11,15,17,19
 attorneys 69:12                                 beat 97:22 103:19
                          backs     74:11
                                                  153:12
                                                                        Betty 77:19             102:2 103:25
 August 88:1               75:10                                                                110:15 111:1 120:7
  89:5,6,8                                       beaten 140:3           bias 94:3,8,10          123:8 124:9 125:22
                          backseat 118:21
 author      51:18,19,                           beating 124:4          bicycle 40:2            128:7,14,15 136:10
                          bad 14:19 16:1,5,                                                     139:18 144:2
  21
                           6,7,24 42:17 104:5,
                                                  133:23 134:5,6        bifurcated 74:12        153:13,16,17
                                                  135:2 139:22           76:13 84:15
 automatically             6,8,11 118:17
                                                  143:14,25 144:2,5
                                                                                                159:22 160:4,7,10
  86:20                    155:23 157:18                                big  25:12 32:13        161:17,18,19
                                                 beats 45:23             36:21 41:21 54:15      163:11
 autopsies     10:13      Baden    145:15
                                                                         73:2 74:16 75:2,8,    blow
  12:16 15:16,21           146:5 157:20,21       bed 36:7,11,14                                       41:19,20
                                                                         11 83:24 97:2          57:6,12
  134:20                   160:15                 150:18 151:11
                                                                         145:12
 autopsy     15:19        Baden's    126:14      beds 36:4                                     blue  57:22 134:12
  105:19 111:24            134:10 158:7
                                                                        bigger    41:21,23      160:12
  112:7,18 118:1,3
                                                 beet 137:5              85:7 112:3 122:9
                                                                         133:5




                                           U.S. Legal Support, Inc.
                                                (312) 236-8352
       Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 170 of 189

TOM NEUMAN                                                                                   July 25, 2018
                                                                                       Index: BMI..chronic

 BMI 43:15 44:1           54:7 56:5 60:18,19     called   10:15         carpet    61:6,21       certificate
                          62:21,22,23,25 63:7     12:12 20:21 21:3,11    72:25                   106:15
 board 8:9 47:14          74:15,17,18,20,24       33:6 36:20 57:6
  48:3,4 55:2,3
                          76:6,7,20 79:2          70:7 87:23 106:11
                                                                        carried   27:24         certifying 27:21
                                                                         146:15 151:14
 body    53:2 59:12,      83:23,25 92:4           110:7,9 125:1 142:2                           CEW 116:19
  14,17 65:6 80:18,19     119:20 123:18           161:9                 cart 66:13
  92:4 101:16,23          135:13 146:10,22
                                                                                                chair 49:17
                                                 calling 142:23         case 10:14,17,23
  108:17,19               147:18,19 160:22
                                                                         11:1 13:17,22 16:2,
                                                                                                Chan 50:25 92:21
                          162:20                 capacity 75:6
 bodybuilder                                      76:8
                                                                         5 29:4 33:5 34:10      chance 26:1,4
  80:14,22               breaths 120:7                                   37:11 38:25 43:10       31:1 54:20 131:24
                         breeding 133:23         car  12:20 36:22        44:8,13 58:18,20,21
 bone 137:6                                       112:19 118:21          59:1,4,21,23 69:15
                                                                                                change     32:18
                                                                                                 50:18 78:10 79:20
 book 5:25               briefly 90:4 95:15       119:3,6,10 124:20      72:3 84:17 86:8
                                                                                                 99:23 110:25 111:1,
                                                  146:1,18,19,20,24      92:18,19 100:6,7
 borderline 96:8         bring 68:22 86:13        147:4,21 148:14,21     104:3,23 106:21
                                                                                                 4 131:1 141:21
                          129:20                                                                 158:6,11
 borrowed 17:24                                   149:10,15 151:15,      108:2 116:3 126:11
  18:17                  broad     75:2           25 155:18              128:22 133:24          chapters 6:1
                          104:24                                         144:10 146:11
 bothered 42:24                                  carbon     20:16
                                                                         159:8                  characterizatio
                         brought       60:5       23:6 46:8 49:8 55:2                           n 44:10
 bottom 20:22             82:16                   58:11 123:5,13,17     cases    13:17,24
  21:2 121:1,3 123:2,                                                    14:1 16:3 69:8 85:3,   characterize
  15                     BS 104:21               cardiac    83:6
                                                                         6,9,10,14,22 100:8      141:21
                                                  91:14 95:2 98:2
 bought 68:24            bunch 16:3 32:14         99:13,25 107:6,23     casts 144:3             characterizing
                          64:6 75:14 104:19,                                                     133:9
 boy 91:6 93:17           20
                                                  108:3 111:10
                                                                        categorize
                                                  113:16,21,22
 brain 8:6 141:22                                                        43:17                  charged 34:5
                         bunk 104:19              114:11,19 125:7
  155:11                                          131:20,25 142:10,     category     25:12      charging 8:14
                         buried 102:25            11 154:9 160:2
 bread     18:19                                                         75:8 83:24 160:9,25
                                                                                                chart 120:14
                         burn 101:20 102:4       cardiologist           catheter
 break     5:16 23:16                                                               23:25
                                                                                                check 24:5 86:6
  34:14                  burning 77:3             94:16 115:11           46:15,17 47:9,11,
                                                                                                 95:20
                                                  144:25                 12,15
 breakdown               business 22:19                                                         chemical     99:14,
  127:9 128:3,4,6,9       25:8                   cardiologist's         catheters      46:6
                                                                                                 16,19,20,21 125:22
  133:19,22                                       144:23                 78:15 123:9
                         buttocks 70:17                                                          142:17
 breath   83:23                                  cardiology 15:6        causal 105:3            chemistry 92:7
  123:14 150:25
                         buy 127:4 143:4
                                                 cardiomyopath          causative 90:25         chest 36:10 54:15
 breathe    43:1                                 y 115:20                91:1
                                                                                                 75:3 102:19 154:7,
  44:21,23 60:22                   C
                                                 cardiopulmona          caused     58:9,10       10
  62:12 75:3,6,7,11,                                                     83:5,6 95:6,11
  12 76:2 78:22          cake 18:25              ry 146:9                                       Chicago 52:7
                                                                         113:21 126:12
  83:20,22 84:9,11                                                                              chief 14:2,8 51:1
                         calibrated       40:1   cardiovascular          130:2 132:20,21
  149:4 151:1 155:11                                                     133:18,21,22 134:3
                                                  44:18 107:25
  160:6                  California    5:1                                                      child 14:19
                                                  143:21                 140:18
 breathes      153:12,    12:23 29:7 30:2                                                       chin 48:15
                          51:4 66:14             care     147:2,11      causing    17:23
  18                                                                     104:19 142:13          choking 150:1
                                                  148:5
 breathing     7:20,     call  8:12 20:20
                          36:9,10 100:20         career 105:12          caveman 19:22           chomping
  21 9:7 14:14,25                                                                                105:10
  16:10 23:5,8 25:7       125:22 153:24          carefully 94:7         central 141:14
  47:3 48:12 52:13,16     157:13,14               134:1                                         chronic    54:9,10
                                                                                                 55:19



                                          U.S. Legal Support, Inc.
                                               (312) 236-8352
      Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 171 of 189

TOM NEUMAN                                                                                 July 25, 2018
                                                                                  Index: circa..coronary

 circa 22:5 71:24        78:17,23 79:1,18,20     31:23 41:13 51:11       115:22                 153:21 154:16
                         80:1 120:9,10
 circulation             122:25 123:1,2,3,6
                                                complicated             confined     145:21,   contacted      8:11
  119:22 124:4,6,9,17                            162:3                   23                     35:16 69:4 87:19
                         124:1,7,11,13
  125:4,10,11 158:23
  160:3
                         158:24 159:4,10,24     component               congenital             contacts 103:2
                                                 31:8,10 71:16 74:6      110:5,6
                        cocaine 84:9                                                           contained
 circumstance
  27:22 76:5 102:16     coercive 68:11,         comport 159:24          conjunction             121:25
                                                                         100:7
  103:11                 13                     compress 28:11                                 continue 137:10
 circumstances          coffee                                          connected
                                    23:17       compressed               117:8
                                                                                               continued 83:19
  20:19 21:5,15 70:8,    34:15                   21:1                                           118:21 144:13,15
  9 105:22 106:19
                        cold 52:17,18           compressive             conscious               146:19
  128:11,19 146:21                                                       149:17
  153:21 154:16,17,     Columbus                 36:20                                         continues 98:10
  18 162:15              85:24                  computer        86:20
                                                                        consciousnes           contract 29:7
                                                 90:4                   s 127:6                 30:1 39:1,2 51:5
 cities 93:7            column 26:4,24
                                                conceivably             consent 42:20,         contraction
 city 10:7 32:20        columns 26:13                                    24
                                                 131:1                                          95:10,11 122:10
  33:10 86:6,9
                        combination             concentration           consequence            contracts 83:17
 CK   127:13,14          71:14                                           130:9
                                                 136:12,18,21,22,24
  128:6,8,12,23,25
                        Combitube                                                              contribute
  129:8,9,12,24 130:4                           concepts 9:1            consequences            143:24
                         159:13                                          90:24
  139:19,24 143:16,
  22                    comment                 concerned                                      contributed
                                                 11:24 36:18 44:15      considerably            115:6 131:19,23
                         115:14 145:15
 classic 36:2                                    55:1 58:11,18 83:12     113:11                 140:19 151:23
                         149:1,3,5 157:11
                                                 115:20 130:7           consideration
 classifications                                                                               contributory
                        committee                                        27:21
  54:14
                         11:20 38:20 39:5,12
                                                conclude 123:5                                  115:2,4
 Clauson 51:10           106:18                 concluded               considered             control    70:10,11
                                                 13:13 14:5 109:14,      158:5,6                71:4 74:2 94:2
 clean 161:17           common         131:8
                                                 17 137:19 163:23       consistent              96:19 97:5 98:11
 clear 82:8 126:18      compare      76:1                                126:20 157:6           101:9
  149:8 161:13           98:11 121:8,10
                                                conclusion
                                                 52:25 159:25           constant 93:22         controversy
 climb    36:13,14      compared        24:10                                                   12:6
                         52:3 98:8,9
                                                concurrent 81:3         constricting
 Clinic   110:23                                                         52:23                 CONV 87:13
  111:9                 comparing               concussion
                         117:22
                                                 155:5                  constrictive           conversation
 clinical   105:15,                                                      53:3                   87:14 88:13 89:10,
  21,22,23,25 108:2     comparison              condition       43:12
                                                                                                15 130:25
                                                 44:12 161:23           consultation
  131:4 137:3            49:14,15
                                                                         7:4,6,8,9,12 107:23   conversations
 clinically      54:1   complaint 22:17         conditions                                      88:11
                                                 44:25 45:2,16,18       consultations
  75:9 113:20
                        completed                55:9 84:14              8:15                  COPD 54:12
 close   45:11           51:24
  110:14 136:19,20
                                                conducted               consulted       8:10   cops 70:24 96:4,
                        completely               15:18                   43:8                   11,13,23,24
 closed 146:25           35:25 140:14
                                                conducting              consumables            copy      17:4 120:2,3
 closes 110:13,14       complex     51:13        108:5                   66:22                  163:20
                         122:5,12,15,17
 CO2 23:19,20 24:1                              conduction              consumption            coronary       111:3
  46:19 56:21,24,25     complexities             102:20,21,23,24         76:21 77:4 84:18




                                       U.S. Legal Support, Inc.
                                            (312) 236-8352
       Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 172 of 189

TOM NEUMAN                                                                           July 25, 2018
                                                                         Index: Coroner's..dialing

 Coroner's 11:20        critical  110:24       day   52:25 87:9       decrease       19:17    depended 73:2
                         111:2 114:3 154:24     88:10,12 156:3         20:2
 correct 13:4,5                                                                               depending
  15:9,10,12,19,20      criticality 162:24     days 127:6 136:11      decreased                74:23
  23:19 28:14,15                                                       154:18,19,21,22
  29:13 32:11 37:8
                        criticism 39:12        dead 112:1                                     depends      41:11
                         93:22                                        decrement                55:25 57:20 127:22
  42:11 44:14 50:13                            deadweight              53:23 154:22            160:23
  59:3 62:7 63:21       criticize 93:23         73:9,11
  67:22 84:3 85:19                                                    deemed 111:5            deposition      34:2
  87:20,22 89:16,19
                        crushed 161:6          deal   17:22 25:12
                                                                                               63:23 87:7,9 88:5
                                                29:5,6 37:9 57:3      defect 54:16,17
  90:11 94:17,20 98:2   culminates              63:14 74:16 75:8
                                                                                               118:2,5,7 148:4,15
  103:7,10 107:8         154:9
                                                82:20 83:24 135:17
                                                                      defend 10:17             157:1 163:22
  116:3,20,21 118:24
  119:4,9,12 120:11,    cup 23:17 34:15         154:12                defense 33:6            depositions
                                                                       85:13                   5:14
  15 129:4 134:11       curiosity 92:17        dealing   28:8
  136:2,6 137:25                                111:25 117:11         define    41:11,12      describe 120:13
  145:10,19 148:18,     curious 89:24                                  49:6 57:1 60:3
  19 149:20 155:21                             deals      107:2                               description
                        current 6:13                                   76:19 107:12
                                                                                               108:9
  160:22                                       death    12:21 15:15    111:17
                        curve 21:13 92:24       27:22 37:12,13                                design 39:22
 correction                                                           definition      43:19
  34:13                 custody 37:12,          91:12,14 92:15
                                                                       139:7 141:8            designed 22:6
                         13 137:21              95:25 96:2 97:22
 correctly 46:15                                                                               113:5
                                                98:2,6,18 99:12,25    degree    20:20
                        cut  29:7 30:1 89:2     100:19,24 101:3,8,     49:3 57:16 77:14,24    designs 81:13
 correlation 58:7        160:11                 12 104:19 105:4,14,    79:3 99:18,23
 count 9:14 92:1                                                                              detail 158:19
                        CV   5:21 6:5,7,10,     16,20,23 106:1,7,9,    129:6,7 139:7
 counted 8:19            13 8:18 9:10 67:19     10,12,14,15,18
                                                                      degrees     70:16
                                                                                              details 50:14
                         77:20 93:3             108:25 113:16,21                               99:20 154:13,24
                                                                       149:13
 country 12:11                                  114:5 115:3,7
                                                129:13 130:15         DEL 5:1                 detect 121:20
 county 10:7,8,9                   D
  11:8,9,20 12:10,15
                                                133:6 136:15
                                                                      delay 162:1,14          determine 126:5
                                                137:11 140:3,19                                134:15 135:7
  14:8 39:1 106:14
                        Dalane     109:10       142:7,8,10,25         delirious 116:9,
 couple    26:13                                143:3,8,14,24          12
                                                                                              determined
                         111:8                                                                 119:22
  82:19 102:3                                   149:21 150:23
                        damage      101:16,     151:23 152:3,6        delirium    90:18,
 court   16:16 34:2                                                    20 129:24 140:21
                                                                                              develop     125:25
                         19,20,21,22 102:3,     155:20 157:9,13                                126:1 130:9
  41:23 66:4 85:13       5,7 103:9 134:11,15                           141:8,9 142:7,11,
                                                158:12 163:3
  87:5 94:13             135:1,8,23 138:24                             14,16,25 143:2,3,6,    Development
                         139:2,4,5,23          deaths    10:10         7,11,13 156:24          11:17
 CPK    127:15,16,21
                                                12:8,14,18,19,20       157:2,14
  139:6,14,17 157:4,    damaged 128:12          13:9,12,18 14:5,6                             device   117:9
  22
                                                17:12 67:13 112:19    Delphi 12:13             123:11,12
                        dangerous
 CPR    122:8 123:25     28:18 38:22 132:6
                                                134:20                demanded                devil 154:13
  124:5 125:5,12                                                       129:19
                        darts 83:18            Debra 141:19                                   diagnoses
 creatinine                                    decedent 44:12         dementia 36:5            105:25
  125:21,23,24          data 8:9 63:15
  126:18 127:18          64:23 82:4 122:19     decided 16:1           demographic             diagnosis
  132:5 144:4 157:4,     144:23,25                                     104:25                  105:23 108:2 127:7,
                                               decision 110:25                                 10 129:4,7 131:4
  22                    date 6:5,6 86:12                              department
                                               decompressio                                    142:23
 creeped 94:8                                                          51:1 56:5 81:22
                        dated 6:8 140:6        n 9:2 67:14             96:16                  dialing   141:14
 criteria 31:16
  53:12



                                       U.S. Legal Support, Inc.
                                            (312) 236-8352
        Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 173 of 189

TOM NEUMAN                                                                          July 25, 2018
                                                                      Index: dialysis..employment

 dialysis 129:3         direction     27:7,      21:7                 drunk 155:8,9          educational
                         13 48:21                                                             5:22
 diaphysis 55:22                                disturbance           dry 137:6
                        directions 41:20         108:4                                       Edwards 107:24
 dictate 157:18                                                       DSMB 7:23 8:3,8
 die 42:22 52:18        directly 45:16          dive 7:19             due 13:25 129:16       effect 31:6,14,24,
                         46:7,19 137:11                                                       25 41:5 60:7,9
  55:21 143:10                                  divers 108:25          142:17 157:23
                                                                                              83:11,13 91:1,10
 died   13:21 43:11
                        disagree     44:10
                                                divide 46:22          duh 60:21               95:13
                         115:11 131:20
  100:4 101:8,10
                         133:3,4 145:2,22       diving 7:19 8:21      dulled 155:4           effective 12:8
  110:22 111:9
                         153:9                   9:2,5,10,11 10:13
  112:19 114:21                                                       duly 5:5               effects 13:14
                                                 11:17,18,21,24
  118:8,11 127:6        disagreeing                                                           27:19 74:8 75:11
  131:15 137:19          133:7
                                                 12:18 15:16 52:6     duplicated              92:3 94:18 95:1
                                                 67:8,12,13 105:21     34:22 35:11 37:5
  156:1,3                                                                                     97:15,17
                        disagreement             106:1,18 107:3
 Diego    10:15,17       133:9 142:21            139:16
                                                                      dying 17:10            EKG      95:13 121:16
  11:10,11,18,20
                        disappeared             doctor    5:10 7:2
                                                                      dynamics 111:1,         122:2
  14:2,8 29:8 39:2                                                     4
  51:4
                         97:1                    28:24 30:7 40:15                            elapsed 146:14
                        discharges              doctrine 113:2        dysrhythmia            elastic 54:15
 dies 100:15                                                           108:3 113:21,23
                         116:19
 differ 130:21                                  document 87:12         114:1,2,21,22         elderly 36:3
                        discontinued             88:2 89:6,7,9,12      130:18 131:5,8,15
                                                                                             electrical 102:23
 difference 18:25        125:12                  107:21                142:10,12,14,16,18,
                                                                                              103:2 108:5
  26:15,16 27:8                                                        20
                        discovered              documents
  37:19,24 38:1,12
                         113:10 119:17           82:14 89:18,20
                                                                                             electrocardiog
  50:1,3,6 56:2 62:11                                                                        ram 92:9
                                                 90:2,9,13                     E
  70:18 72:4 77:9       discriminate
  90:15,19 114:20        42:10                  DOD 8:1,2                                    electronically
  117:19,21 121:20,                                                                           88:23
                        discuss 116:17          Don 17:18 25:19       ear 18:16
  24 128:2 131:3                                                                             elevated    95:21,
                                                 27:7,17 28:2 39:25   earlier 67:15
  151:6,7,9 154:20      discussed 44:5                                                        23 127:13 139:14,
  163:2                  140:2 156:5 157:12,    Donald 13:8 16:8      earliest 127:1          17,19 153:13
                         25
 differences                                    door 33:15            Early 11:3              157:22
  53:17                 discussion                                                           elevation    130:4
                         24:20 28:16 150:21
                                                doors 146:25          earn 7:7
 differential                                                                                 139:24 157:4
  49:23                 disease    42:17
                                                doubt 108:15          earth 85:25
                                                                                             else's 61:7
 difficult 107:12        44:17,18 54:9,10       dozen 92:1,2,16       easier 14:14
                         57:10 59:2 107:25                                                   embarrassmen
 difficulty 56:8         110:24 111:3,12,13
                                                draft 89:13,14        easiest 127:12         t 65:15 66:3
 Dimayo 112:9,17         112:9,21 155:5         draw 139:18           easily 62:8            emergency
 Dimayo's 114:6         disorder      103:16,   dressed 31:18         East 8:5                15:5 51:1 56:5
                         17                                                                   142:22
 dioxide 20:16                                  drive 155:3           edge 101:9 163:3
                        disorders                                                            emotionally
  23:7 46:8 49:8 55:2
                         141:12,13              drowning 67:14        edition 152:11          84:20
  58:11 123:5,13,17
                        dissection              drug 44:13 103:24     EDS 157:6              emphasis
 diphenhydrami                                   141:10
                         115:21                                       educate 62:18           133:17
 ne 136:11 137:4,20                             drugs    42:21,22
  157:7                 distinct     141:18,                          education 98:16        employed       7:2
                         20                      44:22 84:9 103:14
                                                                       99:9                   67:4
 direct   157:24                                 137:4 141:24
  158:4                 Distribution             156:13                                      employment



                                       U.S. Legal Support, Inc.
                                            (312) 236-8352
       Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 174 of 189

TOM NEUMAN                                                                              July 25, 2018
                                                                                  Index: EMS..factors

  7:4 8:17 12:4,22       145:1,6 155:25      examine     94:7        18 132:15 153:18,     expiration
                         157:1 158:5          145:8                  22,24,25               123:20
 EMS      161:8,14
  163:8                 Eserman's            examined 5:6           exercised      18:3,   explain    19:25
                         117:25 145:5                                14 24:7 39:25          20:8 29:1,2 75:21
 end   123:12,14                             examiner 14:9           46:10,11,14 56:13      78:18 105:17
  141:23                esophagus             106:15
                                                                     75:17,18,19 77:8       110:11,12 127:20
                         159:9
 end-tidal    78:17                          examiner's              103:15,24              137:8 143:5
  79:1 120:9,10         essence     16:1      10:8,10 11:8,13
                                                                    exercises 80:10        explained     8:25
  122:25 123:1,6         36:14 103:3 113:6    12:15
                                                                                            81:21
  124:7,11,13                                                       exercising 18:5,
                        essentially          excellent 94:9          15 19:3,5,10 22:7,    extensive     14:24
 endotracheal            45:19 123:17
  123:12                 143:11 148:15
                                             exception 93:11         22 23:1,6 25:14        89:8
                                                                     69:1 71:25 77:6
                         149:20              excess 113:18                                 extensively
 enforcement                                                        exert 76:23             90:23
  64:20                 established          exchange 7:20,
                         12:9                 24 9:4,8 16:10        exertion 133:15        extent   35:18 49:4
 England 72:24                                17:21 20:2 21:19       137:9 140:20           50:12 141:15
                        estimate 146:23
 enlarged 113:20                              49:3                   142:15 154:1
                                                                                           external 45:10
  114:24 131:21         Etco2 119:22                                 155:22
  139:12 143:8
                                             excited    90:18,20
                                                                                           extra 93:2 120:3
                        etiology 113:22       107:1,2 129:23        exist 24:1
 entity 141:18,20       evaluated             140:21 141:8,9
                                                                    existed 141:25         extraordinarily
                                              142:1,6,11,14,25                              27:3 53:11 99:25
 enzyme 127:19           104:24
                                              143:2,3,5,7,11,13     exists 28:1,5           105:2
 enzymes 92:10          evaluating            156:24 157:2,14        36:16 38:8 110:15
                                                                                           extrapolatable
  95:5 102:2             10:12
                                             exclude    55:16       expect    56:2,6,18     45:6,10,16 84:15
 epinephrin             evaluation            72:9 111:12,13,14      58:4,5
                                                                                           extreme    141:23
  125:5,8                25:19 108:1 139:4    112:8,21 119:1
                                                                    expectation             142:15 149:24
 equalizes 20:6         evens 21:8           excluded     96:14      33:7
                                              110:20,24 111:10
 Equally 113:12         event 17:22 127:3     112:23
                                                                    expected 53:20                   F
                         143:22
 equate 101:4                                excluding 112:7        experience 35:1
                        events    130:10                             98:16 99:9 108:22     face 48:2 161:5
 equating 101:16         131:6 144:10        Excuse 102:5            134:21,22
 equation 35:7                                135:5                                        facedown 47:23
                        evidence     55:22                          experiment              48:1,2,8 53:4 59:20
 equipment               59:1 104:7,10       exercise     16:10      9:19,22 13:13 29:6     117:4 148:21 162:8
  66:22                  125:22 126:15,18     19:12,16,18,20         35:9,12,14,16 39:9
                         133:24 134:9         20:2,3 21:6,16,18,                           facility 68:23
 equivalent                                   25 22:16,17 23:2,3
                                                                    experimental
  100:20
                         138:24 139:1
                                                                     18:3 28:2,6 39:22     fact 30:10 39:10
                         145:17 146:11        24:21 35:9 40:10                              53:17,21 55:16
                                                                     59:23,25 102:11
 ergometer      40:2,    157:24 158:4         42:18,22 46:3,4,16                            70:13 78:4 93:8
  19 45:23 49:19 56:9                         55:20 56:14 60:8,     experiments             94:8 113:19 124:24,
                        exacerbated           10,20,21,22,25         32:1 81:13
  71:10                                                                                     25 125:1 135:7
                         137:20 143:14
                                              61:1,24 62:3,4,5,12                           145:1 147:3,20
 erroneously                                                        expert    7:9 8:15
                        exact   48:25 73:3    63:10,12 66:12
                                                                     10:14 16:11 29:11      148:17
  22:23                                       71:12 72:1 75:15,
                         78:6 86:12 114:6
 error 24:19             117:11 126:17        16,25 76:10,11,19,
                                                                     33:1 34:9 38:25       factor   115:3,4
                                                                     63:20 106:21 138:3,    129:13 130:15
                         130:10               22,23,24 77:15,17
 Eserman 90:18                                78:1,2,5 79:3,9,12,
                                                                     4                      132:12 133:5,7,11
  108:1,12 118:7        EXAMINATION           25 80:7,8,15,21       experts    51:14        136:15
  130:13,22,25 133:3,    5:8                  82:5,20 95:7,8
  17 135:6,21 137:17
                                                                                           factors   64:12
                                              99:18 100:25 101:5,



                                     U.S. Legal Support, Inc.
                                          (312) 236-8352
         Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 175 of 189

TOM NEUMAN                                                                                July 25, 2018
                                                                                     Index: facts..give

  133:8,15 144:11      fatalities   11:19,     147:12 151:21         followers 35:22         49:2 50:18 51:10,
                        21                                                                   12,15 52:2,20
 facts 43:10 158:21                           finish   22:10 30:12   foramen 110:9,          53:10,16,18,23
                       fee  29:4,5,6 32:7      62:9 66:1              17 111:2
 factual 147:25         33:9 34:5
                                                                                             54:4,24,25 70:8,18
 faculty 12:23                                finished    7:25       forced 56:12            75:1 78:10 83:8,12
                       feedback 141:15         31:21 63:18                                   95:2 107:12 117:22
                                                                     forensic 105:19
 failure 113:25        feel 48:18             finishing 7:22
                                                                                             140:7
  118:16 126:4,6,12                                                  forget 23:12 90:6,     functions      51:14
  127:7 129:2,16,25    feet 149:12            firemen 97:10           9 98:21
                                                                                             154:9
  130:3,9,11 132:7,
  15,17,18,21 139:9,
                       fellow 13:8 51:9       firm 86:5              forgot   27:4 29:11
                                                                                            fundamental
                                                                      47:17 64:24 68:9
  25 140:12,13,17,18   fellowship             firms 93:7              110:23 112:12
                                                                                             9:3 35:11 44:21
  156:12,18 157:15      31:22
  158:9
                                              fisherman 32:22         126:16 127:16         fundamentally
                       felt 45:15 64:12                               132:9 138:10 142:1     44:23
 fair 10:9 24:2         133:5
                                              fit 52:5
                                                                     forgotten 65:22        funny     97:14
  29:24 30:6 32:3
                       females 80:20          fitness 7:19
  38:11 58:7 79:20                                                   form 123:1 151:24      future    144:23
  80:17 84:12 91:4     fibrillation           fits 123:12             159:7,13
  103:6,20 105:5        102:15                fixation 108:13        formal 15:17
  117:17 151:5 152:5                                                                                  G
  153:6 154:3 155:14   field  10:3 30:8       fixed 108:10           formalin 108:10,
                        44:25 45:1,2,16,18
 fairly    109:1        62:1
                                              flap 110:14             13                    gain 47:14 103:3
  158:18                                      flat 85:25             formed 110:8           Gary 50:25 51:6
                       fight  32:13 75:22,
 fake 70:11                                                                                  81:8 92:20 93:15
                        24 146:19 160:11      flat-out 19:14         found 15:1 72:24
 fall 23:1 54:20       fighting   144:12      flaw 22:9,11 35:5
                                                                      83:19 107:21,23       gas   7:20,24 9:4,7
                                                                      119:18 124:23          16:10 17:21 18:21
  78:23 155:10          150:5 162:5            93:25 111:25           131:6 136:12 158:5     20:1 21:19 46:23
 fallen    57:19       file 82:16,18          flawed    29:23                                49:3
  101:10
                                                                     fourth 71:16 74:1
                                               30:15,21,24 33:18
                       fill 20:12,16                                 frame 147:9,20         gases    7:25 47:3
 falling 57:19                                 34:25 112:13,24
                                                                                             159:22 160:3
                       filtration 156:14                             Framingham
 falls 12:20 36:21,                           flaws     16:13,14
                                                                                            gave     8:12 63:23
  22                   final 131:7,8           135:13                 113:5,12
                                                                                             87:12
                        156:25
 falsely 22:23                                flexed   47:16,18      frequently     54:12
                       finalize 89:16          70:17 117:5,12,13      100:8 105:15,24
                                                                                            general    12:18
 familiar 36:1,17                                                                            37:16 39:12 54:4
  109:1 110:9          find 6:12 11:2 26:8    flight 78:20           friend 18:18            118:14
                        28:13,19 32:2 49:25
 family 32:17                                 flogged 40:9           friends 18:1,2,11      generally 57:10
                        50:17 51:25 53:1
 fancy 86:20            56:7 68:17 72:2       floor 45:3             front 82:14 91:23      generate 77:4
                        91:21 93:25 94:15,                            96:20,24 122:4         80:6 84:18
 fantasy 25:23          18,25 95:1,13         flow 21:7 57:6,14,
                        107:16,22 109:22       15,18 58:3,5          fuel 77:3              generated 86:19
 fashion 124:10
  160:17
                        116:2 120:4 133:12    flowing     20:9       full 51:20 73:5        germane 7:17
                                               111:1                  78:2,5 144:2           128:22
 fast  56:9 75:3
                       finding 96:4
  78:23                findings 77:23         flows 67:16            fully 110:13           gist 50:15
 faster  62:25 63:3,
                        79:4 97:2             follow 41:20           fun 88:15              give 13:25 20:4
                                                                                             22:22 42:20,23
  4 103:19 153:12      fine  22:12 23:18      follow-up 64:1,        function 31:11,
                                                                                             43:16 48:21 80:24
                        59:25 63:11 68:25      4,10                   14,19,23 41:2,14,17
 fatal    142:1                                                                              83:15 86:17 103:12
                        76:4 89:3 116:1                               43:4 45:25 46:1
                                                                                             106:12 108:15




                                    U.S. Legal Support, Inc.
                                         (312) 236-8352
         Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 176 of 189

TOM NEUMAN                                                                               July 25, 2018
                                                                               Index: giving..homicide

  109:20 116:2          gray 27:24             hanging 11:6,7          106:25 107:5,6,24     higher   84:18 98:6
  130:10 139:18                                                        108:1,5,8,10,11,12,    103:25 128:8
  143:16 152:25
                        great 7:1 9:9,16       happen 17:4             17,20 109:4,20
  153:4 159:12
                         17:21 56:8 154:12      22:5,13,14 25:3
                                                                       111:1,4,16,17,20
                                                                                             highest      17:18
                                                26:1,4 35:6 53:21                             76:18
 giving 123:25          greater 128:9           54:20 57:17 81:19
                                                                       112:24 113:11,14,
                                                                       18,19,20,24 114:2,    highly      118:19
 glad 93:17 99:21       greatest 18:19          97:7 103:4 126:19
                                                                       8,24,25 118:17         157:25
                                                128:23
 glaring 35:5           Gretna 86:9                                    124:4 130:24
                                                                                             history   5:22
                                               happened       19:8     131:21 133:10,14
 glomerular             gross 108:9 136:3       36:16 39:17,19 49:9    136:10 139:12
                                                                                              85:16 112:3 116:14
                                                                                              120:6
  156:14                group 11:17             97:8 99:6 143:25       140:2 143:8,9 145:2
                         66:10,18 70:21 71:4
                                               happening
                                                                       153:12 155:23         hit 101:10
 goal 62:17              74:2 80:21 94:2                               157:18
                                                25:13 159:14                                 hits 135:2
 goings 20:12                                                         hearts
                        groups      26:17
                                               happy     5:17
                                                                                42:17
                                                                                             Ho 93:19
 good 5:10 23:15         67:9,21
                                                104:14
                                                                       108:23 109:2,19,22,
  26:11 32:22 39:15
                        guess    42:9 53:5
                                                                       25 110:4,8,20,21,22   Ho's 94:9
  80:12 93:20 110:25                           hard   36:2 75:3,22,    111:5,9,19 112:3,10
  111:3 112:4 124:6
                         90:8 100:10 124:21
                                                24 76:12 129:15        113:6 143:12          hobble 28:8 70:7,
                         153:10                                                               15 71:14,15 72:3,4
  126:25 131:10,13                              160:23
                                                                      heavier 20:23           117:10,15
  139:13 155:22         gurney      48:7,9
                                               harder 160:6
  158:18                 162:6                                        heavily 62:23          hobbled       117:16
                                               hate 43:5              heavy 62:12 63:7        162:8
 gotcha 88:24           guy   27:24 32:19,
 gotta 6:12              22 75:2,4 81:11,13,   hatter 137:6           heels 47:19            hog-tie    19:13
                         18 93:19 131:21                                                      23:4 25:9,18,21
                                               head 48:10,11,14,      height 108:19
 government              149:14
                                                20 101:10 148:25
                                                                                              26:20 27:20 28:8
  7:13                                                                 109:17                 41:5 47:1,5,7,8
                        guys    68:20 78:13     149:1,16,17 155:2,
                                                                                              56:10 58:9,10 72:4
 governmental            88:6,7 92:24           4,12 161:2,3,4        heightened
                                                                                              75:23 76:15 77:22
  7:5 8:24                                                             153:13
                        gym 48:7,9             heads     44:4                                 82:7 117:14
 grab 115:25                                                          helping    50:19
                        gymnastic              health   43:12
                                                                       51:6 161:17
                                                                                             hog-tied    24:7
 Gradient 21:11,         80:20                  44:13,15 103:15,17                            25:16 31:7 47:7,25
  14                                            113:4                 helps 137:8             49:20 50:7 52:3,21
                        gymnasts       80:16
                                                                                              53:3,8,10,19,25
 graduate 80:8                                 healthy    42:13       hematoma                55:3 56:14 59:18,19
                                                43:2 56:21 74:2        134:1,23
 gram 109:12,16                    H            80:4,6 84:1,4,16
                                                                                              60:19 61:2,16,19
                                                                      hemoglobin              62:12 63:13 75:14,
 grams 108:11,18,                               96:4 97:20
                                                                       21:13                  15,17,18,19 76:24
  20 109:4 112:11       half  26:25 87:9       hear 45:8 88:15,16                             77:2,7,18 78:8,11
  113:15,18 114:9        88:1 89:6,8 92:1,2,                          hepatic 111:13          79:5,24 80:15,23,25
                         16 157:12             heard 10:23 13:3,      hey 32:1 68:20
 grant   11:4 12:3,5,
                                                6 14:22 110:11
                                                                                              82:2,8,22,25 83:3
  25 13:2 25:8,23       hand 20:25 56:3                                                       117:20 149:11
                                                119:5                 Hg 119:23
  65:1 69:25 81:10                                                                           hog-tying       70:6
                        handcuffed             hearing 88:13          hiding 39:10
 granting     65:16      116:25 148:22                                                        117:7,11
  152:1                  149:10                heart 18:4,5,14,15     high 49:8 96:5,8       hold   36:10 76:20
                                                22:4 40:4,11,12        97:25 98:1,17 99:11
 grants 66:6,14,16      hands      47:20        42:16,18 53:3 60:14    125:18 126:3
                                                                                              83:22 150:25

 graph 120:14,17         117:1                  92:11 95:3,15          127:13 128:23,25      holding    138:3
  121:7 122:2 159:7     handwriting             100:15,16,20 102:3,    130:4,5 136:25         150:1 161:4
                         23:14                  5,7,12,14,20,24,25     140:21 156:8
 gravity     20:22                                                                           homicide       106:7
                                                103:1,2,9,19 104:1,    159:15,24
  77:1                                          5,6,8,11 105:6,7




                                       U.S. Legal Support, Inc.
                                            (312) 236-8352
         Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 177 of 189

TOM NEUMAN                                                                           July 25, 2018
                                                                          Index: honest..interpret

 honest 32:19           hyperbaric 8:7       immediately            incorrect    19:15       inside   116:23
                                              78:23                  34:12 35:12 63:5         119:10 128:16,17
 honestly 31:24         hyperbole 99:5                               126:19                   145:8,11
                                             Immobilization
 honor 8:17             hypercapnia           154:7                 increase       98:7,     inspiration
                         49:4,7
 hope 140:25                                 immobilized             18,21 99:12              74:22
                        hyperkalemia                                increased                instantaneousl
 hoping 33:4             113:24 118:17
                                              154:10,12                             60:24
                                                                     114:5                   y 162:17
 horse 97:22,24          132:9,16,22,25      impact 60:1
                         133:14 139:10                              increases     21:7       Institute 64:24
 hospital 24:24          144:4 155:23
                                             impair 49:2             113:14 153:21
  37:22 38:20,23                                                                              65:18 69:22
                         156:10,12,17,18     impaired 77:13          154:16
  105:20 125:15                                                                              instrument
                         157:16 158:9         84:20 154:12,14
  139:18 160:1
                         162:25
                                                                    increasing                81:15
                                             impairment              95:15 101:17 156:8
 hospitalization        hypertension          77:14,24 78:7,9                                intelligence
  89:25 90:1,10
                         111:4 112:3,5
                                                                    incurred 113:15           99:10
 hospitalized            156:13
                                             imply 157:21           incurs 114:5             intended 140:4
  55:21
                        hypertensive         import 72:3            individual 24:7          intense 92:17
 host 13:22              112:15,16 113:1     importance              104:24 109:6 146:8       128:9
                                              105:3 108:24           153:12 154:4
 hot 137:5              hypertensives                                                        interaction
                         112:14,25           important      26:3    individually              118:9 156:25
 hour 87:4,13 88:1                            27:19 44:19 70:4       40:21 162:10
  89:6,8,11 151:4,6,    hypertrophic                                                         interatrial
                                              74:6 90:7 93:4
  10,17 155:19           115:18,20
                                              102:19 113:13
                                                                    individuals       19:5    110:13
                                                                     45:22 97:21
 hourly    29:11        hypotheses            116:3 124:24 125:1                             intercostal
  86:23 87:1,3           92:13                154:20                induce 102:14             102:13
 hours    87:11 89:7,   hypothesis           importantly            inequality 21:3          interest 11:18
  13 125:24 126:7,16     17:9,22              16:11 78:17 112:2
                                              113:12
                                                                    infarction               interested 19:25
  127:2,3,4 129:17
                        hypothetical                                 100:22,23 101:1          33:23 34:9 44:9
  130:3 139:9,11
                         147:24 148:2,3      improves        20:2                             51:6,7 64:25 65:21
  144:1 148:15 150:7,
                         150:14 162:2         21:19
                                                                    influence
  23                                                                 103:14,23                67:21 72:5 81:8
                        hypothetically       inches 108:19                                    85:23
 huffing    62:23
                         139:2
                                                                    inform 38:23
  63:7                                       incident 140:12                                 interesting
                        hypoxemia             160:5
                                                                    information               26:14,24 80:13
 human     38:17
                         49:4,7
                                                                     18:8 118:22 119:11,      95:16 121:5
  39:5,11 68:7,11,24                         Incidentally            25 121:25 144:14
  92:4 95:19 102:8,                           116:22                                         interests      12:3
                                                                    informed       42:20,     114:18
  18,19,21,24 103:4,               I         incidents    110:5      23
  5,6,9                                                                                      interfere      156:14
                                              111:2
 hundred                                                            initial   12:12 33:12     160:21
              44:2      i.e. 70:16           includes 57:5           125:15
  58:5 61:18 69:24                                                                           internally
  75:6 76:8 84:13       icing 18:24          incompatible           initially 38:13           141:16
  104:16 108:14         idea 21:24 80:25      163:5
                                                                    injection 139:19
  119:6                  111:3                                                               International
                                             incompressibl                                    85:2
 hundreds 97:7                                                      injuring 31:6
                        IM 139:19            e 61:5
                                                                    injury 8:6 133:25        Internet 26:8
 hurts 68:7,10 95:3     imagine     20:9     inconsequenti           136:3 157:24 158:4      internist 94:17
 hydrate 130:8           51:12 162:15
                                             al 97:19               inquiring      65:12     interpret 126:21
                                                                                              146:5




                                       U.S. Legal Support, Inc.
                                            (312) 236-8352
         Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 178 of 189

TOM NEUMAN                                                                              July 25, 2018
                                                                        Index: interpretation..liters

 interpretation                                  17 153:24 155:16,        Kolender       14:2      left 5:22 35:9
  10:13                            J             17 160:4 161:14,19,                                110:15 115:17
                                                 23                                                 133:11 149:21
 interpreted                                                                        L               157:15
  117:19                 Jack 51:10,13          Kendole's       105:6
                                                                                                   legal 7:6
 interpreting            jacked 45:23           key 130:19                laboratory
  122:11                                                                   17:17 51:11 68:22       legitimate    17:11
                         jam 139:16             kick 118:22                                         18:2
 interrupt    10:25                              119:14                    127:22,23 157:5
  12:17 23:11 43:5       January 6:13,21,                                 labored       62:21,24   legs 70:16 149:11
  65:25                   23 140:6              kicked 151:13
                                                                           63:1,4                  lethal 114:1
 interruption            jeez 39:12             kicking 119:14
                                                 138:16 143:23            ladder 92:24              118:19 125:19,20
  33:15 62:2             Jeff 93:19 94:9                                                            131:4,8 132:4,12
                                                 144:18 147:12,14,        Ladies 41:25              136:17,18,21,22,23
 interviewed             Jesse 107:24            18
                                                                                                    137:7,18 143:17
  113:9                                                                   lady 41:24 80:15
                         job 27:11 29:1 67:6    kind   7:6,8,9 19:17
                                                                                                   level  9:3 20:17
 intoxication             84:6                   44:7 52:5 58:25          large 8:3
                                                                                                    46:19 71:21 72:8
  155:4                                          66:3 67:16 73:24         lasts 83:16
                         jobs 8:11                                                                  76:18 101:17
                                                 74:2 77:9 80:3 82:4
 intubations                                     85:14,22 97:14           law 64:20 86:5            159:15
  163:7                  Joseph 58:21                                      93:6
                          59:15 70:2 72:6        106:5 114:18                                      levels   28:21
 inverted       122:5,    90:18 98:14 104:7,     117:18 122:3             lawsuit 100:3             61:14,16 71:19
  12                      10 106:24 114:23       130:21 131:2                                       79:19,20 83:1
                          116:13,14,18 118:8     139:22 159:6,12          lawsuits 91:12            158:24 159:4
 investigate                                                               104:18
  17:24 105:21            127:5 135:1 137:2,    kinds   6:16 7:23                                  Levenson      6:21
                          19 138:7,17 143:12,    85:9,10 129:24           lawyer    6:3 14:25       84:17 86:9,10,11,22
 investigation            21 144:11 145:16                                 29:3 32:3 33:10          87:14,16,20 88:16,
  11:21 152:6             146:15 148:21         Kitzman     109:7,         35:17 37:1 38:24         17,22 89:10,19
                          153:25 155:16,17       18                        40:16 43:9 86:4
 invoice 88:22                                                                                      119:8 132:2 145:24
                          156:23 157:23         Kitzman's       109:7                               147:24 162:2
 involved 24:5            160:4 161:14
                                                                          lawyers 93:6,9
                                                 114:10 132:1                                       163:21
  66:15 67:10 69:2                                                        lead 51:16 73:13,
  70:9 85:3,4 92:18      Joseph's     59:14     knee 117:18                                        life 39:9 92:23
                                                                           16
  98:5 116:13             89:25 105:7 107:5,                                                        125:7 163:5
                          6,24 108:10 157:9     knees 47:16,17,           leading 9:18
 irrelevancy              161:19,23              18 117:5,12,13,21                                 lift 149:1 161:3
  25:7                                           146:2 150:11,15          leak 128:12,18,19
                         judge 153:8                                                               light 65:23
 irrelevant      19:11                          knew    17:1 20:7         leaks 128:13
                         July 5:1 6:8                                                              likelihood 85:25
  59:4                                           29:22 30:9,11            leaning 90:17             90:17 99:24 100:1
                         June 87:13 89:13        31:11,12,23 35:12
 issue    12:13 24:10
                                                 36:23 39:3,11            learn 17:20               162:25
  33:1 53:15 57:11       junk 153:5              152:12                                            link 105:3
  58:8 71:7 72:19                                                         learned 15:13
  81:1,5 90:25 158:24    Justice 64:24          knife 163:3                17:15,19,21 18:22       lips 160:24
                          65:18 69:23                                      36:24
 issues    9:10 35:14                           knowing 50:6                                       list 116:2 132:25
  37:10,15 55:13         justify     131:25      112:25 113:2             leave 32:8 44:24
                                                                                                   listed 89:18
  56:6,20,21,24,25                                                        lectured 108:23
                                                knowledge       30:7
  59:7 83:5,6 101:6                K             35:1 44:17 53:6
                                                                                                   literature 15:4,6,
                                                                          lectures 6:15,17,         25 22:16,18,20
 IVS     36:6                                    55:12 69:4 105:22         19 108:24                28:2,5 109:1,3
                                                 106:22
                         Kendole     98:14
                                                                          Lee's     89:23           113:3,14
                          104:7,10 114:23       knuckles      47:19
                          118:8 135:1 138:7,                                                       liters  74:21,24
                                                                                                    75:5,6,7 76:7,8



                                        U.S. Legal Support, Inc.
                                             (312) 236-8352
        Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 179 of 189

TOM NEUMAN                                                                                  July 25, 2018
                                                                                      Index: live..Middle

 live 30:3 52:7         55:23 57:8,10,12         163:3                   measured       24:11   memory        69:3
  113:3,14              124:6,10 159:6                                    43:3 61:14 75:25       83:11
                                                management
 lived 11:11           lying     61:5 117:4      8:4,6 57:5              measurements           men      24:3,4,5
                                                                          26:22 145:12           41:25
 living 113:6                                   mania 142:1
                                  M                                      measures               mental 103:15,17
 locations                                      manifestations            123:13
  134:11,13                                      137:13                                         mention 132:9
                       Macalawitz                                        measuring
 long   11:11 24:11                             manner        106:7,9,
                                                                          23:18,20 31:23
                                                                                                mentioned
  27:3,24 34:19 71:8    77:20                    12,13,18                                        140:5 156:10
                                                                          46:7,19 47:3 51:12,
  78:19 79:1 88:9      machine        25:15     MAR 5:1                   14 70:7 78:17 79:1    merits 104:24
  96:11 147:2,6         36:21 37:21
  148:13,23,25                                  Marine 8:4               mechanics              met 18:10 88:7
  149:16,18 161:1      machines        46:24,                             149:6
                        25                      marked 136:10                                   metabolic 83:5
 longer    8:14                                                          mechanism
  25:10,20 26:23       mad 137:6                markedly 114:5            142:10,24 143:16
                                                                                                metabolism
                                                                                                 125:23 126:2
  83:22 93:4 147:22    made 13:9 19:4,9         marks 101:21             mechanisms              153:13,20
                        23:4,6,22 37:23          102:4 134:12
 longitude                                                                141:16
  102:13                95:5 96:24 124:3         160:12                                         meter   57:6
                        149:1 155:20 163:1                               media 91:9              113:15,18
 longitudinal                                   Mash 141:19
                       magically                                         medical 10:8,9         meth 44:4
  113:4                                         mask 125:7                11:8,13,17 12:15
                        162:16
 looked                                                                                         methampheta
           14:17                                master's 77:19            14:9 15:17 89:25
  17:17 46:3 64:13     maintain 154:8                                     91:1 106:14 112:2,    mine 43:13 44:20
  83:18 109:8 133:25                            mat 48:7,9,15 53:4        22 140:6 153:7         84:9
                       major 25:22 53:15
 lose 96:19 97:5        54:14 95:3 157:24       materially                159:1                 method 61:15
                                                 158:10                  Medicare 25:1
 lost 101:9 125:11     majority 9:10,16                                                         methodologic
                                                matter    54:16          medication              16:14 24:10,11,19
 lot 8:19,20 12:14     make 18:25 37:17          148:13 149:18
                        45:11 78:4 89:1,16                                55:19 57:17 116:16     25:22 46:24
  40:4 41:16 53:6,8                              150:6,22 161:20
  66:15 67:12,18        90:19 94:7 97:16                                 medications            methodologica
  69:15 70:1 79:16      101:6 105:23            maximum                   120:5 126:24          lly 29:23 30:15,24
  82:14 91:8,9 117:6    114:20 121:4 130:8       58:12,14,16 75:6,        141:13                 33:18 112:14
  125:16 148:16         131:2 149:3,5            11,15 76:20 77:7,8
                        150:13 151:6,7,9         154:18,21               medicine     15:5      methodology
 lots 134:20            160:6 162:21                                      35:2 51:1 105:22       16:12,24 17:1,2
                                                Mayo      110:22
                                                                                                 22:8 25:25 28:14
 love 131:24           makes     19:21           111:9                   medicines
                                                                                                 34:24,25 35:5 61:12
                        54:17 62:11 83:10                                 54:11
 low 22:23 28:6                                 MD 5:4                                           81:11 94:4 102:17
  49:7 71:21 109:11     84:16 86:21 90:15                                medicolegal             107:9 109:18
  159:17,24             105:19 106:6            meaning      7:9          152:6 156:21           111:19 113:5,7,8
                        117:19 131:13            106:4 139:3 145:18
                                                                                                 115:23 135:12,14
 lower   21:9 66:13     149:25 153:7                                     meet 67:25 88:9
  76:22 162:20          155:24
                                                means     7:25 26:1,
                                                                                                methods 109:21
                                                 2,3 51:15 60:5,12       meeting 88:5
 lowest 136:22         making       103:19       146:4                                          Miami 141:19
                                                                         member 11:19
                        121:11
 lung 19:20 20:9                                measurable                12:22                 microscopic
  21:8 44:17 54:9      males 80:20               27:18,19
                                                                         membrane                115:21 134:16
  58:8 59:2 135:16                                                                               139:3
                       malformation             measure      23:20        128:14
 lungs    14:24         110:6                    41:22 46:15,18 54:3                            mid-1990s           9:16
  20:23,24,25 21:2,3
                                                                         membranes
                                                 57:11 58:6 75:4
  22:4 41:18,21,25     man      41:21 58:24
                                                 123:7
                                                                          128:16                Middle 8:5



                                      U.S. Legal Support, Inc.
                                           (312) 236-8352
         Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 180 of 189

TOM NEUMAN                                                                                    July 25, 2018
                                                                                      Index: mild..obtained

 mild 8:5 56:1              moderate 19:18         muscles      77:1        night 45:3             nowadays 57:4
                                                    83:17 127:19 128:3,
 mildly 115:17              modify 71:10            9,10,11,14,15,20
                                                                            NOAA 8:25              number 9:14
                                                                                                    27:4 38:18 45:12
 milliliter 136:13,         Molina 112:9,17         133:23 134:7,8          non-hog-tie             89:2 102:18 105:1
  14                                                136:3 143:23 144:2       47:2
                            mom 40:15                                                               110:21 111:10
 millimeters                 126:25                myocardia                nonetheless             116:11,14,18,25
  119:23                                            100:23                   70:5                   118:20 119:16,21
                            money     7:7 39:13,
                                                                                                    120:13 124:23
 mind      131:1             16 65:1,20 66:8,16,   myocardial               nonproblem              125:14 127:5 129:8,
                             20 67:2 68:10,12       100:22 101:1             58:12
 mine      121:1,3,10,
                             81:10 86:4 93:14,
                                                                                                    10 136:9 149:14
  14,15                                            myoglobin                nonscientific           156:11,19 157:5
                             18,22,24 94:6,11
                                                    144:3                    62:14,16 64:8          158:17,21 159:25
 minimal       31:13         153:10
  99:24                                            mythically       56:7    Nordictrack            numbers      14:7
                            monitoring       8:9
                                                                                                    42:2 61:10,11,13
                                                                             17:25 18:4,5,12
 minimally         90:15,    124:12
                                                                                                    62:8 73:4 78:6
  16
                            monitors     24:1                 N             normal     19:6,19      109:2,12 114:6
                                                                             20:19 21:5,14
 minimum 127:3               78:14
                                                                             24:12,13,21 25:16,
                                                                                                    152:23 157:17
                                                   N-E-U-M-A-N                                      162:24 163:4
 minor 24:10                moon 86:1                                        18,21 26:18,21 27:4
                                                    5:12                     42:1 43:4 54:21       numerical       21:10
  97:16,18
                            morning 5:10                                                            105:3
 minute     13:24            57:7,13 117:6         named 45:4,5,7            55:2 56:3 74:22
                                                                             107:12 108:16,20,
  32:14 45:23 65:7           126:23                names 64:20                                     Numerous
                                                                             23 109:2,4,19,20
  74:17,19,20,21,23,                                                                                138:9
                            mortality 31:6         nanograms                 110:4,21 111:5,6,
  24 75:5,6,7 76:7,8
                                                    136:13,14                16,17,19,20 112:10
  90:5 100:16 120:4,8       mother 129:20                                    113:10,11,17 114:2,            O
  140:24
                            mother's 126:21        NASA       7:22 9:1       4,9 123:23 124:10,
 minutes     47:3,22                                67:9,11                  11,13 125:7 127:21
                            motive 79:11                                     128:1 140:2,7 145:2   O2 21:11,14 78:14
  49:12 50:8 107:17                                National    7:15
  119:17 120:10             mountain 27:24          64:24 65:17 69:22        153:16 159:7          obese 28:10
  143:19,20,21                                                                                      43:14,20,25
                            mouth 48:3,9           nature 67:13             normal-sized
  146:10,18,24 147:4,
  7,8 151:6,10,17
                             149:4 160:11,20                                 73:4                  obesity    43:18
                                                   necessarily                                      44:14 77:20
  155:19 158:14             move    48:10,11        145:22                  normality
 mis-weighed                 57:23 149:16,17                                 123:22                object   145:24
                             155:12 160:21         neck 155:2                                       157:3
  108:16                                                                    normalize 80:19
                             161:5                 needed 51:22                                    objection 82:17
 misconduct                                         68:4,6                  nose 48:2,8 150:1
                            movement
  99:3                                                                       160:20 161:6          observation
                             48:12                 neighborhood                                     13:9 19:4,12 21:19
 mismatch          20:5,                            43:15                   Note 26:20
  21 21:9,10,17
                            multicenter 8:4                                                         113:13 143:10
                                                   nervous        141:15    noted 108:6
 misquote 40:17             multiple 46:5                                    119:23 125:16         observe 138:5
                             72:20                 Neuman         5:4,12,    146:9                 observed 19:8
 misspeak 128:5                                     13
                            muscle     77:2                                 notes 121:15            25:6
 mistake 5:23                95:10,11 127:9        Neuman's 19:15
                             128:4,6 133:21,25                              notice 57:18           observes 22:25
 mistakes 121:11                                   neurological
                             134:1,11,15,24
                                                                            noticed 8:18           obstruct 155:3
 misunderstand               135:1,7,22 138:24      155:5
  130:6                      139:1,2,4,5,23
                                                                             126:14 147:1          obstructive
                                                   ng 136:12                                        54:5,9,10 57:9
                             157:24 158:4                                   notices    42:8
 model       102:11                                nickel 38:7 55:18                               obtained       43:24
                                                    154:11




                                         U.S. Legal Support, Inc.
                                              (312) 236-8352
         Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 181 of 189

TOM NEUMAN                                                                              July 25, 2018
                                                                            Index: obtaining..percent

  109:22,25               115:2 116:4 131:2,     oxygen     7:24 8:7      153:14 157:19,21       66:21,23 68:8,12,14
                          15,20 132:21            9:8 19:4,10,17,19,                             93:3 135:24
 obtaining                135:10,25 138:2         24 20:1,13,16 21:4,
                                                                         paramedic
  111:19
                          139:5 142:12            12,13,19,25 22:25
                                                                          120:1,16              paying 85:4
 obvious 99:10            144:24 145:4,5          24:12,21,23,24         paramedics             PCO2 159:15
                          147:23 148:13,20        25:13,15,17 26:18,      37:24 119:18
 occur 92:7,8             149:9,18 152:10,25      21 28:7,21 35:8         143:11 162:4,25
                                                                                                peak 57:6,14,15,
                                                                                                 18 58:3,4
 occurred 49:5            153:3,4 157:17          46:7,18 49:7 55:1
                                                                         part  12:22 18:12,
  143:19 144:9            158:6 161:13            56:21,24 58:11
                                                                          22 37:12 48:22
                                                                                                pee 96:22,23
                          163:15,16               61:14,16 71:21
 occurring       13:10                            76:21 77:4 80:2
                                                                          77:5,12 89:1,8        people 8:12 13:9,
  14:6                   opinions 153:7           83:1 84:18 120:8
                                                                          102:19 108:24          20 14:12,16 16:21
                                                                          111:10 137:14,15,      17:10 22:22 23:5
 occurs       28:7       Oppenheimer              123:25 153:21
                                                                          16 152:18 157:20       24:21 25:8,14
  155:2                   5:9 6:22 22:1 28:1      154:5,16 159:17,24
                                                                                                 26:20,24 27:1,2,12
                          34:1,14,23 41:22
                                                 oxygenation             partially 154:8
 Oceanic 7:15             74:25 88:24 89:3,4
                                                                                                 28:10 31:6,12,17
                                                  71:13,18 72:7          participated            32:14,24 33:19
 office 10:8,10           107:17,19,20 141:4,
                                                  78:13,22                51:8                   36:4,12 39:11,24
  11:14 12:15             6,7 146:7 148:3,7,
                                                                                                 42:16,17,20,21,22
                          12 158:14,16 163:6,                            pass 65:13 80:1
 officer  11:17           18                                P
                                                                                                 43:2 45:4 50:19
  37:20 138:6,16                                                         passed 90:1             55:16 56:19 57:17
  144:16                 opportunity                                                             59:22 60:13 61:15,
                                                                         passing 20:10
 officers   84:3
                          90:3                   P-WAVE         122:4,                           16 64:11,18,21
                         opposed        40:6      14                     past 5:14,22 6:17       65:11 68:25 70:6,15
  94:19 99:1 116:14                                                                              73:2,4 75:14 77:6
                                                                          29:16 99:7 110:23
  117:9 118:23            147:25                 P-WAVES                                         79:4 80:6,11,25
  119:12 138:6           Orange 12:9              122:12                 paste 131:11,12         81:6 82:1,3 83:19,
  146:14 156:7
  161:18,19              order 24:8 53:14        p.m. 163:22             patent 110:9,16         25 84:4,16,17 93:23
                                                                          111:2                  95:23 97:6,7 99:4
 officially 149:11
                          63:24                  pacemaker                                       100:10 101:8 105:1
                         organizations            104:4,5                pathologic              110:19,22,24 111:9,
 older 80:8                                                               105:19 112:4           12,13,14 112:1,3,8,
                          7:5,13,14 8:24         pages 120:21
 one's 53:2                                                              pathologist             19,23 113:6,9,10
                         original   9:21         paid 29:10,11,12                                141:13,17,23 142:3,
  101:16,17,22 102:7      14:15,18 16:4 59:19                             15:8 105:12,18
                                                  33:10,12 66:20 94:1                            5,6 143:10 148:16
                                                                          106:6 107:7,10,15
 one-half 96:5            110:2
                                                                                                 153:17 156:13
                                                 panoply 92:12            114:12,19 131:25
 one-tail 27:11          Oschner 125:14                                   134:19,22 135:9,11,   people's     74:10
                                                 pants 96:22,24           13,14 136:6
 one-third 96:5          ourself 108:21                                                          75:10
                                                 paper 11:3 13:1,7,      pathologists
 ongoing 55:22           outflow 115:17           8,16 14:18,19 17:3                            pepper    28:9
                                                                          13:23 15:5 36:20       64:15,17 65:4
  155:22                 outlier 27:6,15          19:8 26:5 27:18,23
                                                  28:2,6,13,20 29:8,     pathology      15:4,    69:19,23 70:10,11,
 open 24:20              ovale 110:9,17           22 33:13,19 38:13       11,12 16:8,9 21:23     12,14,24 71:5,14,15
 operating 18:20          111:2                   40:14 69:24 71:17       22:7,20 25:25 59:1     72:5,16 131:10
  19:2 22:4                                       77:19 80:23,24          107:9,23 111:11,19    pepper-
                         overhead       66:13,
                                                  107:16 109:3,6,7,19     114:8 115:15
 opine   34:10            19
                                                  110:4,19,20 111:17
                                                                                                sprayed      70:2,25
  105:13,15              overtly 162:5                                   pathway 131:8           72:6
                                                  114:6,8 143:9
 opinion    31:4         oximeter 18:16,                                 patient 130:7          percent     19:6,7,
                                                 papers    35:24
  33:1 62:21 63:7,11,                                                                            14 21:4,5,20,25
                          17 19:1                 36:3,18 65:19 81:10    patients 18:20
  15 79:15,21 80:11                                                                              24:22,24 25:2 26:25
                                                  114:10,15               38:21
  90:11,14 100:12,13,    oximeters       22:6,                                                   44:3 53:22 54:23
  14 111:21,22 114:3      21 71:22,25            paragraph               pay     25:1 32:4,17    57:19 58:3 69:24




                                        U.S. Legal Support, Inc.
                                             (312) 236-8352
      Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 182 of 189

TOM NEUMAN                                                                           July 25, 2018
                                                                       Index: percentage..problems

  74:15 84:13 104:16     45:14 83:16 97:15,     71:21 76:18 81:2        148:16,17 152:18      presented       35:13
  108:14 110:18          17 154:1               91:1 92:22 96:3         155:1,9,12             38:15 64:23
  113:17 119:6 120:8                            97:16 104:25 114:3
  123:18
                        physiologicall          124:2 130:18
                                                                       positioned             pressing       61:6
                        y 20:1                                          31:18
 percentage                                     148:10 152:4 154:2                            pressure     59:12,
  7:24 58:1 112:4       physiology 9:4          155:11 156:23          positions     25:5      14,16 95:20 96:5,8,
                         19:16 22:16,18                                 28:7 31:12,13 46:3     9,12,14,17,25 97:3,
                                               pointing 47:10
 perfect 19:21           66:13 80:9 157:8                               70:19 117:22           25 98:1,17 99:12
                                               points 157:1                                    103:25 120:7
 perfectly 18:1         pick 19:15 130:23                              Possibly 126:9          145:17 153:13,16,
                                               police 10:20 14:2,
 performed              picked 42:13            16 37:10,13,15,20,
                                                                       post-arrest             17
  107:24                 70:21                                          163:16
                                                25 65:17 67:22,25                             pressures 95:23
 performing             picture   80:24         68:20 69:2,5,11        poster 14:19           pretty 14:15
  50:12                  85:7                   70:25 71:2,3,9
                                                81:22 84:2,3 94:19,
                                                                       Postural 155:1          26:10 33:23 34:21
 period    25:3 27:2,   pictures 145:11                                                        35:18 65:8 70:22
  3 87:16 116:8,12
                                                20 95:17 96:15,21      potassium               73:4 88:12 92:23
                        piece 107:16            97:8 99:1,3 116:13      125:16 132:3 156:4,
  126:19 144:13,15                                                                             137:23 156:11
                                                117:2 118:9,23          8
  147:7                 pieces 17:15            119:12,18 137:21                              prevent 159:13
 person     27:6,7                              138:4 143:14,15        potential    38:25
                        pig 102:12,20,25                                160:16                preventable
  43:11,22 44:12                                144:12,16 145:9,12,
                         103:2                                                                 12:14
  50:7,9 51:9 52:5                              16 146:14 151:12       potentially
  55:8,12 82:9 83:2     pigs 102:15             156:6,25                92:15 116:9,12        previous 147:2
  127:25                pipe 137:6                                      118:18 125:20
                                               political 12:6                                 previously
                                                                        126:1 129:22,23
 person's    73:17,     pistol 137:5           politics 66:15                                  41:14 109:23 110:1
                                                                        132:4 137:12,18
  19,20 127:21
                        place 24:17 46:17      pool 94:24                                     Price   10:15,17
 personal 53:5                                                         pounds     28:11
                                                                                               16:15 29:3 35:17
                         47:9 97:12,14                                  61:4,20 63:13
                                               population                                      37:1 43:9,10 44:13,
 personally              152:23
                                                94:24 112:5
                                                                        72:21,25 73:5,6,7,
                                                                                               17 45:4,5,7 63:20
  66:17                 placement                                       10,16 75:10 108:17
                                                                                               69:15
                                               Posey 36:10
 perspective             152:1                                         power 92:24            print 26:7,8
  37:18,20,23           placing                position 13:12,
                                   118:10
                                                15,20,21 17:10,12,
                                                                       practices 138:4        printed 86:21
 PH 156:4 162:24         133:17
                                                23 19:13 23:4 24:6,    pre-arrest              114:12
 phosphokinas           plain 49:13             7 25:9,11,21 27:20      163:17
                                                28:8,9 31:14 41:5
                                                                                              prior  33:17,22
 e 127:18               plaintiffs 85:8,                               precipitate             35:25 46:3 90:1,10
                                                47:1,2,6,7,8,21,25
                         21,23                                          143:7                  139:9 140:12
 phrase 124:15                                  49:2,11 50:8 52:3,4,
 phrased 103:5          platelets 156:16        21,24 53:12 61:4,19    predicted 42:2         pro-police 142:6
                                                65:4,7 117:3,13,15
 phraseology            plates 73:12            148:6,9 149:13,15,     premature              problem 14:6
                                                                        122:10,15,16           20:7 25:23 32:2,19
  104:22                play 137:11             19,21 150:4,7
                                                151:7,14,25 155:10,                            38:10 50:3,5 58:4,6,
 physical       93:1    played 131:7,18                                premise     17:9
                                                                                               10,12,25 59:10
                                                21 162:8                81:15
  137:9                                                                                        65:10 97:9 104:4
                        pneumonic              positional     9:19
 physically              137:2                                         preparation            problematic
                                                10:23,24 13:4,25        33:1 44:8 88:5
  84:19,20                                                                                     58:17
                        po2 19:20               14:22 27:25 29:14
 physicians                                     31:5 35:19,24 36:3,    present    38:15
                                                                                              problems      7:21,
  142:22                point 7:3 8:19          15,20 37:9,12,16        110:18 119:18
                                                                                               23 13:19 24:11
                         11:19 19:7,21 33:23    65:3 68:2 100:9        presentations           42:18 46:24 51:13
 physiologic             35:10,16,20,21         115:8 140:23
  13:14,19 27:19                                                        8:20 9:14 93:16        58:9 111:18 158:25
                         51:20,22 56:23



                                     U.S. Legal Support, Inc.
                                          (312) 236-8352
       Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 183 of 189

TOM NEUMAN                                                                             July 25, 2018
                                                                            Index: procedure..reduce

 procedure               22:15,21 29:8 30:4     putting    52:9                                reason    11:25
  163:8                  42:7 109:6 111:22       59:12,14 75:9                   R              17:14 41:3 44:5
                         114:7                                                                  45:15 84:19 87:22
 procedures                                                                                     156:7 161:1
  14:16 32:18           puffing   62:23                   Q             race 139:13
                         63:7                                                                  reasons      74:5
 produce     32:2                                                       raise 153:17            126:25
  137:1 142:20          pull 69:24 160:24       QRS 122:5,12,14         raised 13:11           Reay    13:9 14:11
 produced 137:4         pulled 109:7,11         qua 28:22 71:20          17:11                  16:4,8,15 17:15
 produces 132:7         pulling 36:6            qualified 30:20         ran 46:23 51:10         22:17 29:17,21
                                                                                                33:13 34:11 35:22
 professional           pulmonary 30:8          quantitatively          randomly 24:8           81:14
  80:10                  31:11,14,19,21,23       39:25
                         35:2 41:2,14,17                                rang 109:2             Reay's    16:18
 professor      51:20
                         43:3 45:25 46:1        quarter 89:13                                   29:22 30:10,14
                                                                        range 41:8 54:21
 profusion      20:5,    50:18 51:10,12,14,     question 5:18            108:17,22 109:12,      33:18 34:21 61:11,
  21                     15 52:2,20 53:10,       13:11 17:11,24 18:7     15 112:10,12           14
                         16,18,23 54:4,10,       22:15 23:9 24:20        114:15,20 127:23
 promoted 51:21          24,25 70:8,18 75:1
                                                                                               receipt 86:18
                                                 25:13 30:1,23 31:15     132:1
 prone 28:8 61:4         78:10 107:12            33:17 34:18 36:19                             received 32:7
                                                 37:7 38:9 42:9 43:3,
                                                                        ranges 109:13           116:19 157:23
 proof 141:18           pulmonologist
                         13:5 14:24 135:17       5 44:16 45:4,9         rate 18:4,5,14,15      receiving 66:8
 proper 57:5 139:2                               46:24 48:24,25 49:1     24:13 25:6,10 29:11
                        pulse   18:16,17         52:4 54:1 55:24         40:4,11,12 42:19      recent 6:24
 properly 30:3           19:1 22:6,21 24:13                                                     109:24 114:15
                                                 57:20 62:14 67:2        53:4 60:14 86:23
  35:14 53:14,17         25:6,10 71:22,24                                                       152:13
                                                 75:12 82:23 93:13,      87:1,3,11 95:3,15
  159:6                  96:10 120:7             15 98:15 100:2,11       156:14                recently 31:21
 proposal     35:13,    pulseless                101:13,14 108:21
  15 37:2 38:15                                  111:15 128:24
                                                                        rates 96:10            receptor 141:22
                         119:19
 prospective 8:3                                 129:16 136:21,22       rationale 83:16        recess 34:17
                        pun 140:3                139:7 141:1 150:12,
                                                                        rattle 30:24            107:18 141:5
 protein 125:23         punched 151:13           20 152:21,24
                                                                                                158:15
 proteins 126:2
                                                 155:15 158:19          reach 78:2,5
                        punching                 161:21 162:4,10                               recollection
 psychiatric             143:23                                         reaches 103:1           26:11
                                                questioning
  141:11,12             purpose     71:18        30:14                  read 15:4,5,25         record    47:5,10
                                                                         16:23 17:3 22:17,19
 psychosis               83:1 91:8,18 159:13
                                                questionnaire
                                                                                                82:13 87:21,24 89:1
                                                                         23:14 25:15 26:6       107:19 112:15
  44:22 84:8 90:21      purposes        136:4    14:4                    34:13 43:9 108:9
  126:13 137:20                                                                                 124:13 141:4,6
                         148:4 150:21                                    117:24 118:5 125:6
  140:20 141:24          161:20
                                                questions       59:5
                                                                                               recording
                                                 163:19                  134:10 152:6,16,18
  157:3,6,15                                                                                    124:19,21
                        pursuant     11:14,                              153:14
 psychotic      42:19    15 12:2,3 38:24
                                                quick     18:7 23:9
                                                                                               records    33:11
  142:20                                         89:5                   reading       16:17
                                                                         18:9 147:5             86:13 89:25 112:22
                        put  18:21 21:23
 publications            23:25 24:6 25:5
                                                quicker 87:8                                    140:6 159:1
  5:25 9:15 51:21
                                                                        readings       22:23
                         28:10 36:10 38:5,7     quit 56:11,13,14         124:7,13              recovered 129:1
 publicity 91:9          42:8 46:6 47:1,5
                                                quote 137:16                                   recruits 84:2
                         54:15 70:6 73:8,16                             ready 106:23
 publish 42:5            76:17 90:18 103:1                                                     red 137:5
  63:19
                                                                        real 54:18 74:8
                         127:3 144:12                                    75:11 89:5 100:20
                         146:19,20 147:15
                                                                                               reduce 74:15
 published     9:20                                                      101:10,12 111:18       75:5
  10:11 13:17,23         150:16 154:10,12




                                     U.S. Legal Support, Inc.
                                          (312) 236-8352
         Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 184 of 189

TOM NEUMAN                                                                              July 25, 2018
                                                                                 Index: reduced..safe

 reduced     74:13      remainder              reports 109:11         restraints      14:7    rhabdomyolysi
  76:7                   137:17                                        36:9,13                s 127:7,8,11 128:3
                                               represented
 reducing    12:8       remains 19:19           32:20                 restricting              129:5,11 130:11,15
  154:8                                                                52:23                   131:18 133:2,21
                        remember 10:6          represents                                      134:3 137:24
 reduction       35:8    12:5,21,25 16:8        132:7                 restriction      54:3    138:23 139:8
  58:15                  33:21 34:6 39:3                                                       157:22
                         42:8 43:10,21 44:16
                                               require   146:10       restrictive     54:4,
 refer 120:18            48:6,7,14,23 50:22
                                                149:17                 16,17                  rhyme 137:3
 reference 16:4          51:18 57:9 63:25      requirement            result  73:24           rhythm 122:3,18
  108:17,22 109:12,      64:19,23 65:13,14      154:15                 137:19 139:20
  13,15 110:2,3          67:20 70:23 71:24                                                    riches 65:15 66:4
  114:15,20 127:22       72:15 73:23 74:12
                                               requires 154:4         resulted    119:21
                                                                       125:3 130:18           Ricky 10:6
  132:1                  81:24 82:6,11,23,24   research 11:14          158:22
                         83:4,18 84:22,24       12:1,2,24 16:23                               ridiculous 38:4
 referenced
  109:8
                         87:1,25 91:6 92:22     19:15 29:16 30:8      results   29:9 30:3     rise 86:2
                         93:17 94:14,21,23      32:9 35:18 55:11       34:8,21 35:11 37:5
 references              95:7 100:5 106:14      56:19 93:20            45:6,15,18 54:18,22    rises 78:23
  109:23,25 152:22       107:11 128:13                                 55:13 70:15
                                               researcher                                     risk 95:25 96:2
                         135:11 136:17,20
 referring 122:20                               51:16                 resumed 125:13           98:1,6,7 99:12
                         139:13,21 147:5
                                                                                               100:24 101:1,3,7,
 reflected 135:3,4      remind 90:6            researchers            retain 85:24 86:11       11,12 113:15 114:5
                                                50:20                                          132:12
 reflex 155:3           reminded 34:18                                retained 85:2,21
                                               residency 15:14         86:3,8,9,10 92:18      role  10:11 92:25
 regained 127:5         renal 111:12                                   93:6,9,14
                                               residents 51:1,5                                137:11
 regard 91:9,24          113:24 118:16
                                                                      retaining 85:23
                         126:4,5,12 127:6      resolved 140:14,                               roll 61:5
 Registry 107:25         129:2,16,25 130:2,     15                    retains 86:5            room 18:20 19:2
 regulation              9,11 132:7,15,17,
                         18,21 139:8,24        respect     17:18      retired 7:3             rubs 114:18
  141:22
                         140:7,11,13,17,18      130:21
                                                                      return 24:12,13         rules 5:15
 reinforce    84:5,7     156:12,18 157:15      respiratory             25:10,20 26:17 27:4
  126:21                 158:9                                                                rumor 96:21 97:8,
                                                31:8,10 93:11          119:21 124:3,9,16
 relate 9:6                                     159:19,22              125:3,9 158:23          11,14
                        repeat 5:15
 related 7:23 9:7,                             response      32:16    returned    25:18       run  52:7 56:7
                        repeatedly                                                             62:20 63:6 98:18
  11 10:22 13:12         93:17                  60:8,10,20,24,25       26:20
  17:12 84:10 90:21                             61:1,24 62:3 63:9,                             120:1,2,16 139:13
                        rephrase      101:14    12
                                                                      returns 25:16
  92:11 93:9 106:1                                                                            runner 139:13
  129:21,22,23          replicate     44:12,   rest  61:17 66:20
                                                                      reveal 27:9
                                                                                              running 19:22,23
 relates 9:1             24 45:1,17             117:23                revealed 136:11          49:19 58:19,23 63:1
                        report                                         137:18 140:7            76:25 140:25
 relating 12:18                  89:13,14,     restrained     13:10
                         18,23 109:8,14         14:12 36:4,8 82:10,   review    33:12 88:2
 relaxed 74:23                                                                                runs     98:1
                         115:12,24 117:25       25                     89:6,7,9,12 144:8
 release 128:6           118:1,3,20 126:14
                         134:10 144:7          restraint    13:14     reviewed     90:9
                                                                                                         S
  139:6 143:22
                         156:20,22 158:17       28:7,9 37:10,15        116:22,23 135:22
 reliability 113:8                              70:7,16 82:3 100:7     136:9
                        reported 119:13         106:5 108:25                                  saber-tooth
 reliable 61:15                                                       reviewing 89:24          19:22
                        reporter 41:23         restraint-
 relied 145:1            163:20                                       rhabdo 129:18           safe     43:25 51:16
                                               related 13:18           133:11,13,16,18




                                      U.S. Legal Support, Inc.
                                           (312) 236-8352
       Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 185 of 189

TOM NEUMAN                                                                           July 25, 2018
                                                                          Index: safely..someplace

 safely 138:20          scuba     52:6         series   13:17,22       93:20                 situations    45:10
                         139:16                 14:1 45:12 92:13
 Safety 8:9                                                           shunt 110:15           six-tenths    87:13
                        SDSU 66:11             set 17:23                                      89:11
 sailors 8:4                                                          shut 62:15
 sake 41:15             sea 139:17             setting 137:21         sic 92:9               sizable 68:9
                                                143:8
                        seat 117:2,4                                                         size 41:17 42:1
 salary 67:5             118:10 146:1          severe    16:15
                                                                      sick 25:2               75:5 108:20 160:16
 saline 125:8            148:21 160:16,19,      19:18,20 21:23        sickness 67:14         skin 101:21 102:4
                         20,23 161:6            40:10 55:18 56:4
 salt 131:10,13                                 57:21,22,25 58:13
                                                                      side 14:13,14,17       skip 117:24
                        seated    31:19                                17:15 48:10,16
 sample 46:21            49:15,16,21,22
                                                59:8 111:2 129:2
                                                                       75:13 110:15,16       sleep 150:8
                                                134:5,6 157:16
 samples 46:22,          60:13,15,16,17,18                             148:25
                                                                                             sleeping 150:14,
  23                     61:2,4 62:12 71:15    severely 22:2,3
                                                                      sign 21:22              19
 sampling 94:4          seating 55:3           severity 57:2
                                                58:1
                                                                      significant            sliced 18:19
 San 10:15,17           secondary 83:8                                 13:14 14:6 25:24
                         92:7,8,10             shackled     117:1      27:8,10,15,16 54:2,
                                                                                             slide 107:11
  11:10,11,18,20
  14:2,8 29:7 39:1
                        seconds     25:9
                                                149:12                 19 59:2 74:8,10       slides 134:16
  51:4                                                                 75:9                   135:15,16,21,22
                         26:15,23 83:17,21,    shape    21:12 80:8,
                                                                                              139:3
 Sanchez 10:6            24 84:1 150:7,22,24    12 151:24             significantly
                         151:1
                                               sheet                   25:20 55:13 56:20     slowly 104:15
 sat 78:14                                             86:20,21
                        secretaries             120:1,2,16            signs    106:15        small 20:20 54:17
 saturation 19:5,        66:23                                         157:7                  72:22 99:25 101:20
  10,17,19,24 21:4,                            shock 98:5
                                                                                              110:16 111:10
  12,20,25 23:1         section    109:21                             similar   9:1
                         144:8 153:5 154:4
                                               shootings     10:20                            129:6,7 145:13
  24:12,21,23 25:13,
                                                12:20                 simple    41:15
  16,17 26:18,21 35:8
                        security 89:1                                  51:22 59:11 72:23
                                                                                             smaller   41:25
  120:8                                        short   78:19,21                               54:18
                        sedate 162:19           126:19 147:6          simplicity 41:16
 Saturday 45:3                                  149:24
                                                                                             smothered
                        sedation 162:22                               simplistic 27:11        148:23
 save 153:10                                   shortcomings
                        sees 81:18 107:11                             simply 12:24           smothering
 scenario 36:1                                  114:10
                                                                       16:16,24 25:3 35:6     160:25
                        selected 42:3          shorter
 schizophrenia                                           27:2          49:21,22 71:13
                                                                                             social 89:1
  113:23 116:15         selection 94:3          41:24 149:15
                                                                      simulated 47:8
  129:22 137:21
                        senior 92:23           shot   73:13,16 84:1
                                                                                             Society 31:17
                                                                      sine 28:21 71:20        53:12
 school 15:17           sense 19:9,22
                                                112:20
                                               shoulders 75:2         single 28:6,19         sock 149:4
 science 14:19           37:17 83:10 89:16
                                                                       57:13 134:1,23
  16:1,5,6,7,24          101:6
                                               show 25:17 32:9                               soda 36:21 37:21
                        sensitive                                     sites 141:22
 scientific    16:4,                 53:11      33:19 61:10,13                               soft 36:9,13
  11,14 28:1,5,15        139:21                 63:16 70:3 135:15     sitting 20:19,21
  33:23                                         159:7                  24:6 49:16 52:4
                                                                                             soldiers 8:5
                        sentence 154:3
 scientist 28:19                               showed      13:19
                                                                       53:18 58:15 63:8,13   somebody's
                        separate 46:23          31:11 53:1 61:12,16
                                                                       76:6 117:3             38:5 54:15 123:14
 screaming               141:18
                                                70:15                 situated 155:2          154:11
  58:19,23,24 144:11,
                        septum 110:13          shown                                         someone's
  17 146:20 147:13,                                      93:21        situation 104:23        104:19
  14,18,19 160:7        sequence                117:21                 146:23 147:24
 screen    90:4
                         130:10 131:6 144:6,
                                               shows     28:20 32:9
                                                                       148:1                 someplace       86:7
                         10




                                     U.S. Legal Support, Inc.
                                          (312) 236-8352
        Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 186 of 189

TOM NEUMAN                                                                             July 25, 2018
                                                                               Index: son..suffocate

 son 126:22              125:4,9,11 158:23      135:12,15             79:5,24 99:2,4          137:8 141:16
                         160:3                                        153:11,18               142:13 143:17
 sooner 56:11                                  status 72:11                                   147:2 155:24
                        spray    28:9 64:15,                         stuck 115:13
 sophisticated           17 65:4 69:19,23
                                               stayed 47:2,21                                 156:21 162:6
  66:12
                         70:10,11,13,24        stenosis 111:14       students 80:9           stuffed   137:6
                                                                      97:10
 sort  9:2 18:24         71:5,14,15 72:5,16                                                   149:4
  25:7,12 33:8 36:11,
                                               step 38:18            studied    38:12
                        sprayed 70:12                                                        subaortic
  13 38:3 46:5 54:5,6                          stew 131:9,17         studies    15:3          111:14
  58:8 59:4 60:21       sprint 62:20            137:14,15 140:20
                                                                      16:2,6 17:16,17
  65:14 73:14 75:8                              142:9 157:13                                 subdued 116:25
  80:13,22 81:7,8
                        sprints 62:20                                 35:23 55:15 56:19
                                                158:11
  82:3,10 91:14 96:7
                         63:2,6                                       64:1,4,10 65:20        subject 10:4
  103:23 108:4          squeezed        54:5
                                               stomach       53:24    66:11,17 67:12          26:13 44:9 49:11
                                                151:11                68:1,2,3 69:7 70:3      50:9,10 55:5,6
  114:18 122:10,11,      145:16 146:4
                                                                      72:20 74:7 81:24,25     150:9
  15 129:21 131:2,9      160:15                stop   14:20 25:14
                                                                      82:1,3 84:21,25
  137:3 149:24 160:8                            47:4 141:16 156:20                           subject's 60:2,7
                        standard 125:6                                91:7,16,18,24 92:2,
 space    102:13                               store   116:23         16,25 93:2,3,7,8,10,   subjects 18:3
  145:21,23
                        start 5:20 30:22                              11 94:9,13,15,23,25     19:3 22:7 23:1 24:3
                                                146:15 147:10,11
                         41:6,8,13 56:24
                                                153:25 161:24         95:8,9,16 97:9          40:19 43:24 45:5
 speak    35:7 99:19     87:9 161:25
                                                                      111:24 112:8 113:5      56:22 66:21 68:4,6,
  145:6 159:12
                        started   22:19
                                               story 79:1 161:7                               8,13,17,21,23
                                                                     study    12:12 15:15
 speaks 88:2             38:16 41:4 43:2       straight 55:2,3        16:8,13,16,18,19,20
                                                                                              70:12,21 71:5,25
                         64:25 65:10,16,23                                                    74:2 78:8 80:3,9
 specialties 67:9                              strangle 36:14         17:9,10,13 18:9,10,
                                                                                              84:4 91:10 94:18
                         66:11 68:3 72:21
                                                                      11 30:2,15 32:23
 specific 27:4           81:7 125:25 126:6     strap 37:21            33:1,9,18,22 34:21
                                                                                              97:20 149:2
  82:24 92:4 142:23      127:1
                                               strapped 162:7,        37:2,3,4 38:24         Submarine
 specifically           starters   7:15         10                    39:15 40:8 42:6         11:17
  37:15 52:9                                                          43:24,25 44:7,8,11
                        starting   56:23       street 163:1           45:9 50:12,15,16
                                                                                             subsequent
 specifics 40:14         65:16                                        51:6,7,23,24 53:16
                                                                                              13:21
                                               strict 31:16 53:12
 speed 57:7,11          starts 25:15                                  55:17 56:22 59:19,     subsequently
                                               strike 100:13          21,23,24 60:1 61:7,     55:15 72:23
 spell 5:11             starve 149:21           133:20 151:15         8,11,14 63:18 65:1,
                         150:23                 156:7                 16,22 66:20 67:17      substitute 157:2
 spending 67:17,
  18                    state 5:10             strikes    138:22      68:14,17,23 69:5,6,    sudated 155:11
                                                139:5                 16,21 70:4,5,24
 spent    10:9 12:14    statement     6:8                             71:12 72:1,2,10,14,    sudden 95:25
  26:12 33:21,22         108:7 136:2 146:17    striking     138:6     16,24 73:2,3,21         96:2 98:2,18 99:25
  53:6,8 67:7,12 70:1    153:9 154:25 158:7     143:19                74:7,12 75:13 76:13     105:4 108:2 113:16,
  161:17                                                              77:5,12,21 79:11        21,22 114:5 132:12
                        statements             struck 116:19
 spikes 122:3,9          147:6 155:6                                  81:6,16,23 82:1,7,9,   suddenly 42:23
                                               structurally           25 83:1 84:15 92:22
 spite 36:13            States    14:4 105:2    108:7                 93:1,24,25 94:1,7,8,   suffer 146:8
                         112:5                                        10 96:13,14 97:13
 Spitz 152:7                                   struggle    75:23,                            suffered 143:21
                        statistical 16:14       24 98:10,11,21,22     112:18 123:10
 split 24:8 46:8,21                                                                          suffering 156:23
                        statistically           99:8 113:24 118:22   studying     10:10
 splits 67:19                                   143:15 151:11         26:12                  sufficient 114:1
                         25:20,24 27:8,10,
                                                153:24 160:12
 spoken 93:16            14,16 54:19                                 stuff  8:17 9:5         suffocate 14:15
 spontaneous            statistics   26:1
                                               struggling             11:24,25 18:23          38:5,8,9 52:12
                                                58:19,23 76:12,15     51:22 67:8,15,18        150:10,15
  119:22 124:3,9,17      27:9 94:2 107:9
                                                77:23 78:1,8,11       69:1 128:16,19




                                       U.S. Legal Support, Inc.
                                            (312) 236-8352
        Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 187 of 189

TOM NEUMAN                                                                            July 25, 2018
                                                                          Index: suffocated..throat

 suffocated             system    12:9         tall 75:2 149:14        telephone      62:2    tests   31:11 41:17
  52:19                  102:20,21,23,24                                                       43:4 46:1 52:21
                         108:5 115:22
                                               tape 116:23             telling 18:8            53:10,14,23 78:10
 suggested                                                              144:21
  10:15 91:19
                         128:14 141:15         tase 99:4                                       107:13 139:3,21
                        systems        10:11   tased 68:7,10,18,       tells 29:13 129:10     textbook 19:16
 suggesting
  68:12
                         12:7,10                24 95:18 96:15,17,     temperature            textbooks 114:7
                                                20,22 97:1,3,6,7        118:17 125:15
 suggests 28:6                                  99:1 100:10,14          140:21                thesis 77:19
                                   T            101:4,8,11 104:4
 suit 52:10,20 53:1,                            105:1
                                                                       ten 16:21 143:20       thickness
  6,9                                                                                          102:18
                        T-O-M 5:12             taser   68:3,22 71:7
                                                                       tend 42:18
 sums 137:23                                                                                  thing   6:6 8:23
                        t-test 27:11,13,14      73:22,23 81:1,4,5,6,   tendered 6:2,3,4        18:19 28:18 39:5
 sundry 106:19                                  9 82:7,20 83:6,12,
                        T-WAVE 122:13           16 84:2,21,24 85:2,
                                                                       term 10:23 11:7         40:24 45:20 46:12
 super 90:7                                     4 91:5,13,25 92:3,7,
                                                                        13:3,6 14:22 62:22,    61:21 64:17 88:4
                        T-WAVES 122:5                                   25 64:8 66:3           93:21 95:12 115:13
 superficial                                    10,11,14,22 93:10,
                                                                                               120:20 127:12
  134:13                tables 109:9            14,18,22 94:11,12,     terms    5:21,22,25
                                                                                               131:5 136:16
                        tablets 27:23           15,19 95:11 96:1,19     37:10 43:10,11,17
 support 125:7                                  97:20 98:5,10 99:11     44:13 55:9 56:21
                                                                                               140:21 153:15

 supported              takes 86:21             100:3 101:12,17,20,     57:2 59:6 61:11       things    6:15 7:21
  73:19,20               126:22,25              22 102:7,14 104:18      62:14 65:3 66:16       9:2 10:20 22:8
                        taking   46:20 69:1     115:9 116:20            67:8 79:4,5,6 82:5     26:14 27:1 36:6,24
 supposed       79:22
                                                                        101:25 123:4,22        42:25 44:14,19,22
  128:17                 93:14 116:15          tasered    82:2,4,9
                         126:24 134:16                                  127:20 135:22          45:13 54:11,18 65:2
                                                83:2,9 98:22,25
 supposedly              141:13 147:11          101:2 161:11
                                                                        145:12 156:6           66:23 67:8,13 69:9
  120:20                 155:7                                          158:24 159:3           76:3 83:7 92:4,5,6,
                                               tasering    83:19,                              12 95:19 103:22
 surface 103:1          talk  25:6 28:13        20 95:1 97:4,17
                                                                       terrible 144:2          106:5 112:20
                         39:21 81:5,20 87:8     98:4,9,20 100:24       terribly 157:3          113:25 115:6,14,15,
 surfing 52:5
                         96:11 98:14 107:4      103:8,25 104:1                                 22 116:2 118:18
 surprise 53:20,         113:7 115:21,22        118:10 161:10          terrified 96:25         120:13 122:11
  22 95:11 97:18         127:16 132:10,16
                                               tasers    81:20 83:5    test 45:25 54:24        125:25 130:12,17,
                         133:16 134:2,18                                                       20 131:7 133:19
 surprised      39:4                            85:3 91:10 93:20        55:14 70:8,21 75:1
                         135:16 136:7 140:1                             78:13 83:1 136:10,     139:20 143:6
 surprises               157:19 158:18,22       99:23 100:8 102:12
                                                                        11                     155:17,20 156:17
  114:11                 162:20                 105:4
                                                                                               161:22
                                               tasing     68:21,25     tested    55:5 60:15
 surrogate 23:7         talked   55:8,10                                84:3                  thinks 141:21
                         72:14 74:5 87:16       96:9,12
 survive 58:15           123:9 124:18                                  testified   5:6        Thoracic 31:17
                                               tastes 131:9                                    53:11
 suspect 99:6            133:19 140:5,11,22                             63:23 69:12 85:8,
  100:6                  144:17 151:23         teaching 7:7             13,19 94:12 100:3,9   thought     10:21
                         160:14,15,17          tear 128:17
 suspects 133:1                                                        testify  34:2 69:8,     19:1 34:19 45:11
                        talking    7:18 8:23                            11 85:24 86:1          70:12 71:23 74:8
 suspicion 94:6                                tearing 128:20                                  96:23
                         9:6 17:8 19:13 37:1                            106:21
 suspicious 94:5         44:19 54:22 56:19     technical 43:19                                thousand
                                                                       testimony
                         57:15 61:23 66:7      technically                                     139:15
 swaths 104:25                                                          119:11
                         100:19 102:2 117:6     24:14 54:3
 sworn 5:5               134:16 142:9 149:5                            testing   31:20        threaded 47:12
                         158:11 160:24         Ted 50:25 51:7,19        41:2,14 51:10,15      threshold 80:1
 syndrome 137:3                                                         53:16 70:18
  141:10 142:4,23       talks  115:16          teleologic 19:21                               throat 160:4,7,10
  143:2,3,13 156:24      134:10,12




                                       U.S. Legal Support, Inc.
                                            (312) 236-8352
        Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 188 of 189

TOM NEUMAN                                                                           July 25, 2018
                                                                         Index: throw..ventilative

 throw     56:8 133:14   Tom    5:4,12 19:15     tremendous            uncomfortable          updated 6:14,25
  142:5                   150:14                  11:18 17:19 38:1      25:11
                                                                                              upper 155:3
 Tidal 24:1              tomato 131:11,12        tremendously          unconscious
                                                  114:11                124:19 146:16
                                                                                              upright 117:3,21
 tie 117:8               tons 55:18                                     147:21 161:1,2
                                                                                               149:12
                                                 trial 8:4
 tied 47:17              top 20:23 21:2                                Underneath             urchin 139:17
 tiger 19:23              67:6 121:15 122:7      triathlon 52:11        120:9                 urine 144:3
                          157:18
                                                 trigger 142:8         understand
 tight 47:20 52:14,      topic 66:1                                                           usual 133:1
  15                                             tripodding             16:20,22 30:17 37:7
                         touch 87:24              57:22                 41:16 56:12 59:9
 tightly  53:2
                                                                        62:19 63:6,17 84:5              V
  145:21,23              tough 68:16             trouble    17:23
                                                                        85:1 93:23 96:6,10
                                                  52:13,15 54:7 56:4
 time   10:9 12:7,9,     toxic 137:12             76:3,9 130:20
                                                                        106:11 107:25         valid 61:15 81:16
  15 24:15 26:15,16                                                     124:21 138:5
  27:2,3 31:5,9,25
                         toxicity 129:23          148:11 163:14
                                                                        143:18 146:3          validated 113:8
                          137:20 157:7
  33:21 34:20 40:20,                             true  9:17 16:11       148:24 149:23         validity 113:8
  22 45:17,18 51:2       tract 115:17             36:15 44:2 91:20      150:13 151:3
  53:6,8 55:23 56:25                              94:5 136:5 155:8      158:13                valve 125:7
  67:7,12,18 70:1,5
                         trained 13:5
                          14:11,23 135:17        truth 144:22          understanding          valves 115:16
  71:8 82:13 86:20,21
                                                                        22:8 37:8 51:15       valvular 110:24
  87:17 89:21 93:2       trainees    71:1,2,     tube 57:1 123:12       161:12,16
  119:23 122:8 124:8,     3,9 94:20 95:17                                                     VAQ 20:21 21:3,9,
  22 126:20 140:25
                                                 turn 14:12 113:10     understood
                         training   14:24         148:25 161:2                                 10,17
  141:12 144:6,13,15                                                    17:16 33:8 39:7,17
                          15:11,17 30:9 35:1                                                  variation 110:7
  146:14,15,23,25                                turned   14:8 34:11    40:11 41:7 48:25
  147:1,7,9,20,21         55:11 56:18 68:23                             50:4 53:7 61:25
                                                  48:15 155:2 162:9                           vasculature
  150:6,21 151:13,14,     98:16 99:10                                   80:11 81:12,17
                                                 turning 14:16                                 128:12
  16 156:24 159:20       transferred                                    86:23 106:16 140:1
  160:18 161:17           125:14                 turns 96:18            145:8 149:8 154:25    vehicle   117:2,3
  162:13,14                                                                                    144:12,18,19 145:9,
                         trauma    10:11,22      TV 54:11              undissected             12,17
 timelines 149:9          11:25 12:7,9,10                               108:10
                          133:23 157:23
                                                 two-minute                                   ventilate    58:13,
 times 46:6 74:17,                                20:4                 United    14:4 105:1
                                                                                               14,16 59:13 60:2,3
  18,19,23 85:12         trauma-related                                 112:5
                                                 two-tail 27:13,14                             62:5 78:12 154:23
  105:12 106:17           12:8                                         university     7:7
                                                                                              ventilated 60:12
  108:24 120:6 138:9,                            type 8:23 80:22
                         traumatic     8:6                              12:23 29:7 30:1
  10,13                                           137:4
                          10:10 12:14,17,19,                            51:3,4 66:14,18,19    ventilating
 tiny 41:19               20,21 15:15 112:18     types 80:14            67:4,5 94:22           58:14 159:5

 tissues 9:8              134:20                                       unknown 45:12          ventilation    7:20,
                                                 typical 123:1
                         treadmill    21:23       132:24                                       24 9:7 16:10 17:21
 title 82:21                                                           unobserved              20:5,20 21:8 23:5
                          76:25 77:1,5,8 78:3,                          146:25
 today 37:11 88:5         5
                                                 typically 141:11                              56:3 59:10 60:4,6,
  150:5 151:12                                   typing 66:23          unrelated               17,21,24 61:23 74:9
                         treat 162:14                                   158:12                 75:4 77:13,15,16,18
 told  15:1 18:17,18                                                                           82:20 83:2,19 92:5
  32:5 41:14 51:11       treated 113:1                                 unresponsive
                          162:16                           U                                   102:3 125:9 148:10
  88:16 99:18 107:11                                                    119:17 147:1           149:7 154:14,15,17,
  131:22 143:25          treatment                                     unusual 128:21          19,21
  148:15                  119:21 125:3           uh-uh 81:14
                          158:22 162:11                                update 6:19            ventilative    78:7
 tolerance       55:20                           ultimately 34:11
                                                  106:14




                                      U.S. Legal Support, Inc.
                                           (312) 236-8352
         Case 2:17-cv-05051-SM-KWR Document 74-3 Filed 08/07/18 Page 189 of 189

TOM NEUMAN                                                                              July 25, 2018
                                                                              Index: ventilatory..Yup

 ventilatory     49:2   wanted     32:6         whatsoever              32:15,16 37:9 42:11
  60:8,10,20,25 61:1,    48:18 51:17 56:15       58:4                   55:9 61:12 81:14,15
  24 62:3 63:9,12        68:19 80:5 110:20                              104:12,16 108:6
  74:9 77:24 78:9        157:2
                                                wheezing 54:7           114:18 137:2
  83:8,12 92:8 117:22
                        watched 36:12           whoa 57:16              152:23 153:16
 ventricular                                    wide 122:16            wrongful 91:12
  102:15 115:17
                        water 52:17,18
                                                window 119:14          wrote 89:12,24
  122:16,17             watts 40:1,3
 version 20:4           wave 123:1 159:7,       windpipe 159:1
                         12
                                                 163:11                          Y
 versus 10:15,17
  54:23                 ways      7:17 9:5
                                                wiring    102:24,25
                         111:23
                                                 103:3                 year   6:13 10:25
 vessels      128:15                                                    11:2,5
                        WEDNESDAY               witnesses
 victims      10:13                              118:25 119:2,10       years   9:12,13,15
                         5:1
  15:16                                                                 13:16 26:12 33:11
                        weeks      140:10
                                                women 24:4
 video      137:25                                                      36:8 52:11 85:15,18
  138:3,6
                         149:22                 word 54:2 100:16        90:1 110:23 112:10
                                                 133:23 137:3           114:13 141:25
 view   19:21 33:23
                        weigh      109:4
                                                 151:12
  91:1 104:25 152:4
                         113:6                                         yell 118:22
                        weighed                 words     20:6 35:21
  154:2                               108:12
                                                 37:11 46:22 60:19     yelling 119:6
                         114:25                                         147:14 160:8
 Vilke     50:25 81:8                            62:4 66:21 70:11
  92:20                 weighing 108:11          112:19 126:17         yesterday        88:6,
                                                 147:8                  7 90:4
 visualizing            weight 28:10
  163:14                 38:2,4,8 61:20 65:6,   work    7:22 8:1,15,   young       43:2 80:6,
                         9,10,23,24 72:17,       16 16:4 22:2,8 40:4    19 84:16
 vital 154:8             20,22 73:2,12 76:2,     52:7 67:22 85:2
 volumes 41:22,          14,15,17 77:10,14,      105:20 126:22         Yup    6:11 61:22
  23                     15,16,22 80:18,19       141:17 148:7 162:8
                         108:11,12,17,23
 volunteer       8:16
                         109:16 111:16,17,
                                                worked 19:2
  42:5
                         20 112:13 113:14,      working 124:14
 volunteered             18 130:24 143:10,       161:25 162:5
  42:4                   12 146:6 154:13
                                                world's 51:14
 volunteers             weights    74:10
  38:21 42:10,13         109:20 112:24
                                                worse 53:9
                                                 129:18 155:20,24
  81:25 94:22            113:11
                                                 162:21
                        well-aware
                         31:22
                                                worst 84:17
            W
                        well-controlled         worth 73:16
 wait   13:24 32:14      56:1                   wrapped 53:2
  65:7 100:16           well-known              wrist 47:10
 wake 155:8,10           13:8 114:7
                                                wrists 47:18,19
 walking 36:7           west 86:2 125:15         48:4

 wall 101:9             wet 52:10,20 53:1,      wrong     16:16,25
                         6,9                     17:1,2,16 18:2
 Walmart 129:20                                  21:21,22 22:3 26:23




                                       U.S. Legal Support, Inc.
                                            (312) 236-8352
